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     Attorneys for Plaintiff
 7   2BCOM, LLC
 8
                               UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10
                                                      Case No. 8:20-cv-00676
11   2BCOM, LLC, a Delaware limited liability
     company,
12                                                        COMPLAINT FOR PATENT
                                                          INFRINGEMENT
13                               Plaintiff,
14                                                    JURY TRIAL DEMANDED
           vs.
15

16   KIA MOTORS AMERICA, INC., a
     California corporation,
17

18                               Defendant.
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                                              COMPLAINT
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 1                     COMPLAINT FOR PATENT INFRINGEMENT
 2         Plaintiff 2BCom, LLC (“Plaintiff” or “2BCom”) files this Complaint against
 3   Defendant Kia Motors America, Inc. (“Defendant”) for patent infringement and by
 4   and through its undersigned attorneys, hereby prays to this honorable Court for relief
 5   and remedy based on the following:
 6                                 NATURE OF THE CASE
 7         1.     This is an action for patent infringement arising under the patent laws of
 8   the United States, 2BCom holds the rights in U.S. Patent Nos. 6,831,444 (“the ‘444
 9   patent”), 6,928,166 (“the ‘166 patent”), 7,127,210 (“the ‘210 patent”), and 7,184,707
10   (“the ‘707 patent”). The United States patent laws grant the holder of a patent the right
11   to exclude infringers from making, using, selling or importing the invention claimed
12   in a patent, and to recover damages for the infringer’s violations of these rights, and to
13   recover treble damages where the infringer willingly infringed the patent. Under 35
14   U.S.C. § 282(a), the ‘444 patent, the ‘166 patent, the ‘210 patent, and the ‘707 patent
15   are entitled to a presumption of validity. 2BCom is suing Defendant for infringing its
16   patent and doing so willfully. 2BCom seeks to recover damages from Defendant,
17   including treble damages for willful infringement.
18                                       THE PARTIES
19         2.     2BCom, LLC is a company, organized and existing under the laws of
20   Delaware, having a place of business at 1603 Orrington Ave, Suite 600, Evanston,
21   Illinois 60201.
22         3.     Upon information and belief, Defendant Kia Motors America, Inc.
23   (“Kia”) is a California corporation with a principal place of business at 111 Peters
24   Canyon Road, Irvine, California 92606.
25         4.     Upon information and belief, Defendant manufactures, imports, and/or
26   sells audio and multimedia integration systems which have been installed in Kia
27   branded vehicles, including the Kia Bluetooth system.
28

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                                            COMPLAINT
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 1          5.    The Kia Bluetooth system is sold in all models of Kia vehicles, including
 2   Soul, Seltos, Sportage, Niro, Sorento, Telluride, Rio, Forte, Optima, Stinger, Cadenza,
 3   K900, Optima Hybrid, Niro Plug-In Hybrid, Optima Plug-In Hybrid, Niro EV, Rio 5-
 4   door, and Sedona (“Accused Products”).
 5                                          JURISDICTION
 6          6.    This is an action for patent infringement arising under the patent laws of
 7   the United States of America, more specifically under 35 U.S.C. § 100, et seq.,
 8   including 35 U.S.C. §271. Subject matter jurisdiction is proper in this Court pursuant
 9   to 28 U.S.C. §§ 1331 and 1338.
10          7.    The Court has personal jurisdiction over Defendant because Defendant,
11   among other things, conducts business in, and avails itself of the laws of the State of
12   California. Upon information and belief, Defendant has a principal place of business
13   in this District. In addition, upon information and belief, Defendant through its own
14   acts and/or through the acts of its affiliated companies (acting as its agents or alter
15   egos) makes, uses, offers to sell, sells (directly or through intermediaries), imports,
16   licenses and/or supplies, in this District and elsewhere in the United States, products,
17   through regular distribution channels, knowing such products would be used, offered
18   for sale and/or sold in this District. Plaintiff’s cause of action arises directly from
19   Defendant’s business contacts and other activities in the State of California and in this
20   District.
21                                           VENUE
22          8.    Venue properly lies within this judicial district and division, pursuant to
23   28 U.S.C. §§ 1391(b), (c), and (d), and 1400(b).
24          9.    Upon information and belief, Defendant has a principal place of business
25   in this District. Thus, Defendant resides in this District for the purposes of venue and
26   has committed acts of infringement within this judicial District, does business in this
27   District, and maintains a regular and established place of business in this District.
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                                            COMPLAINT
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 1                   INFRINGEMENT OF U.S. PATENT NO. 6,831,444
 2         10.    2BCom incorporates by reference the allegations set forth in the
 3   preceding paragraphs.
 4         11.    On December 14, 2004, the ‘444 patent, entitled “External Storage
 5   Device And Remaining Battery Amount Notifying Method In The Same,” was duly
 6   and lawfully issued based upon an application filed by the inventors, Koichi
 7   Kobayashi and Kazunari Tanzawa. A true and correct copy of the ‘444 Patent is
 8   attached hereto as Exhibit 1.
 9         12.    2BCom is the assignee and the owner of all right, title and interest in and
10   to the ‘444 patent and has the right to sue and recover damages for infringement
11   thereof.
12         13.    Upon information and belief, Defendant has been and continues to be
13   engaged in making, using, importing, selling and/or offering for sale infringing
14   products, including, but not limited to, the Accused Products in the United States
15   generally, and in the Central District of California specifically. The Accused Products
16   are available for retail purchase through the www.kia.com website, as well as Kia
17   retailers in the United States.
18         14.    Upon information and belief, by acts including, but not limited to use,
19   making, importation, offers to sell, sales and marketing of products that fall within the
20   scope of at least claim 1 of the ‘444 patent, Defendant has directly infringed literally
21   and/or upon information and belief, equivalently, and is continuing to infringe the
22   ‘444 patent and is thus liable to 2BCom pursuant to 35 U.S.C. § 271.
23         15.    As a non-limiting example of Defendant’s infringement of the ‘444
24   patent, set forth in Exhibit 5, is a preliminary claim chart showing Defendant’s
25   infringement of exemplary claim 1 of the ‘444 patent by the Kia Bluetooth system.
26         16.    Defendant has indirectly infringed and continues to infringe at least claim
27   1 of the ‘444 patent by inducement under 35 U.S.C. § 271(b). Defendant has induced
28

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                                           COMPLAINT
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 1   and continues to induce users and retailers of the Accused Products to directly infringe
 2   at least claim 1 of the ‘444 patent.
 3         17.    Upon information and belief, Defendant’s knowingly induced customers
 4   to use its Accused Products, including, for example, by promoting such products
 5   online (e.g., www.kia.com) and/or providing customers with instructions and/or
 6   manuals     for    using   the   Accused    Products    through    websites   such   as
 7   https://www.kia.com. Likewise, Defendant knowingly induced retailers to market and
 8   sell the Accused Products.
 9         18.    Defendant has been on notice of the ‘444 patent and Defendant’s
10   respective infringement of the ‘444 patent, since, at least, January 27, 2020 via letter
11   sent to Mr. Yoon notifying of the patent and infringement.
12         19.    Defendant’s infringement of the ‘444 patent is without consent of,
13   authority of, or license from 2BCom.
14         20.    Upon information and belief, Defendant’s infringement of the ‘444 patent
15   is willful. This action, therefore, is “exceptional” within the meaning of 35 U.S.C. §
16   285 entitling 2BCom to its attorneys’ fees and expenses.
17         21.    As a result of Defendant’s acts of infringement, 2BCom has suffered and
18   will continue to suffer damages in an amount to be proven at trial.
19                     INFRINGEMENT OF U.S. PATENT NO. 6,928,166
20         22.    2BCom incorporates by reference the allegations set forth in the
21   preceding paragraphs.
22         23.    On August 9, 2005 the ‘166 patent, entitled “Radio Communication
23   Device And User Authentication Method For Use Therewith,” was duly and lawfully
24   issued based upon an application filed by the inventor Junichi Yoshizawa. A true and
25   correct copy of the ‘166 Patent is attached hereto as Exhibit 2.
26         24.    2BCom is the assignee and the owner of all right, title and interest in and
27   to the ‘166 patent and has the right to sue and recover damages for infringement
28   thereof.

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                                            COMPLAINT
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 1         25.    Upon information and belief, Defendant has been and continues to be
 2   engaged in making, using, importing, selling and/or offering for sale infringing
 3   products, including, but not limited to, the Accused Products in the United States
 4   generally, and in the Central District of California specifically. The Accused Products
 5   are available for retail purchase through the www.kia.com website, as well as Kia
 6   retailers in the United States.
 7         26.    Upon information and belief, by acts including, but not limited to use,
 8   making, importation, offers to sell, sales and marketing of products that fall within the
 9   scope of at least claim 1 of the ‘166 patent, Defendant has directly infringed literally
10   and/or upon information and belief, equivalently, and is continuing to infringe the
11   ‘166 patent and is thus liable to 2BCom pursuant to 35 U.S.C. § 271.
12         27.    As a non-limiting example of Defendant’s infringement of the ‘166
13   patent, set forth in Exhibit 6, is a preliminary claim chart showing Defendant’s
14   infringement of exemplary claim 1 of the ‘166 patent by the Kia Bluetooth system.
15         28.    Defendant has indirectly infringed and continues to infringe at least claim
16   1 of the ‘166 patent by inducement under 35 U.S.C. 271(b). Defendant has induced
17   and continues to induce users and retailers of the Accused Products to directly infringe
18   at least claim 1 of the ‘166 patent.
19         29.    Upon information and belief, Defendant knowingly induced customers to
20   use its Accused Products, including, for example, by promoting such products online
21   (e.g., www.kia.com) and/or providing customers with instructions and/or manuals for
22   using the Accused Products through websites such as https://www.kia.com. Likewise,
23   Defendant knowingly induced retailers to market and sell the Accused Products.
24         30.    Defendant has been on notice of the ‘166 patent and Defendant’s
25   respective infringement of the ‘166 patent, since, at least, January 27, 2020 via letter
26   sent to Mr. Yoon notifying of the patent and infringement.
27         31.    Defendant’s infringement of the ‘166 patent is without consent of,
28   authority of, or license from 2BCom.

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                                            COMPLAINT
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 1         32.    Upon information and belief, Defendant’s infringement of the ‘166 patent
 2   is willful. This action, therefore, is “exceptional” within the meaning of 35 U.S.C. §
 3   285 entitling 2BCom to its attorneys’ fees and expenses.
 4         33.    As a result of Defendant’s acts of infringement, 2BCom has suffered and
 5   will continue to suffer damages in an amount to be proven at trial.
 6                   INFRINGEMENT OF U.S. PATENT NO. 7,127,210
 7         34.    2BCom incorporates by reference the allegations set forth in the
 8   preceding paragraphs.
 9         35.    On October 24, 2006 the ‘210 patent, entitled “Wireless Communication
10   Apparatus,” was duly and lawfully issued based upon an application filed by the
11   inventor Kazunori Aoyagi. A true and correct copy of the ‘210 Patent is attached
12   hereto as Exhibit 3.
13         36.    2BCom is the assignee and the owner of all right, title and interest in and
14   to the ‘210 patent and has the right to sue and recover damages for infringement
15   thereof.
16         37.    Upon information and belief, Defendant has been and continues to be
17   engaged in making, using, importing, selling and/or offering for sale infringing
18   products, including, but not limited to, the Accused Products in the United States
19   generally, and in the Central District of California specifically. The Accused Products
20   are available for retail purchase through the www.kia.com website, as well as Kia
21   retailers in the United States.
22         38.    Upon information and belief, by acts including, but not limited to use,
23   making, importation, offers to sell, sales and marketing of products that fall within the
24   scope of at least claim 20 of the ‘210 patent, Defendant has directly infringed literally
25   and/or upon information and belief, equivalently, and are continuing to infringe the
26   ‘210 patent and are thus liable to 2BCom pursuant to 35 U.S.C. § 271.
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                                           COMPLAINT
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 1         39.    As a non-limiting example of Defendant’s infringement of the ‘210
 2   patent, set forth in Exhibit 7, is a preliminary claim chart showing Defendant’s
 3   infringement of exemplary claim 20 of the ‘210 patent by the Kia Bluetooth system.
 4         40.    Defendant has indirectly infringed and continues to infringe at least claim
 5   20 of the ‘210 patent by inducement under 35 U.S.C. 271(b). Defendant has induced
 6   and continues to induce users and retailers of the Accused Products to directly infringe
 7   at least claim 20 of the ‘210 patent.
 8         41.    Upon information and belief, Defendant knowingly induced customers to
 9   use its Accused Products, including, for example, by promoting such products online
10   (e.g., www.kia.com) and/or providing customers with instructions and/or manuals for
11   using the Accused Products through websites such as https://www.kia.com. Likewise,
12   Defendant knowingly induced retailers to market and sell the Accused Products.
13         42.    Defendant has been on notice of the ‘210 patent and defendant’s
14   respective infringement of the ‘210 patent, since, at least, January 27, 2020 via letter
15   sent to Mr. Yoon notifying of the patent and infringement.
16         43.    Defendant’s infringement of the ‘210 patent is without consent of,
17   authority of, or license from 2BCom.
18         44.    Upon information and belief, Defendant’s infringement of the ‘210 patent
19   is willful. This action, therefore, is “exceptional” within the meaning of 35 U.S.C. §
20   285 entitling 2BCom to its attorneys’ fees and expenses.
21         45.    As a result of Defendant’s acts of infringement, 2BCom has suffered and
22   will continue to suffer damages in an amount to be proven at trial.
23                   INFRINGEMENT OF U.S. PATENT NO. 7,184,707
24         46.    2BCom incorporates by reference the allegations set forth in the
25   preceding paragraphs.
26         47.    On February 27, 2007 the ‘707 patent, entitled “Communication Device
27   And A Method For Controlling The Communication Device,” was duly and lawfully
28   issued based upon an application filed by the inventors, Masahiro Tada, Ikuo Sako,

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                                             COMPLAINT
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 1   and Koichi Yata. A true and correct copy of the ‘707 Patent is attached hereto as
 2   Exhibit 4.
 3         48.     2BCom is the assignee and the owner of all right, title and interest in and
 4   to the ‘707 patent and has the right to sue and recover damages for infringement
 5   thereof.
 6         49.     Upon information and belief, Defendant has been and continues to be
 7   engaged in making, using, importing, selling and/or offering for sale infringing
 8   products, including, but not limited to, the Accused Products in the United States
 9   generally, and in the Central District of California specifically. The Accused Products
10   are available for retail purchase through the www.kia.com website, as well as Kia
11   retailers in the United States.
12         50.     Upon information and belief, by acts including, but not limited to use,
13   making, importation, offers to sell, sales and marketing of products that fall within the
14   scope of at least claim 1 of the ‘707 patent, Defendant has directly infringed literally
15   and/or upon information and belief, equivalently, and are continuing to infringe the
16   ‘707 patent and are thus liable to 2BCom pursuant to 35 U.S.C. § 271.
17         51.     As a non-limiting example of Defendant’s infringement of the ‘707
18   patent, set forth in Exhibit 8, is a preliminary claim chart showing Defendant’s
19   infringement of exemplary claim 1 of the ‘707 patent by the Kia Bluetooth system.
20         52.     Defendant has indirectly infringed and continues to infringe at least claim
21   1 of the ‘707 patent by inducement under 35 U.S.C. § 271(b). Defendant has induced
22   and continues to induce users and retailers of the Accused Products to directly infringe
23   at least claim 1 of the ‘707 patent.
24         53.     Upon information and belief, Defendants knowingly induced customers
25   to use its Accused Products, including, for example, by promoting such products
26   online (e.g., www.kia.com) and/or providing customers with instructions and/or
27   manuals      for   using   the    Accused   Products    through    websites    such   as
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                                            COMPLAINT
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  1   https://www.Kia.com. Likewise, Defendants knowingly induced retailers to market
  2   and sell the Accused Products.
  3         54.    Defendant has been on notice of the ‘707 patent and defendant’s
  4   respective infringement of the ‘707 patent, since, at least, January 27, 2020 via letter
  5   sent to Mr. Yoon notifying of the patent and infringement.
  6         55.    Defendant’s infringement of the ‘707 patent is without consent of,
  7   authority of, or license from 2BCom.
  8         56.    Upon information and belief, Defendant’s infringement of the ‘707 patent
  9   is willful. This action, therefore, is “exceptional” within the meaning of 35 U.S.C. §
 10   285 entitling 2BCom to its attorneys’ fees and expenses.
 11         57.    As a result of Defendant’s acts of infringement, 2BCom has suffered and
 12   will continue to suffer damages in an amount to be proven at trial.
 13                                   PRAYER FOR RELIEF
 14     WHEREFORE, 2BCom requests this Court enter judgment as follows:
 15                A.     That the ‘444 patent, ‘166 patent, ‘210 patent, and the‘707 patents
 16   are valid and enforceable;
 17                B.     That Defendant has directly and indirectly infringed at least claim
 18   1 of the ’444 patent, at least claim 1 of the ‘166 patent, at least claim 20 of the ‘210
 19   patent, and at least claim 1 of the ‘707 patent,;
 20                C.     That such infringement is willful;
 21                D.     That Defendant account for and pay to 2BCom all damages
 22   pursuant to 35 U.S.C. § 284 to adequately compensate 2BCom for Defendant’s
 23   infringement of the ‘444 patent, ‘166 patent, ‘210 patent, and the ‘707 patent, , but in
 24   no event less than a reasonable royalty for the use made by Defendant of the invention
 25   set forth in the ‘444 patent, ‘166 patent, ‘210 patent, and the ‘707 patent;
 26                E.     That 2BCom receives enhanced damages, in the form of treble
 27   damages, pursuant to 35 U.S.C. § 284;
 28                F.     That this is an exceptional case under 35 U.S.C. § 285;

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                                              COMPLAINT
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  1                G.    That Defendant pay 2BCom all of 2BCom’s reasonable attorneys’
  2   fees and expenses pursuant to 35 U.S.C. § 285;
  3                H.    That 2BCom be granted pre-judgment and post-judgment interest
  4   in accordance with 35 U.S.C. § 284 on the damages caused to it by reason of
  5   Defendant’s infringement of the ‘444 patent, ‘166 patent, ‘210 patent, and the ‘707
  6   patent, including pre-judgment and post-judgment interest on any enhanced damages
  7   or attorneys’ fees award;
  8                I.    That costs be awarded in accordance with 35 U.S.C. § 284 to
  9   2BCom; and
 10                J.    That 2BCom be granted such other and further relief as the Court
 11   may deem just and proper under the circumstances.
 12                               DEMAND FOR JURY TRIAL
 13         2BCom hereby demands a trial by jury on all issues so triable in this action.
 14

 15   Dated: April 7, 2020                 witkow | baskin
 16

 17
                                           By: /s/ Brandon J. Witkow
 18                                                Brandon J. Witkow
                                                   Cory A. Baskin
 19
                                           Attorneys for Plaintiff 2BCOM, LLC.
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                                           COMPLAINT
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                            EXHIBIT 1
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                                                                                                                          USOO6831444B2

   (12) United States Patent                                                                      (10) Patent No.:     US 6,831,444 B2
          Kobayashi et al.                                                                        (45) Date of Patent:     Dec. 14, 2004

   (54) EXTERNAL STORAGE DEVICE, AND                                                                 6,005,367       A * 12/1999 Rohde ........................ 320/106
           REMAINING BATTERY AMOUNT                                                                  6,173,350       B1 * 1/2001 Hudson et al. ...           ... 710/100
           NOTFYING METHOD IN THE SAME                                                               6,323,775       B1 * 11/2001 Hansson ...........        ... 340/636
                                                                                                     6,385,721       B1    5/2002 Puckette ........................ 713/2
   (75) Inventors: Koichi Kobayashi, Tachikawa (JP);                                                             FOREIGN PATENT DOCUMENTS
                   Kazunari Tanzawa, Nishitokyo (JP)
                                                                                            JP                      2000-32320          1/2000
   (73) Assignee: Kabushiki Kaisha Toshiba, Tokyo (JP)
   (*) Notice: Subject to any disclaimer, the term of this                                  * cited by examiner
                          patent is extended or adjusted under 35
                          U.S.C. 154(b) by 0 days.                                          Primary Examiner Pia Tibbits
                                                                                            (74) Attorney, Agent, or Firm-Finnegan, Henderson,
   (21) Appl. No.: 10/235,914                                                               Farabow, Garrett, & Dunner, L.L.P.
   (22) Filed:     Sep. 6, 2002                                                             (57)                 ABSTRACT
   (65)                  Prior Publication Data                                             This invention relates to a portable external Storage device
           US 2003/0141849 A1 Jul. 31, 2003                                                 including a battery which Supplies power to a communica
                                                                                            tion Section which communicates with a plurality of infor
   (30)           Foreign Application Priority Data                                         mation processing apparatuses, a detection unit which
     Jan. 30, 2002       (JP) ....................................... 2002-022316           detects a remaining amount of the battery, a storage unit
                                                                                            which Stores Setting information representing a notifying
   (51) Int. Cl.................................................... H02. 7700               method for information about a remaining amount of the
   (52) U.S. Cl. ....................................................... 320/136            battery transmitted from the information processing appa
   (58) Field of Search ................................. 320/136, 132,                     ratus Serving as a host device, and a remaining amount of the
                       320/107, 112, 113, 114, 115; 340/636, 988,                           battery at which a warning is generated, and a notifying unit
                                              995, 457.4; 701/213                           which notifies the host device of information about the
                                                                                            remaining amount of the battery detected by the detection
   (56)                       References Cited                                              unit on the basis of the Setting information Stored in the
                                                                                            Storage unit.
                     U.S. PATENT DOCUMENTS
          5,608,324. A         3/1997 Yoshida ...................... 324/426                                        9 Claims, 15 Drawing Sheets




                                                                      Wireless communication
                                                                         (data exchange)


                                                                                   Wireless communication
                                                                                        its" //

                                                                                           Wireless communication
                                                                                               (data exchange)




                                                                           Wireless communication
                                                                              (data exchange)
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   U.S. Patent         Dec. 14, 2004       Sheet 1 of 15         US 6,831,444 B2




                          Wireless Communication
                             (data exchange)


                                        Wireless COmmunication
                                           (data exchange)




                               Wireless Communication
                                  (data exchange)




                                       F. G. 1
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   U.S. Patent          Dec. 14, 2004      Sheet 2 of 15         US 6,831,444 B2


                     Engine Section




                                                                   information
                                                                   device


                                                                     NY



                                                                      54

                     Controller                              T        12
                                         PC/ISA            Ace
         An
                   control circuit
                   COntrol Circuit


                                                  43        82




                                        F. G. 2
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   U.S. Patent          Dec. 14, 2004               Sheet 3 of 15           US 6,831,444 B2


                     Ostart
                        Start D
                                               st
                  Display Setting menu


                             NO                S3
                    Set default value
          CB)                                  S4

                                               S5
                Transmit Setting Contents
                                   S5
                                              YES



                                         s8
                        Receive                     YES
                remaining battery amount                                               S9
                      information?
                                                               Load received data
                                                                                       S    O
                                                            Display remaining amount
                                                            of battery
                          arning
                  information received
                                                               Load received data



                                   S14
                   SEd)YES
                      NO                                     Transmit end Command
                                                                                       S5




                                              F. G. 3
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   U.S. Patent         Dec. 14, 2004         Sheet 4 of 15   US 6,831,444 B2




                                       S16
                         Display
                 type switching Selected

                        Warning
                 type Switching Selected


                         Option
                    Setting Selected                                19

                                                                     O

                                                                     1




                          End
                    Of meny display


                                   F. G. 4
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   U.S. Patent                  Dec. 14, 2004         Sheet 5 of 15                US 6,831,444 B2




                   C Start D
                                        S30
                      Start of
               wireless cymulcast
                                Y ES            S3
          Receive setting Contents from host
                                                s32


                                       S33
                <gsides                                          Check remaining
                                                                                     S37

                                                                 amount of battery
                 in response to user             YES (E)                           s38
                     designation                                       Remaining          YES
                                                                      amount ok?                S41


           <gis-e-G     N
                            O



                                NO
                                        S35


                                         36
                                                                            NO


                                                                                     S39
                                                                                         Transmit
                                                                                         remaining
                                                                                         amount


                         Eds
                  command, received
                                                yes                                  SA0
                                NO




                                                 F. G. 5
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   U.S. Patent         Dec. 14, 2004     Sheet 6 of 15         US 6,831,444 B2




             Check remaining amount of battery

                         Remaining
                       amount Ok?
                                           Transmit remaining amount




                    Command received




                                     F.G. 6
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                                                        S61
                    Check remaining amount Of battery
                                                S62
                                   Insufficient
                               remaining   amount




                                       End
                               COmmand received
                                       ?




                                   F. G.7
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              Portable external                               Host                                  User
               storage device                                 device            r100             input
                                               (Setting menu is displayed)                   r101
                                                                        Display type switching
                                                                              is selected
                                              (Selected contents are saved)                  r101
                                                                        Warning type Switching
                                                                              is selected
                                  102         (Selected contents are saved)                  r101
                                                                       Option setting is selected
                                              (Selected contents are saved)
                              Wireless
                              ---O
                                       communication?(103
                          Setting Contents are transmitted
        (Selected contents are saved)                   104
          (s
           battery is amount
                       checkedOf y
                                 / 106
                               Remaining amount of
                   OK          battery is transmitted
                                                     Remaining amountVn-109
            Remaining amount of VN- 106          is displayed
             battery is checked
                             Remaining amount of
                   OK          battery is transmitted
                                                    (e.g.     amountWN- 109
                                                      is displayed


               (a         amount of \\- 106
                battery is checked
                                  Battery Warning
           insufficient            is transmitted
                                                    (Warning is executed)1Y 109
                                   End COmmand



                                               F. G. 8
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               POrtable external                                 Host                                User
                 storage device                                  device          r100                input
                                                  (Setting menu is displayed)                 r101
                                                                          Display type switching
                                                                                is Selected
                                                 (Selected contents are saved)                r101
                                                                          Warning type Switching
                                                                                is Selected
                                    102          (Selected contents are saved)            r101
                                                                    Option setting is selected
                                                 (Selected contents are saved)
                                Wireless communication ?(103
             105            Setting Contents are transmitted
                N-                                         104                                -301
          (Selected contents are saved)                              User request (icon is clicked)
                                   Remaining amount
                                   acquisition request ?302
            (i.
             battery isamount
                        checkedof yr- 303
                                  Remaining amount Of
                     OK          battery is transmitted fro4

                                  Remaining amount
                                                        (Real      any- 109
                                                           is displayed                    r301
                             acquisition request                     User request (icon is clicked)
              Remaining amount of \nu-303
                battery is checked
                               Remaining amount of
                     OK
                                 battery is transmitted fr304
                                                        (Reg.     any- 109
                                                          is displayed                     r301
                                  Remaining amount                   User request (icon is clicked)
                                  acquisition request
                (e.g.      amount of \nu-303
                 battery is checked
                                    Battery warning
                   .                  is transmitted fr303
             insufficient                               (Warning is executed)Y-306
                                     End command r307

                                                  F. G. 9
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               Portable external                           Host                                 User
                storage device                            device                             input
                                                                            r100
                                                (Setting menu is displayed)             r101
                                                                    Display type Switching
                                                                          is selected
                                              (Selected contents are saved)             r101
                                                                    Warning type Switching
                                                                          is Selected

                                   102        (Selected contents are saved)             r101
                                                                   Option Setting is selected
                                              (Selected contents are saved)



        (Selected contents are saved)

                  (e.g. amount of WN- 401
          OK          battery is checked
                                  Battery Warning
           insufficient            is transmitted

                                   End Command




                                               F. G. 10
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                   7
                   %$6G6 ren 2          1
                                                                     200

                               Switch the display type       201


                               Switch the warning type       202




                                   F. G. 11


                    7
                   %Setting menu2                                    200
                              7
                               Switch the display type       201


                               Switch the Warning type       202




                                   F. G. 12
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                    /              A.                                 204
                    Switch the display type

                                Aways display the remaining
                        205         amount of battery

                              Display the remaining amount of
                                  battery in response to a           206
                              user designation (pop-up display)

                    207       Display the remaining amount of
                              battery in response to a yagg,


                                   F. G. 13



                    2 Setting menu2                                   200

                               Switch the display type         201

                               Switch the warning type         202

                                        Set Options            203



                                   F. G. 14
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                    Switch the warning type                       208

                                 Ring an alarm            209


                                 Voice Warming2 210

                           Display warning Characters nu-211


                                 F. G. 15


                                                                  200
                       Setting menu2
                              Switch the display type     201

                              Switch the Warning type     202


                                       et 6% 203

                                 F. G. 16
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               %56 Options%                                          212
                  Warning remaining amount      213
                   Warn at a remaining            O
                   battery amount of              % Or less



                                  HDD        2,




                                  F. G. 17
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                                                          Remaining amount of
                                                         battery in the portable
                                                         external storage device
                   Turn On power switch                          x
                                                                 30% left
                           HW boot
              (Engine section + Wireless section)

                           PIN COde
                         Setting mode




                                                                              500
                                            F. G. 18

                          Remaining amount of
                         battery in the portable
                         external storage device           500
                               KD
                               5% left



                                                                              Warning
                                                                     The battery of the
                                                                     portable external storage
                                                                     device is running short
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                                                        US 6,831,444 B2
                                  1                                                                        2
           EXTERNAL STORAGE DEVICE, AND                                       FIG. 1 is a view for explaining the use environment of a
            REMAINING BATTERY AMOUNT                                       portable external Storage device according to an embodi
           NOTIFYING METHOD IN THE SAME                                    ment of the present invention;
                                                                              FIG. 2 is a block diagram showing the arrangement of the
                CROSS REFERENCE TO RELATED
                                                                           portable external Storage device according to the embodi
                       APPLICATIONS
                                                                           ment of the present invention;
                                                                              FIG. 3 is a flow chart for explaining the operation of a host
      This application is based upon and claims the benefit of             device (e.g., PDA or PC) for the portable external storage
   priority from the prior Japanese Patent Application No.            1O
                                                                           device;
   2002-22316, filed Jan. 30, 2002, the entire contents of which             FIG. 4 is a flow chart for explaining the operation of the
   are incorporated herein by reference.                                   host device (e.g., PDA or PC) for the portable external
             BACKGROUND OF THE INVENTION                                   Storage device;
                                                                              FIG. 5 is a flow chart for explaining the operation of the
      1. Field of the Invention                                       15   portable external Storage device,
     The present invention relates to an external Storage device              FIG. 6 is a flow chart for explaining the operation of the
   used as the external device of an information processing                portable external Storage device,
   apparatuS.                                                                 FIG. 7 is a flow chart for explaining the operation of the
      2. Description of the Related Art                                    portable external Storage device,
      Portable external Storage devices having a wireleSS com                 FIG. 8 is a view showing a time sequence between the
   munication function have recently been developed. In the                portable external Storage device and the host device;
   general use of the portable external Storage device, the                   FIG. 9 is a view showing another time sequence between
   device is Stored in a bag, Shirt pocket, or the like. The               the portable external Storage device and the host device;
   external Storage device accesses a host device Such as a                   FIG. 10 is a view showing still another time sequence
   personal computer, PDA (Personal Digital Assistant), digital       25
   camera, or digital movie by Bluetooth radiowaves.                       between the portable external Storage device and the host
      The remaining amount of battery in the portable external             device;
   Storage device, that is, the energy remaining in the battery,              FIG. 11 is a view showing a Setting menu window;
   is confirmed on a display mounted on the portable external                 FIG. 12 is a view showing a case in which a display type
   Storage device.                                                         Switching button is Selected on the Setting menu window;
      AS described above, the portable external Storage device                FIG. 13 is a view showing a Submenu corresponding to
   is often used in a bag, pocket, or the like. The user cannot            the display type Switching button;
   quickly, easily confirm information Such as the remaining                  FIG. 14 is a view showing a case in which a warning type
   amount of battery.                                                 35   Switching button is Selected on the Setting menu window;
           BRIEF SUMMARY OF THE INVENTION                                     FIG. 15 is a view showing a submenu corresponding to
                                                                           the warning type Switching button;
      The present invention has been made in consideration of                 FIG. 16 is a view showing a case in which an option
   the above Situation, and has as its object to provide a device          Setting button is Selected on the Setting menu window;
   capable of letting the user know the remaining amount of           40      FIG. 17 is a view showing a submenu corresponding to
   battery and a warning that the battery is running short even            the option Setting button;
   while the device is Stored in a bag, pocket, or the like.
      To achieve the above object, according to the present                   FIG. 18 is a view showing an example in which the
   invention, there is provided an external Storage device                 remaining amount of battery in the portable external Storage
   comprising a battery which Supplies power to a communi             45
                                                                           device is displayed as a pop-up window on the display of the
   cation Section which communicates with an information                   host device; and
   processing apparatus, detection means for detecting a                     FIG. 19 is a view showing a state in which the loud
   remaining amount of the battery, and notifying means for                Speaker of the host device outputs a warning by voice.
   notifying the information processing apparatus of informa                          DETAILED DESCRIPTION OF THE
   tion about the remaining amount of the battery detected by         50                      INVENTION
   the detection means.
      Additional objects and advantages of the invention will be             A portable external Storage device according to a pre
   set forth in the description which follows, and in part will be         ferred embodiment of the present invention will be
   obvious from the description, or may be learned by practice             described below with reference to the several views of the
   of the invention. The objects and advantages of the invention      55   accompanying drawing.
   may be realized and obtained by means of the instrumen                     FIG. 1 is a view for explaining the use environment of the
   talities and combinations particularly pointed out hereinaf             portable external Storage device according to the embodi
   ter.                                                                    ment of the present invention.
          BRIEF DESCRIPTION OF THE SEVERAL
                                                                             AS shown in FIG. 1, communication partners of a portable
                VIEWS OF THE DRAWING
                                                                      60   external Storage device 1 according to the embodiment are
                                                                           information devices Such as a personal computer 2, portable
      The accompanying drawings, which are incorporated in                 game machine 3, digital video camera 4, and PDA (Personal
   and constitute a part of the Specification, illustrate presently        Digital Assistant) 5. The portable external storage device 1
   preferred embodiments of the invention, and together with               of the embodiment and the information devices 2 to 5
   the general description given above and the detailed descrip       65   Serving as communication partners incorporate Bluetooth
   tion of the preferred embodiments given below, serve to                 modules, respectively, and exchange data via the Bluetooth
   explain the principles of the invention.                                modules.
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                                                      US 6,831,444 B2
                                3                                                                   4
      For example, to exchange image data between the digital              The PCI bus 41 is connected to the power supply section
   camera 4 and the personal computer 2, image data are first           13. The power Supply Section 13 comprises a power Supply
   eXchanged between the digital Video camera 4 and the                 controller 71 connected to the PCI bus 41, and a power
   portable external Storage device 1 by wireleSS communica             Supply control circuit 73 connected to the power Supply
   tion using the Bluetooth modules, and Stored in the internal         controller 71. The power supply control circuit 73 is con
   recording medium of the portable Storage device. At this             nected to a battery 74 and AC input 75. Power is supplied
   time, the digital camera 4 and portable external Storage             from the battery 74 when the portable external storage
   device 1 can be wirelessly connected as far as they are              device is used in a mobile environment, and from the AC
   positioned within a wireleSS communicable distance of                input 75 in a battery chargeable/AC drivable environment.
   about 100 m at maximum by the Bluetooth modules.                        Powers from the battery 74 and AC input 75 are supplied
      The portable external Storage device is carried close to a        to elements Such as the engine Section 11, wireleSS Section
   predetermined distance (Bluetooth wireless communicable              12, and Storage Section 15 necessary to operate the portable
   distance of about 100 m at maximum) from the personal                external Storage device.
   computer 2 which transmits image data. Then, a Bluetooth                The ISA bus 43 is connected to the setting section 14. The
   link is automatically established, and image data is trans      15
                                                                        setting section 14 comprises an I/O controller 81 connected
   ferred from the portable Storage device to the personal              to the ISA bus 43, and a button 82 and rotary Switch 83
   computer.                                                            connected to the I/O controller 81. The button 82 and rotary
      A portable external Storage device according to the               Switch 83 are used for Security Setting Such as input of a
   embodiment of the present invention will be described                Bluetooth PIN code, and activation of the device.
   below. FIG. 2 is a block diagram showing the arrangement                The portable external storage device uses the HDD 63 as
   of the portable external Storage device according to the             a storage medium in the above description, but the Storage
   embodiment of the present invention.                                 medium is not limited to this.
      AS shown in FIG. 2, a portable external Storage device 1             The operation of the portable external Storage device
   according to this embodiment comprises an engine Section        25   according to the embodiment of the present invention will be
   11, Bluetooth wireless section 12, power Supply section 13,          explained.
   Setting Section 14, and Storage Section 15.                             The portable external Storage device according to the
      The engine section 11 controls the whole portable external        embodiment of the present invention causes a host device to
   storage device. A CPU 21 which controls the entire storage           let the user know information about the remaining amount of
   device is connected to an EEPROM 22 via a bus 26. The                battery in the portable external Storage device.
   EEPROM 22 records various pieces of setting information                The operation of the host device (e.g., PDA or PC) of the
   of the portable external Storage device.                             portable external storage device will be described with
      The CPU21 is connected to a CPU bus/PCI bus bridge 25             reference to FIGS. 3 and 4.
   via a CPU bus 27. The CPU bus/PCI bus bridge 25 is                     If a remaining battery amount notifying program Starts in
   connected to a DRAM 23 via a memory bus 28 and to a flash       35   the host device, the host device displays a Setting menu (S1).
   memory 24 via a memory bus 29.                                       AS shown in FIG. 11, the Setting menu displays a display
      The DRAM 23 is a work memory for the CPU 21,                      type Switching button 201, warning type Switching button
   whereas the flash memory 24 Stores a program executed by             202, and option setting button 203 on a setting menu
   the CPU 21.                                                          window 200.
      The CPU bus/PCI bus bridge 25 is connected to a display      40      The display type Switching button 201 is a button for
   controller 31 via a bus 30, and the display controller 31 is         Selecting an occasion when the remaining amount of battery
   connected to an LCD33 via a bus 32. The display controller           is displayed.
   31 controls the display of the LCD33. The CPU bus/PCI bus               The warning type switching button 202 is a button for
   bridge 25 functions as an interface bridge between the CPU           Selecting a warning method.
   bus 27 and a PCI bus 41.                                        45
     The PCI bus 41 is connected to an ISA bus 43 via a                    The option setting button 203 sets the threshold of the
   PCI/ISA (Peripheral Component Interconnect/Industry                  remaining amount of battery at which the user is warned of
   Standard Architecture) bridge 42. The PCI bus 41 is con              the remaining amount of battery, or an avoidance method in
   nected to the Bluetooth wireless section 12 via a USB host           a Warning.
   controller 46 and to a USB interface 44. The USB interface      50      The host device checks whether the user enters an input
   44 is connected to a USB connector 45 for connecting a               on the setting menu window 200 (S2). If YES in S2, the host
   peripheral device.                                                   device shifts to the process of S16.
      The Bluetooth wireless section 12 comprises a baseband              In S16, the host device checks whether the display type
   LSI 51 which is connected to the USB host controller 46 and          Switching button 201 displayed on the setting menu window
   controls the Bluetooth wireless function, a flash memory 52     55   200 is selected. If YES in S16 (FIG. 12), the host device
   which stores a program executed by the baseband LSI 51, an           displays a Submenu 204 corresponding to the display type
   antenna 54, and an RF unit 53 which controls RF signals              switching button 201 shown in FIG. 13 (S19).
   between the baseband LSI 51 and the antenna 54.                        The submenu 204 corresponding to the display type
     The PCI bus 41 is connected to the storage section 15. The         Switching button 201 displays a remaining battery amount
   storage section 15 comprises an IDE interface controller 61     60   display “normally ON” button 205, remaining battery
   connected via the PCI bus 41, and an HDD 63 connected to             amount display “user designation' button 206, and remain
   the IDE interface controller 61 via an IDE interface 62. The         ing battery amount display “warning” button 207.
   PCI bus 41 is connected to a PCMCIA host controller 91 and             The remaining battery amount display “normally ON”
   to a PC card HDD 93 via the PCMCIA host controller 91.               button 205 is a button for selecting a remaining battery
   The PCI bus 41 is further connected to an SD memory             65   amount display “normally ON” mode in which information
   controller 111 and to an SD memory card 113 via the SD               about the remaining amount of battery is always transmitted
   memory controller 111.                                               to the host device.
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                                                       US 6,831,444 B2
                               S                                                                        6
      The remaining battery amount display “user designation”            ment of the present invention, and transmits the Setting
   button 206 is a button for selecting a remaining battery              information (S5).
   amount display “user designation” mode in which informa                 The host device checks whether the user generates a
   tion about the remaining amount of battery is transmitted to          remaining battery amount request (S6). If YES in S6, the
   the host device when a user designates remaining battery              host device transmits a remaining battery amount acquisition
   amount display.                                                       request to the portable external Storage device (S7).
      The remaining battery amount display “warning” button                If NO in S6, or after the host device transmits the
   207 is a button for Selecting a remaining battery amount              remaining battery amount acquisition request in S7, the host
   display “warning” mode in which information about the                 device checks whether to receive remaining battery amount
   remaining amount of battery is transmitted to the host device         information from the portable external storage device (S8).
   when warning conditions Set by the user are Satisfied.                  If YES in S8, the host device loads the received data (S9),
     Of the modes (remaining battery amount display “nor                 and displays the remaining amount of battery (S10).
   mally ON” mode, remaining battery amount display “user                  The host device checks whether to receive battery warn
   designation” mode, and remaining battery amount display               ing information from the portable external Storage device
                                                                    15
   “warning” mode) selected on the Submenu corresponding to              (S11). If YES in S11, the host device loads the warning
   the display type switching button shown in FIG. 13, a mode            information (S12), and executes a warning based on the
   input by the user (S20) is saved as setting information (S21).        setting information set by the user (S13).
     If NO in S16, the host device checks whether the warning               For example, when the voice warning button 210 is
   type switching button 202 is selected (S17). If YES in S17            Selected on the Submenu corresponding to the warning type
   (FIG. 14), the host device displays a submenu 208 corre               Switching button shown in FIG. 15, a warning is generated
   sponding to the warning type Switching button 202 shown in            by voice. When the warning character display button 211 is
   FIG. 15 (S19).                                                        Selected, a warning message concerning the battery is dis
     The submenu 208 corresponding to the warning type                   played on the Screen of the information processing appara
   Switching button 202 displays an alarm ringing button 209,       25 tuS.
   Voice warning button 210, and warning character display                  FIG. 18 shows an example in which the remaining amount
   button 211.                                                           of battery in the portable external Storage device is displayed
      The alarm ringing button 209 is a button for selecting a           as a pop-up window 501 on a display 500 of the host device.
   mode in which a warning is generated by ringing an alarm.             FIG. 19 is a view showing a state in which a loudspeaker 601
      The voice warning button 210 is a button for selecting a           of the host device outputs a voice warning.
   mode in which a warning is generated by voice.                           Then, the host device checks whether the program ends
      The warning character display button 211 is a button for           (S14). If YES in S14, the host device transmits an end
   Selecting a mode in which a warning is generated by                   command to the portable external storage device (S15), and
   characters.                                                           stops the program. If NO in S14, the host device returns to
     Of the modes (remaining battery amount display “nor            35   the process of S6.
   mally ON” mode, remaining battery amount display “user                   The operation of the portable external Storage device will
   designation” mode, and remaining battery amount display               be explained with reference to FIGS. 5 to 7.
   “warning” mode) selected on the Submenu corresponding to                After the program Starts, the portable external Storage
   the warning type switching button shown in FIG. 15, a mode            device checks whether wireless communication starts (S30).
                                                                    40
   input by the user (S20) is saved as setting information (S21).        If YES in S30, the portable external storage device receives
     If NO in S17, the host device checks whether the option             setting information from the host (S31), and saves the
   setting button203 is selected (S18). If YES in S18 (FIG.16),          received setting information (S32).
   the host device displays a Submenu 212 corresponding to the             The portable external Storage device checks whether the
   option setting button 203 shown in FIG. 17 (S19).                45
                                                                         remaining battery amount display “normally ON” (“always”
     The Submenu 212 corresponding to the option Setting                 notifying) mode has been selected on the Submenu corre
   button 203 displays an item 213 for setting a remaining               sponding to the display type Switching button (S33).
   amount of battery at which a warning is generated, an item              If YES in S33, the portable external storage device checks
   214 for setting the avoidance means for an HDD in a                   the remaining amount of battery (S37), and determines
   warning, and an item 215 for Setting the avoidance means         50   whether the checked remaining amount of battery is equal to
   for a Semiconductor memory device (e.g., SD memory) in a              or Smaller than a warning remaining amount of battery
   warning. In FIG. 17, a warning is generated when the                  represented by the saved setting information (S38).
   remaining amount of battery decreases to 5% or leSS. In the             If YES in S38, i.e., the battery has a sufficient remaining
   warning, the HDD is turned off, and the semiconductor                 amount, the portable external Storage device transmits the
   memory device is turned on.                                      55   checked remaining amount of battery to the host device
     An item input by the user on the Submenu 212 corre                  (S41).
   sponding to the option setting button 203 shown in FIG. 17               If NO in S38, i.e., the battery is running short, the portable
   is saved as Setting information (S21).                                external Storage device transmits warning information to the
      After setting information is saved in S21, or if NO in S18,        host device (S39). The portable external storage device
   the host device checks whether the display of the Setting        60   Saves its Stored data in an avoidance destination of data, that
   menu ends (S22).                                                      is, the portable external Storage device Saves its data in an
     If NO in S22, the host device returns to the process of             alternate Storage location in order to avoid data loSS when
   S16; if YES, to the process of S4.                                    the warning is generated, represented by the Setting infor
     If NO in S2, the host device determines that a default              mation (S40). When the setting information represents no
   value is set (S3), and shifts to the process of S4. In S4, the   65   avoidance in a warning, no data avoidance is performed.
   host device establishes wireleSS communication with the                 The portable external Storage device checks whether it has
   portable external Storage device according to the embodi              received an end command from the host device (S42). If
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                                                         US 6,831,444 B2
                                   7                                                                      8
   YES in S42, the portable external storage device stops the                 The portable external Storage device Saves the Setting
   program; if NO, returns to the process of S37.                           information transmitted from the host device (105). The
      If NO in S33, the portable external storage device checks             portable external Storage device checks the remaining
   whether the mode in which the remaining amount of battery                amount of battery, and determines whether the checked
   is displayed in response to a user designation is Selected on            remaining amount of battery is equal to or Smaller than a
   the Submenu corresponding to the display type Switching                  remaining amount of battery represented by the Setting
   button (S34).                                                            information at which a warning is generated (106).
      If YES in S34, the portable external storage device checks               If the checked remaining amount of battery is larger than
   whether it has received a remaining battery amount request               the remaining amount of battery represented by the Setting
   from the host device (S51).                                              information at which a warning is generated, i.e., the battery
      If YES in S51, the portable external storage device checks            has a Sufficient remaining amount, the portable external
   the remaining battery amount (S52), and determines whether               Storage device transmits remaining battery amount informa
   the checked remaining amount of battery is equal to or                   tion (107).
   Smaller than a warning remaining amount of battery repre            15
                                                                               If the checked remaining amount of battery is equal to or
   sented by the saved setting information (S53).                           Smaller than the remaining amount of battery represented by
      If YES in S53, i.e., the battery has a sufficient remaining           the Setting information at which a warning is generated, i.e.,
   amount, the portable external Storage device transmits the               the battery is running short, the portable external Storage
   checked remaining amount of battery to the host device                   device transmits battery warning information to the host
   (S54).                                                                   device (108).
      If NO in S53, i.e., the battery is running short, the portable          Upon reception of the remaining battery amount infor
   external Storage device transmits warning information to the             mation or warning information, the host device performs
   host device (S55). The portable external storage device                  processing Such as display of a warning on the display or
   Saves its Stored data in an avoidance destination of data                generation of warning Sound on the basis of the Setting
   represented by the setting information (S.56). When the             25   information (109). Finally, the host device transmits an end
   Setting information represents no avoidance in a warning, no             command to the portable external storage device (110), and
   data avoidance is performed.                                             ends the program.
      Then, the portable external Storage device checks whether                FIG. 9 is a view for explaining a sequence when the
   it has received an end command from the host device (S57).               remaining battery amount display “user designation” mode
   If YES in S57, the portable external storage device stops the            in which information about the remaining amount of battery
   program; if NO, returns to the process of S51.                           is transmitted to the host device upon reception of a user
      If NO in S34, the portable external storage device checks             designation.
   whether the mode in which warning information is trans                      Note that processing up to display of a Setting menu on the
   mitted in response to a warning is Selected on the Submenu               host device, establishment of wireleSS communication
   corresponding to the display type Switching button (S35).           35   between the host device and the portable external Storage
     If YES in S35, the portable external storage device checks             device, and Saving of Setting information in the portable
   the remaining amount of battery (S61), and determines                    external Storage device is the same as that shown in FIG. 8,
   whether the checked remaining amount of battery is equal to              and a description thereof will be omitted.
   or Smaller than a warning remaining amount of battery                       When the user wants to know the remaining amount of
   represented by the saved setting information (S62).                 40   battery, he/she requests the host device to display the
      If NO in S62, i.e., the battery is running short, the portable        remaining amount of battery by, e.g., clicking an icon (301).
   external Storage device transmits warning information to the             Upon reception of the user request, the host device transmits
   host device (S63). The portable external storage device                  a remaining battery amount acquisition request to the por
   Saves its Stored data in an avoidance destination of data
                                                                       45
                                                                            table external storage device (302).
   represented by the setting information (S64). When the                     The portable external Storage device checks the remaining
   Setting information represents no avoidance in a warning, no             amount of battery, and determines whether the checked
   data avoidance is performed.                                             remaining amount of battery is equal to or Smaller than a
      The portable external Storage device checks whether it has            remaining amount of battery represented by the Setting
   received an end command from the host device (S65). If              50
                                                                            information at which a warning is generated (303).
   YES in S65, the portable external storage device stops the                  If the checked remaining amount of battery is larger than
   program; if NO, returns to the process of S61.                           the remaining amount of battery represented by the Setting
      FIGS. 8 to 10 are views showing time sequences between                information at which a warning is generated, i.e., the battery
   the portable external Storage device and the host device in              has a Sufficient remaining amount, the portable external
   the respective modes. FIGS. 8 to 10 are views for supple            55   Storage device transmits remaining battery amount informa
   mentally explaining the flow charts shown in FIGS. 3 to 7.               tion (304).
      FIG. 8 is a view showing a Sequence when remaining                       If the checked remaining amount of battery is equal to or
   battery amount display is normally ON.                                   Smaller than the remaining amount of battery represented by
     The host device displays a setting menu (100), and the                 the Setting information at which a warning is generated, i.e.,
   user inputs Settings on the displayed Setting menu (101). The       60   the battery is running short, the portable external Storage
   host device Saves the pieces of input Setting information                device transmits battery warning information to the host
   (102).                                                                   device (305).
     After that, wireless communication (in this case, Blue                   Upon reception of the remaining battery amount infor
   tooth communication connection) is executed between the                  mation or warning information, the host device performs
   host device and the portable external storage device (103),         65   processing Such as display of a warning on the display or
   and the host device transmits the Setting information to the             generation of warning Sound on the basis of the Setting
   portable external storage device (104).                                  information (306). Finally, the host device transmits an end
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                                                       US 6,831,444 B2
                                                                                                     10
   command to the portable external storage device (307), and              2. A device according to claim 1, wherein Said notifying
   ends the program.                                                     means comprises
     FIG. 10 is a view for explaining a sequence when the                  means for determining whether the remaining energy of
   remaining battery amount display “warning mode in which                    Said battery detected by Said detection means is not
   information about the battery is transmitted to the host                   more than the remaining energy of Said battery repre
   device when the battery is running short.                                  Sented by the Setting information when the notifying
     Note that processing up to display of a Setting menu on the              method represented by the Setting information is a
   host device, establishment of wireless communication                       method of notifying the information processing appa
   between the host device and the portable external Storage                  ratus of a remaining energy of Said battery, and
   device, and Saving of Setting information in the portable        1O
                                                                           means for, when Said determination means determines
   external Storage device is the same as that shown in FIG. 8,              that the remaining energy of Said battery is not more
   and a description thereof will be omitted.                                than the remaining energy of Said battery represented
      The portable external Storage device checks the remaining
   amount of battery (401). If the remaining amount of battery               by the Setting information, notifying the information
   is equal to or Smaller than a remaining amount of battery                 processing apparatus of warning information represent
                                                                    15       ing that the remaining energy of Said battery is not more
   contained in Setting information at which a warning is
   generated, the portable external Storage device transmits                 than the remaining energy of Said battery represented
   battery warning information to the host device (402). The                 by the Setting information, and when Said determina
   host device generates a warning on the basis of the battery               tion means determines that the remaining energy of
   warning information from the portable external Storage                    Said battery is more than the remaining energy of Said
   device (403), and transmits an end command to the portable                battery represented by the Setting information, notify
   external storage device (404).                                            ing the information processing apparatus of the remain
      If the remaining amount of battery is larger than the                  ing energy of Said battery detected by Said detection
   remaining amount of battery at which a warning is                            CS.
   generated, the portable external Storage device does not                3. A device according to claim 1, wherein Said notifying
   transmit any information to the host device, and continu         25   means comprises
   ously checks the remaining amount of battery.                           first means for determining whether a user has inputted a
      Note that the portable external Storage device and the                  remaining battery energy information request, while
   information processing apparatus Serving as a host device                  the notifying method represented by the Setting infor
   wirelessly communicate with each other in the above                        mation is a method of notifying the information pro
   described embodiment, but may communicate by wire.                         cessing apparatus of a remaining energy of Said battery
      The present invention is not limited to the above                       in response to a user designation,
   described embodiment, and can be variously modified with                Second means for determining whether the remaining
   out departing from the Spirit and Scope of the invention in                energy of Said battery detected by Said detection means
   practical use.                                                             is not more than the remaining energy of Said battery
                                                                    35
      The portable external Storage device according to the                   represented by the Setting information when Said first
   embodiment of the present invention can notify the user of                 means determines that the user inputs the remaining
   information about the battery via the host device. The user                battery energy information request, and
   can quickly know information about the battery regardless               means for, when Said Second determination means deter
   of the Storage location of the portable external Storage         40       mines that the remaining energy of Said battery is not
   device.                                                                   more than the remaining energy of Said battery repre
     Additional advantages and modifications will readily                    Sented by the Setting information, notifying the infor
   occur to those skilled in the art. Therefore, the invention in            mation processing apparatus of warning information
   its broader aspects is not limited to the Specific details and            representing that the remaining energy of Said battery is
   representative embodiments shown and described herein.           45       not more than the remaining energy of Said battery
   Accordingly, various modifications may be made without                    represented by the Setting information and when Said
   departing from the Spirit or Scope of the general inventive               Second means determines that the remaining energy of
   concept as defined by the appended claims and their equiva                Said battery is more than the remaining energy of Said
   lents.                                                                    battery represented by the Setting information, notify
      What is claimed is:                                                    ing the information processing apparatus of the remain
                                                                    50
     1. A device comprising:                                                 ing energy of Said battery detected by Said detection
     a battery which Supplies power to a communication                          CS.
        Section which communicates with an information pro                 4. A device according to claim 1, wherein Said notifying
        cessing apparatus,                                               means comprises
     means for receiving, from the information processing,          55     means for determining whether the remaining energy of
        apparatus, a Setting information representing at least                Said battery detected by Said detection means is not
        one of a notifying method for information about                       more than the remaining energy of Said battery repre
        remaining energy of Said battery, or level of remaining               Sented by the Setting information when the notifying
        energy of Said battery at which a warning is to be                    method represented by the Setting information is a
        displayed on the information processing apparatus, and      60        notifying method for a case in which the remaining
     means for Storing the received Setting information; and                  energy of Said battery is not more than a remaining
     means for detecting a remaining energy of Said battery;                  energy of Said battery represented by the Setting infor
        and                                                                   mation at which a warning is generated, and
     means for transmitting, to the information processing                 means for notifying the information processing apparatus
       apparatus, information about the remaining energy of         65        of warning information representing that the remaining
       Said battery on the basis of the received Setting infor                energy of Said battery is not more than the remaining
        mation.                                                               energy of Said battery represented by the Setting
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                                                      US 6,831,444 B2
                                11                                                                 12
        information, when Said determination means deter                the information processing apparatus comprises:
        mines that the remaining energy of Said battery is not          transmission means for transmitting, to the external
        more than the remaining energy of Said battery repre               device, Setting information representing a notifying
        Sented by the Setting information.                                 method for information about a remaining energy of a
     5. A device according to claim 1, in which the Setting                battery of the external device, and a remaining energy
   information includes avoidance destination information rep              of the battery at which a warning is generated,
   resenting an avoidance destination of data in the device
   when a warning is generated, and                                     the external device comprises:
     which further comprises                                            a battery which Supplies power to a communication
     means for determining whether the remaining energy of                 Section which communicates with a plurality of infor
        Said battery detected by Said detection means is not               mation processing apparatuses,
        more than the remaining energy of Said battery repre            means for detecting a remaining energy of Said battery;
        Sented by the Setting information at which a warning is         means for Storing Setting information transmitted from the
        generated, and                                             15      information processing apparatus, and
     means for Storing data Stored in the external Storage              means for notifying the host device of information about
        device in an alternate Storage location Specified by the           the remaining energy of Said battery detected by Said
        avoidance destination information when Said determi
        nation means determines that the remaining energy of               detection means, on the basis of the Setting information
        Said battery detected by Said detection means is not               Stored in Said Storage means, and
        more than the remaining energy of Said battery repre            the information processing apparatus further comprises:
        Sented by the Setting information at which a warning is         means for receiving the information about the remaining
        generated.                                                         energy of Said battery from the external device; and
     6. A device according to claim 1, wherein the information          means for exhibiting the received information about the
   processing apparatus and the device wirelessly communi          25      remaining energy of Said battery on the basis of the
   cate with each other.                                                   notifying method for the information about the remain
     7. A remaining battery energy notifying method for a                  ing energy of Said battery represented by the Setting
   device in an information processing apparatus which com                information.
   municates data with the device, comprising:                          9. An external Storage device comprising:
     transmitting a Setting information representing a notifying        a battery which Supplies power to a communication
        method for information about a remaining energy of a               Section which communicates with an information pro
        battery and a level of remaining energy of Said battery            cessing apparatus,
        at which a warning is generated to notify the informa
        tion processing apparatus to the device, wherein the            means for detecting a remaining energy of Said battery;
        Setting information is transmitted from the information    35   means for Storing Setting information representing a noti
        processing apparatus;                                              fying method for information about a remaining energy
     receiving, from the device, information about the remain              of Said battery transmitted from the information process
        ing energy of the battery acquired in the device in                apparatus, and a remaining energy of Said battery at
        response to the Setting information ; and                          which a warning is generated; and
     displaying the received information about the remaining       40   means for notifying the information processing apparatus
        energy of the battery in the information processing                of information about the remaining energy of Said
        apparatuS.                                                         battery detected by Said detection means on the basis of
      8. A battery information notifying system which notifies             the Setting information Stored in Said Storage means.
   an information processing apparatus Serving as a host device
   of information about a battery of an external device, wherein                            k   k   k   k   k
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               UNITED STATES PATENT AND TRADEMARK OFFICE
                     CERTIFICATE OF CORRECTION

PATENT NO.      : 6,831,444 B2                                                                    Page 1 of 1
DATED           : December 14, 2004
INVENTOR(S) : Kobayashi et al.

       It is certified that error appears in the above-identified patent and that said Letters Patent is
       hereby corrected as shown below:


       Column 9
       Lines 55-56, change "processing, apparatus,” to -- processing apparatus, --.
       Column 10
       Line 46, change “information and” to -- information, and --.
       Column 11
       Line 39, change “information; and” to -- information; and --.
       Column 12
       Line37, change “process” to -- processing --.




                                                                   Signed and Sealed this
                                                             Nineteenth Day of April, 2005


                                                                                  WDJ
                                                                             JON W. DUDAS
                                                         Director of the United States Patent and Trademark Office
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                            EXHIBIT 2
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                                                                                                      USOO6928166B2

   (12) United States Patent                                                           (10) Patent No.:     US 6,928,166 B2
          Yoshizawa                                                                    (45) Date of Patent:      Aug. 9, 2005

   (54) RADIO COMMUNICATION DEVICE AND                                                       FOREIGN PATENT DOCUMENTS
           USER AUTHENTICATION METHOD FOR
           USE THEREWITH                                                          EP         WO 97/26769       7/1997
                                                                                  EP         WO 01/74011 A1 10/2001
                                                                                  GB             2350971. A * 12/2000      ............. GO6F/1/OO
   (75) Inventor: Junichi Yoshizawa, Ome (JP)                                     JP           O9-233223       9/1997
                                                                                  JP             2872996       1/1999
   (73) Assignee: Kabushiki Kaisha Toshiba, Kawasaki                                               OTHER PUBLICATIONS
                  (JP)
                                                                                  Johannes Elg, “Specification of the Bluetooth System,” ver.
   (*) Notice: Subject to any disclaimer, the term of this                        1.0 B, pp. 186-199, Nov. 29, 1999.
                        patent is extended or adjusted under 35                   English abstract of JP 11-275661 published Oct. 8, 1999.
                        U.S.C. 154(b) by 887 days.
                                                                                  * cited by examiner
   (21) Appl. No.: 09/795,355                                                     Primary Examiner Matthew Smithers
   (22) Filed:     Mar. 1, 2001                                                   (74) Attorney, Agent, or Firm-Finnegan, Henderson,
                                                                                  Farabow, Garrett & Dunner, L.L.P.
   (65)                Prior Publication Data                                     (57)                 ABSTRACT
           US 2001/0036273 A1 Nov. 1, 2001
                                                                                  To allow flexible Security level Switching according com
   (30)          Foreign Application Priority Data                                munication Situations, a password holding Section holds a
    Apr. 28, 2000      (JP) ....................................... 2000-131861   plurality of device authentication passwords, for example, a
                                                                                  temporary password and a private password. The temporary
   (51) Int. Cl. ............................. H04K 1/00; H04L 9/16               password is valid only under a certain situation and the
   (52) U.S. Cl. ........................ 380/247; 380/255; 713/168               private password has a high level of confidentiality to
   (58) Field of Search ................................. 380/247, 270,           increase the device Security. A password management Sec
                                  380/255; 713/168, 169,171, 201                  tion allows the user to add a new password to the password
                                                                                  holding Section and delete an existing password therefrom.
   (56)                    References Cited                                       A password Selecting Section Selects the most Suitable pass
                    U.S. PATENT DOCUMENTS
                                                                                  word for current connection from among passwords in the
                                                                                  password holding Section according to a user event, infor
          5,442,805 A    8/1995 Sagers et al.                                     mation acquired by an external factor acquisition Section,
          6,748,195 B1 * 6/2004 Phillips ..................... 455/412            and information from a time control Section. The Selected
          6,766,160 B1 * 7/2004 Lemilainen et al. ........ 455/411                password is output to a password checking Section.
    2002/0132605 A1          9/2002 Smeets et al. .............. 455/411
    2004/O128509 A1          7/2004 Gehrmann .................. 713/171                         19 Claims, 5 Drawing Sheets

                                            17                      16
                                       PASSWORD                PASSWORD
                                       MANAGEMENT              HOLDING
                                       SECTION                 SECTION

                                   EXTERNAL
                                   FACTOR
                                   ACOUSION                                             PASSWORD
                                   SECTION                                              CHECKING
                                                                PASSWORD                SECTION
                                                                SELECTING
                                                                SECTION

                                                              AUTHENTICATION
                                    EVENT               .     PASSWORD              DATA
                                                              INPUT                 TRANSMTNG
                              --------- e                     SECTION               AND RECEVING
                                                                                    SECTION
                                   2


                                                                                   CONNECTION-BREAK
                                                                                       EENSECTION3
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                           7                  16

                   PASSWORD                PASSWORD
               --> MANAGEMENT             HOLDING
           }      SECTION                  SECTION
                      4
                EXTERNAL                              8                  9
                FACTOR
           1   |ASSION                                              PASSWORD
                                  15       PASSWORD                 SENG
               TIME CONTROL                SELECTING
               SECTION                     SECTION
           -- - - - - - - - - -      --
       :                       ---                           20              11       12
                 USER                     AUTHENTICATION
                 EVENT                    PASSWORD                DATA
                                          INPUT                   TRANSMITTING    ANTENNA
                                          SECTION                 AND RECEIVING
                                                                  SECTION



                                                                ONNECTIQBRES
                                                               DETECTING SECTION

                                                     F. G.


                                  DEVICE A                    )        DEVICE B
                                                     CONNECTION
                                                     REQUEST

                                                     F. G. 2
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   U.S. Patent          Aug. 9, 2005   Sheet 2 of 5              US 6,928,166 B2


                            DEVICE A                            DEVICE B
               SPECIFY DEVICE
              E.
              IS SETUP
                       :                 CONNECTION
                                         REQUEST




                                        AUTHENTICATION
                                         REQUEST

              : ENTRY OF                                   B5
                PASSWORD                  PASSWORD
                                        END OF             B6
                                        AUTHENTICATION



                                       MACHINE A


                                   ->
                           MACHINE B   MACHINE C         MACHINE D




                                          M



                                       Z-PASSWORD
                                           FILE 26
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   U.S. Patent         Aug. 9, 2005     Sheet 3 of 5         US 6,928,166 B2




                           DEVICE BSETS UP
                           TEMPORARY PASSWORD          C


                       DEVICE B SES P
                       TEMPORARY PASSWORD              C2
                       AS AUTHENTCATION PASSWORD


                                CONNECTION
                             REQUEST CAUSED BY
                                  DEVICE A

                                       YES

                       CONNECTION WITH DEVICE ABC
                       ANDAUTHENTICATION THEREOF



                                 CONNECON
                                 BREA AB
                                          -
                                       YES
                         DEVICE B SE.S UP
                         PRIVATE PASSWORD AS            C6
                         AUTHENTCATION PASSWORD


                                      FG, 4.
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   U.S. Patent             Aug. 9, 2005   Sheet 4 of 5         US 6,928,166 B2




                   | OFFICE re-3
                   l- - - - - - - -
                                                           | OFFICE
                                                           t- - - - - - - - -




                                                                    33
                       ---------
                 33 NINFORMATION          ------
                       Eigy               -->
                                          MOVING
                                                 Eyton
          (TEMPORARY PASSWORD IN USE)     TTTTTT         (PRIVATE
                                                         PASSWORD IN USE)
Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 42 of 128 Page ID #:42


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               CONNECTION REQUESTN- Al

                                      A2
                      FIRST                     NO
                   CONNECTION
                         YES
                 AUTHENTICATION            A3
                  BY PIN CODE

                   LINK SET UP             A4


                LINK KEY CREATION          A5
                                                                      A7

                ENTRY OF LINK KEY          A6             AUTHENTICATION
                NTO TABLE                                 BY LINK KEY


                                F. G. 7 (PRIOR ART)


               UNIQUE ADDRESS (Hex)                  LINK KEY




                              FG. 8 (PRIOR ART)
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                                                         US 6,928,166 B2
                                  1                                                                     2
        RADIO COMMUNICATION DEVICE AND                                     the PIN code of the device B. Upon receiving the PIN code
        USER AUTHENTICATION METHOD FOR                                     from the device A, the device B checks it for validity (step
                 USE THEREWITH                                             A3). If the PIN code is authenticated, then the device B
                                                                           establishes a link (Step A4) and creates a link key for the
              CROSS-REFERENCE TO RELATED
                                                                           device A (step A5). The resulting link key is entered into the
                     APPLICATIONS
                                                                           list together with the unique address of the device A (Step
                                                                           A6).
      This application is based upon and claims the benefit of               If, on the other hand, the device A was Sometimes
   priority from the prior Japanese Patent Application No.                 connected to the device B in the past, Since the link key has
   2000-131861, filed Apr. 28, 2000, the entire contents of                already been entered into the table in the device B, authen
   which are incorporated herein by reference.                             tication is made through that link key (Step A7).
             BACKGROUND OF THE INVENTION                                      The Bluetooth provides authentication using the PIN code
                                                                           unique to each device and the link key based on the PIN
      The present invention relates to a radio communication               code. The PIN code, while being unique, can be altered by
   device and a user authentication method using user authen          15
                                                                           the device user into any other String of characters.
   tication passwords.                                                        The security system disclosed in Japanese Patent No.
      In recent years, attention has been paid to radio commu              2872996, the one-time password system in the Internet and
   nication Systems adapted for personal areas, Such IrDA,                 the user authentication System in the Bluetooth can be said
   Bluetooth, HomeRF, etc. Particularly, Bluetooth and Hom                 to be password management and authentication Systems
   eRF have merits of no directivity and high transparence over            intended to provide only increased Security.
   infrared communication Systems, Such as IrDA, and are                      The use of the user authentication System in ad hoc
   greatly expected to develop and find wide application in the
   future. The Bluetooth is short-haul radio communication                 network environment causes problems as described below.
   Standards and establishes radio communications within 10 m                 AS an application of the user authentication System used
   or 100 m using the ISM (Industrial Science Medical) band           25   in the Bluetooth, consider a table conferencing System made
   of 2.4 GHz band. The Bluetooth adopts frequency-hopping                 up of a plurality of information devices. Each individual
   Spectrum-Spreading techniques and allows for connection of              device is required to establish a fiduciary relationship based
   up to eight devices through the use of time-division multi              on the above user authentication System with the others.
   plexing techniques.                                                        However, in order for each individual user having his own
     In addition to allowance for Simultaneous connection of               private PIN code to ensure the security of his own device, it
   multiple devices, the radio communication Systems, Such as              is desirable to adopt a method involving creating a tempo
   Bluetooth, HomeRF, etc., make a great feature of a relatively           rary PIN code and changing it to the original private PIN
   long transmission distance of, Say, 10 to 100 m in compari              code at the termination of the table conferencing rather than
   Son with the infrared communication Systems, Such as IrDA.              establishing the fiduciary relationship by informing the other
                                                                      35   users of the private PIN code.
   This provides an advantage of ease of handling, but on the
   other hand Sufficient attention must be paid to assure System              To adopt the user authentication System as described
   Security and confidentiality.                                           above, therefore, it is required to take the following Steps:
      Conventional Security Systems for radio communication                   S1: Each individual user sets up a temporary PIN code on
   Systems include the radio terminal Security System as              40
                                                                           his own device and informs the other users of that PIN code.
   described in Japanese Patent No. 2872996 and the one-time                  S2: Holds table conferencing.
   password System as used in the Internet.                                   S3: At the termination of the conferencing, each indi
      These Security Systems include electronic keys and radio             vidual user makes a change from the temporary PIN code to
   terminals and prohibit Successive use of the same key to                his original private PIN code.
   increase Security, thereby providing increased Safety against      45
   loss and theft of the key.                                                 With the above approach, however, not only does it take
      Next, the user authentication system used in the Bluetooth           long to set up the PIN code, but also the security level is
   will be described.                                                      considerably lowered in the event that the user forgot to
                                                                           make a change from the PIN code to the original PIN code;
     The user authentication system used in the Bluetooth is               for, in such case, the temporary PIN code will come to be
   Subject to two: a unique password Set up on each device            50   used Successively.
   (called a PIN (Personal Identification Number) code) and an
   encryption key (called link key) created by the password and                    BRIEF SUMMARY OF THE INVENTION
   an ID code unique to the device (information, Such as a
   48-bit address, assigned by IEEE). This system will be                    It is therefore an object of the present invention to provide
   described in brief below with reference to a flowchart shown       55   a radio communication device and a user authentication
   in FIG. 7.                                                              method for use therewith which permit the security level to
      Consider now the case where a device A makes access to               be changed with flexibility according to communication
   a device B. The device A makes a request for connection to              Situations without imposing any operating burden on users.
   the device B (step A1), whereupon the device B checks the                  According to one aspect of the present invention, there is
   presence or absence of the link key to see if the connection       60   provided an authentication processing apparatus of a radio
   to the device A is set up for the first time (step A2). That is,        communication which authenticates a device, the apparatus
   the device B is stored with a list of link keys besides PIN             comprising: means for Selecting a Security level from a
   codes. This list is a table of unique addresses of devices              plurality of Security levels in accordance with a condition of
   connected So far to the device B and corresponding link                 the radio communication;
   keys. An example of this table is illustrated in FIG. 8.           65     means for receiving a request for an authentication and
     In the situation in which the device A and the device B are           authentication information from the device; means for
   connected for the first time, the device A is required to input         checking whether the received information from the device
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                                                        US 6,928,166 B2
                                  3                                                                     4
   is valid or not depending on the Selected Security level; and             FIG. 4 is a flowchart for Switching between a temporary
   means for Sending a response of the check result which                  password and a private password in the embodiment;
   authenticates or rejects the device thereto.                              FIG. 5 is a diagram for use in explanation of how
      According to another aspect of the present invention,                conferencing passwords are Selected in an electronic con
   there is provided a radio communication device having a                 ferencing System;
   password unique to it and adapted for authenticating another              FIG. 6 is a diagram for use in explanation of management
   device by use of the password, comprising: password hold                of passwords of slave stations through ID information of a
   ing means for holding at least a first password intended for            master Station in a radio communication System composed
   temporary use and a Second password intended for regular                of multiple radio communication devices,
   use; password Selecting means for Selecting an appropriate         1O
                                                                                 FIG. 7 is a flowchart for user authentication in the
   password from the password holding means according to a                 Bluetooth system; and
   current communication condition; and password checking                        FIG. 8 shows the contents of the table used in the user
   means for checking a password Sent from another device
   with the password Selected by the password Selecting means              authentication processing shown in FIG. 7.
   to thereby authenticate the another device.                        15
                                                                                        DETAILED DESCRIPTION OF THE
      According to Still another aspect of the present invention,                               INVENTION
   there is provided an authentication processing method of a
   radio communication which authenticates a device, the                      FIG. 1 is a block diagram of a radio communication
   method comprising the Steps of: Selecting a Security level              device according to an embodiment of the present invention,
   from a plurality of Security levels in accordance with a                which comprises a data transmitting and receiving Section
   condition of the radio communication; receiving a request               11, an antenna 12, a connection-break detecting Section 13,
   for an authentication from the device; receiving authentica             an external factor acquisition Section 14, a time control
   tion information from the device; checking whether the                  Section 15, a password holding Section, a password man
   received information from the device is valid or not depend             agement Section 17, a password Selecting Section, a pass
   ing on the Selected Security level; and Sending a response of      25   word checking Section 19, and an authentication password
   the check result which authenticates or rejects the device              input Section 20. User events 21 are applied to the password
   thereto.                                                                management Section 17, the password Selecting Section 18,
      According to Still another aspect of the present invention,          and the authentication password input Section 20.
   there is provided a radio communication method commu                       The data transmitting and receiving Section 11 makes
   nicating with a device, the method comprising the Steps of:             radio communication with other devices through the antenna
   Storing a first password intended for temporary use and a               12, performs low-level framing and Synchronous
   Second password intended for regular use; Selecting the first           processing, and can perform error detection and correction
   password depending on a variable Security level; receiving              as required.
   a request for a connection from the device, receiving a            35      The connection-break detecting Section 13 examines data
   password for an authentication from the device; checking                receiving conditions in the data transmitting and receiving
   whether the received password from the device and the                   Section 11 to detect whether the device with which the
   Selected first password correspond or not; Sending a                    connection has been Set up lies outside the coverage area and
   response of the check result which authenticates or rejects             presents the result to the password Selecting Section 18. The
   the device thereto, performing a low-Security-level commu          40   connection-break detecting Section 13 is also configured to
   nication with the authenticated device based on the connec              allow the user to Set arbitrarily parameters, Such as timer
   tion; and changing over, when the communication is                      values, receiving Sensitivity, etc., for recognizing connection
   terminated, the Security level to higher one than that of the           break, that is, to Set optimum values So that the password is
   first password and Selecting the Second password.                       not readily Switched to another one in the event of bad data
      Additional objects and advantages of the invention will be      45   receiving conditions. Although, in FIG. 1, the connection
   set forth in the description which follows, and in part will be         break detecting Section 13 is provided independently, it may
   obvious from the description, or may be learned by practice             be incorporated into the external factor acquisition Section
   of the invention. The objects and advantages of the invention           14.
   may be realized and obtained by means of the instrumen                    The external factor acquisition Section 14 identifies exter
   talities and combinations particularly pointed out hereinaf        50   nal factors, for example, the presence or absence of AC
   ter.                                                                    power Supply, the presence or absence of wireless
          BRIEF DESCRIPTION OF THE SEVERAL                                 connection, Such as Bluetooth, IrDA, etc., or wired
                VIEWS OF THE DRAWING                                       connection, Such as USB, IEEE1394, etc., and controls the
                                                                           password Selecting Section 18 correspondingly.
      The accompanying drawings, which are incorporated in            55         The time control Section 15 controls time information in
   and constitute a part of the Specification, illustrate presently        terms of absolute time or relative time and, at the occurrence
   preferred embodiments of the invention, and together with               of timer runout, notifies the password Selecting Section 18 of
   the general description given above and the detailed descrip            it.
   tion of the preferred embodiments given below, serve to                       The password holding Section 16 is a memory that Stores
   explain the principles of the invention.                           60   a plurality of passwords for authenticating the device (e.g.,
      FIG. 1 is a block diagram of a radio communication                   two passwords: a temporary password and a private
   device according to an embodiment of the present invention;             password). The temporary password is one which is valid
      FIG. 2 is a diagram for use in explanation of device-to              only during the duration of connection with a certain device
   device communication in the embodiment;                                 and intended for temporary use, whereas the private pass
     FIG.3 illustrates the flow of processing from a request for      65   word is one which ensures high confidentiality to increase
   connection to the completion of authentication in the                   the Security of the device and is intended for regular use. The
   embodiment;                                                             password management Section 17 is adapted to add new
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                               S                                                                        6
   passwords to the contents of the password holding Section              ing section 18. If the result indicates that the received
   16 or deleting existing passwords therefrom according to               password is improper, then the device B sends to the device
   events 21 from the user.                                               A a message to the effect that the password is incorrect. If,
      The password Selecting Section 18 Selects the most Suit             on the other hand, the received password is correct, then the
   able password for current connection from among the pass               user authentication procedure comes to an end (Step B6).
   words Stored in the password holding Section 16 according                 In the user authentication procedure, each individual user
   to the user events 21, information acquired by the external            generally uses an authentication password having much
   factor acquisition Section 14, and information from the time           increased confidentiality, thereby providing increased Secu
   control Section 15 and Sends it to the password checking               rity for his own device. However, in applications of highly
   Section 19. The password Selecting Section is configured to            ad hoc nature, Such as table conferencing, card exchange,
   be able to establish priority among the user event 21, the             etc., an easy-to-handle environment may be expected to be
   external factor acquisition Section 14, and the time control           built up even if the security for devices is lowered tempo
   Section 15.                                                            rarily. The procedure for implementing Such an environment
     When operating on an external factor acquired by the                 will be described below.
                                                                     15
   external factor acquisition Section 14, the password Selecting            Consider now the case of card exchange with a complete
   Section 18 carries out a password changing operation depen             Stranger in a card exchange application installed in personal
   dent on the external factor, as follows:                               digital assistants (PDAS). In this case as well, user authen
     (a) In the absence of AC power Supply, i.e., when the                tication is performed between the devices A and B.
   device is battery-powered, the device is recognized as being              The user at the device B generally uses a private password
   in the mobile environment and hence the private password               having much increased confidentiality as the authentication
   is chosen.                                                             password So as to increase the Security for his own device.
     (b) When a cable is connected, the device is recognized as           However, to inform a Stranger of the private password in
   being in the indoor environment and as a result the tempo              Such a situation as in this example is not desirable from the
   rary password is chosen.                                          25   Viewpoint of Security. For this reason, the user at the device
     (c) When no radio carrier signal is received from a server,          B sets up Such a password (temporary password) as is valid
   the device is recognized as having moved from the office to            only while the connection with the device A is set up and
   the outside, in which case the private password is chosen.             uses the temporary password for user authentication.
      The password checking Section 19 checks the password                  The Switching control between the private password and
   determined by the password selecting section 18 with an                the temporary password (Security level control) will be
   authentication password Sent from a person with which the              described below with reference to a flowchart illustrated in
   connection has been set up, thus implementing appropriate              FIG. 4.
   user authentication. The authentication password input Sec               The user at the device B issues a command which is based
   tion 20 enters the authentication password into the data               on the event 21 to the password Selecting Section 18 (Step
   transmitting and receiving Section 11 according to the user       35   C1) and then sets up the temporary password as the authen
   event 21.                                                              tication password (step C2). After that, the device B is
      Next, the authentication operation according to the                 placed in the wait State until a connection request is gener
   present embodiment will be described.                                  ated from the device A (step C3). The temporary password
      Suppose now that devices A and B are about to be                    is very simple one (e.g., “ABC) as compared with the
   connected together as shown in FIG. 2. In this case, the          40   private password and presented to the user at the device A.
   authentication procedure is performed when the device A                In an extreme case, communication could be made between
   enters the authentication password for the device B.                   the devices A and B with no password. Making the tempo
     As shown in FIG. 3, first, the user at the device A makes
                                                                          rary password Simple as described above will make it
   a request for connection. In response to this, the data                possible to notify the user at the device A of the temporary
                                                                     45   password orally. Additionally, the temporary password may
   transmitting and receiving Section 11 in the device A issues           be sent to the device A along with electronic mail.
   a request for connection and transmits information from the              The user at the device A received notification from the
   antenna 12 (step B1).                                                  device B makes a request to the device for connection and
      Upon receiving the connection request from the device A,            enters the temporary password.
   the data transmitting and receiving Section 11 in the device      50
   B examines the received data and, in the case of no problem,              In response to the connection request by the device A, the
   sends a message to establish connection to the device A(Step           device B sets up the connection with the device A and then
   B2). After that, the connection is set up between the devices          carries out authentication processing on the temporary pass
   A and B (step B3). The connection in this case means the               word. After that, the devices A and B make data communi
   connection in low-level layer (e.g., the situation in which a     55
                                                                          cations with each other on the card exchange application.
   Virtual network address has been set up) and does not                    The device B makes a check for the termination of the
   necessarily means high application Services.                           card exchange application, i.e., for the break of the connec
     After the connection has been Set up, the authentication             tion with the device A (step C5). Upon detecting the break
   procedure on the password is carried out. That is, the device          of the connection, the device B negates the validity of the
   B upon Setting up the connection issues a request for             60   temporary password and makes an automatic change from
   authentication to the device A and prompts it to enter a               the temporary password to the private password (step C6).
   password (Step B4). In response to this, the user at the device           One method to automatically make a change from the
   A enters the password to the device B from the password                temporary password to the private password is to associate
   input Section 20 into the data transmitting and receiving              the lifetime of the temporary password with the lifetime of
   section 11 for transmission to the device B (step B5).            65   the communication connection as will be described below.
     Upon receipt of the password, the device B checks it with              That is, in FIG. 1, at the time of a break of the connection
   an authentication password chosen by the password Select               Set up with the current temporary password the connection
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   break detecting Section 13 notifies the password Selecting             a choice from the two passwords for the procedure of
   section 18 that the connection has been broken. The pass               authenticating the other device according to the current
   word Selecting Section then makes a change from the cur                communication situations. Accordingly, depending upon
   rently Selected password to the private password.                      what application is used, an appropriate password can be
      The temporary password may be associated with time                  used for authentication and an easy-to-handle communica
   information using the time control Section 15 rather than              tion environment can be implemented in which a high level
   with the connection. In this case, a timer value for the               of Security can be maintained at the time of usual commu
   temporary password can be freely Set by the user in the time           nication and the Security level can be lowered at the time of
                                                                          temporary communication.
   control section 15. For example, if there is a two-hour                   Moreover, the inventive device is configured to usually
   conference, then the temporary password is used for two                choose the private password as authentication password, use
   hours and changed to the private password two hours later.             the temporary password at the time of occurrence of a
     A password which is to be made valid at present is usually           request by a user at another device for authentication
   chosen by the user through the graphical user interface                thereof, and reuse the private password after the connection
   (GUI). Alternatively, the password may be chosen by an            15
                                                                          Set up by the authentication procedure using the temporary
   operation of double clicking a password file. For example, in          password has been broken; therefore, there is no need for
   using an application Such as an electronic conferencing                users to be conscious of a change from the temporary
   System, a method can be utilized by which a password file              password to the private password.
   26 Storing information used for Selecting a conferencing                  Furthermore, the inventive device is configured to have
   password is distributed beforehand from a device A to other            external factor acquisition means, choose either of the
   devices B, C and Dover a communication path Such as for                temporary password and the private password for authenti
   electronic mail 25 and conference participants are allowed to          cation of another device on the basis of information acquired
   choose a conferencing password by merely double clicking               by the external factor acquisition means; thus, the most
   the file. In this case, the password Selecting Section 18              Suitable password can be automatically chosen according to
                                                                          communication situations.
   chooses a password held in the password holding Section 16
   according to the information read from the password file 26.      25      In addition, the inventive device is configured to acquire
      The use of the password file 26 allows an appropriate               position information of the device by external factor acqui
   password to be chosen by a simple operation of double                  Sition means or connection break detecting means and allow
                                                                          Switching between the temporary password and the private
   clicking that file with a mouse. Also, the use of the password         password according to the position information; thus, the
   file allows passwords to be set up without their contents              Security level of the device can be changed automatically
   becoming known to the conference participants.                         according to its location.
      The password file 26 may be stored with passwords                      Additional advantages and modifications will readily
   themselves rather than password Select information. In this            occur to those skilled in the art. Therefore, the invention in
   case, a password Selected from the file may be automatically           its broader aspects is not limited to the Specific details and
   Set up as the authentication password.                            35   representative embodiments shown and described herein.
      The password file 26 may be distributed to devices                  Accordingly, various modifications may be made without
   through electronic mail by radio.                                      departing from the Spirit or Scope of the general inventive
                                                                          concept as defined by the appended claims and their equiva
      Next, in a radio communication System made up of a                  lents.
   plurality of radio communication devices each having the                  What is claimed is:
   above functions, the management of passwords of the Slave         40
                                                                            1. An authentication processing apparatus of a radio
   devices through ID information of the master device will be            communication which authenticates a device, the apparatus
   described.                                                             comprising:
     Switching is made between authentication passwords in                  means for acquiring an external factor which is associated
   order to, for example, lower the Security level of an infor       45        with a security level;
   mation device when it is inside an office So that anybody can            means for Selecting a Security level from a plurality of
   make access to it and enhance the Security level when it is                 Security levels in accordance with the external factor;
   outside the office to prevent access by a third party.                   means for receiving a request for an authentication and
     Specifically, as shown in FIG. 6, a server (master device)                authentication information from the device,
   32 for managing the security level is installed in office 31 to   50     means for checking whether the received information
   detect whether an information device (slave device) 33 stays                from the device is valid or not depending on the
   in the range of connection with the Server through its                      Selected Security level; and
   connection break detecting Section 13. In the Situation where            means for Sending a response of the check result which
   the information device 33 is connected with the server 32, a                authenticates or rejects the device thereto.
   temporary password (or no password) is selected. In the           55     2. An authentication processing apparatus according to
   Situation where the connection with the Server is broken, the          claim 1, wherein Said authentication information includes a
   private password is chosen.                                            PIN (Personal Identification Number) code.
      The above configuration causes the Server 32 to act as the            3. An authentication processing apparatus according to
   key to password Switching.                                             claim 2, further comprising means for Storing a link-key
      Although the embodiment has been described in terms of         60   comprising Said PIN code and a unique ID of Said device.
   one-way authentication between the devices A and B,                       4. An authentication processing apparatus according to
   mutual authentication is also possible.                                claim 1, further comprising means for detecting a
      According to the present invention, as described in detail          connection-break from the device and changing over Said
   above, a radio communication device adapted to perform a               Security level in response to the connection-break.
   authentication procedure on another device using its unique       65      5. A radio communication device having a password
   address is configured to hold at least two separate passwords          unique to it and adapted for authenticating another device by
   of a temporary password and a private password and make                use of the password, comprising:
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                                9                                                                   10
     password holding means for holding at least a first pass             password Selecting means for Selecting an authentication
       word intended for temporary use and a Second pass                    password from the password holding means on the
       word intended for regular use;                                       basis of information acquired by the external factor
     password Selecting means for Selecting an appropriate                  acquisition means, and
       password from the password holding means according          5      password checking means for checking a password Sent
        to a current communication condition; and                           from another device with the password selected by the
     password checking means for checking a password Sent                   password Selecting means to thereby authenticate the
                                                                             other device.
       from another device with the password selected by the              11. A radio communication device having a password
       password Selecting means to thereby authenticate the             unique to it and adapted for authenticating another device by
        other device.                                                   use of the password, comprising:
      6. The radio communication device according to claim 5,             password holding means for holding at least a first pass
   wherein Said password Selecting means Selects a password                  word intended for temporary use and a Second pass
   according to information from a password file.                            word intended for regular use;
     7. A radio communication device having a password             15     password Selecting means for Selecting an appropriate
   unique to it and adapted for authenticating another device by             password from the password holding means according
   use of the password, comprising:                                          to current communication situations,
     password holding means for holding at least a first pass             password checking means for checking a password Sent
         word intended for temporary use and a Second pass                  from another device with the password selected by the
         word intended for regular use;                                     password Selecting means to thereby authenticate the
     password management means for entering a new pass                       other device; and
         word into the password holding means and deleting an             time control means for counting time to provide manage
         existing password in the password holding means,                    ment information on a set time to the password Select
     password Selecting means for Selecting an appropriate                   ing means,
         password from the password holding means according        25     the password Selecting means usually choosing the Second
        to current communication situations, and                             password as an authentication password, using the first
     password checking means for checking a password Sent                    password at the time of occurrence of a request by a
       from another device with the password selected by the                 user at the other device as the authentication password,
       password Selecting means to thereby authenticate the                  and Setting the Second password as the authentication
        other device.                                                        password at the expiration of the time Set by the time
     8. A radio communication device having a password                       management means.
   unique to it and adapted for authenticating another device by          12. A radio communication device having a password
   use of the password, comprising:                                     unique to it and adapted for authenticating another device by
     password holding means for holding at least a first pass           use of the password, comprising:
        word intended for temporary use and a Second pass          35     password holding means for holding at least a first pass
        word intended for regular use;                                       word intended for temporary use and a Second pass
     password Selecting means for Selecting an appropriate                   word intended for regular use;
        password from the password holding means according                password Selecting means for Selecting an appropriate
        to current communication situations,                                 password from the password holding means according
                                                                   40
     password checking means for checking a password Sent                    to current communication situations, and
       from another device with the password selected by the              password checking means for checking a password Sent
       password Selecting means to thereby authenticate the                 from another device with the password selected by the
        other device; and                                                   password Selecting means to thereby authenticate the
     connection break detecting means for detecting radio          45
                                                                             other device,
        communication conditions and, upon detecting a con                each of the devices acting as Slave Stations recognizing
        nection break as a result of the device having moved to             information unique to a master Station, Selecting one of
        the outside of a communication Service area, notifying              the first and Second passwords in a State where it can
        the password Selecting means of the connection break,               communicate with the master Station, and Selecting the
     the password Selecting means usually choosing the Second      50       other password in a State where it cannot communicate
        password as an authentication password, using the first              with the master Station.
        password at the time of occurrence of a request by a               13. An authentication processing method of a radio com
        user at the other device as the authentication password,        munication which authenticates a device, the method com
         and reusing the Second password after the connection           prising:
        Set up by the authentication procedure using the first     55      Selecting a Security level from a plurality of Security
        password has been broken.                                            levels in accordance with a condition of the radio
     9. The radio communication device according to claim 8,                 communication;
   wherein the connection break detecting means includes                  receiving a request for an authentication from the device;
   means for Setting parameters containing timer values and               receiving authentication information from the device;
   receiving Sensitivity for recognizing the connection break.     60     checking whether the received information from the
      10. A radio communication device having a password                    device is valid or not depending on the Selected Security
   unique to it and adapted for authenticating another device by             level; and
   use of the password, comprising:                                       Sending a response of the check result which authenticates
     password holding means for holding at least a first pass               or rejects the device thereto.
        word intended for temporary use and a Second pass          65     14. An authentication processing method according to
        word intended for regular use;                                  claim 13, wherein Said authentication information includes
     external factor acquisition means,                                 a PIN (Personal Identification Number) code.
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                                 11                                                              12
      15. An authentication processing method according to            checking whether the received password from the device
   claim 14, further comprising the Step of Storing a link-key           and the Selected first password correspond or not;
   comprising Said PIN code and a unique ID of Said device.           Sending a response of the check result which authenticates
      16. An authentication processing method according to              or rejects the device thereto;
   claim 13, further comprising the Step of acquiring an exter        performing   a low-Security-level communication with the
   nal factor which is associated with Said Security level.
      17. A radio communication method communicating with                authenticated  device based on the connection; and
   a device, the method comprising:                                   changing over, when the communication is terminated,
      Storing a first password intended for temporary use and a         Said Security level to a higher one than that of Said first
        Second password intended for regular use;               1O      password and Selecting Said Second password.
      acquiring an external factor which is associated with a         18. A radio communication method according to claim 17,
        variable security level;                                   wherein said second password includes a PIN (Personal
      Selecting the first password depending on a variable Identification         Number) code.
                                                                      19. A radio communication method according to claim 18,
        Security level;                                         15 further comprising the Step of Storing a link-key comprising
      receiving a request for a connection from the device;        said PIN code and a unique ID of said device.
      receiving a password for an authentication from the
        device;
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                            EXHIBIT 3
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                                                                                                         US00712721 OB2


   (12) United States Patent                                                         (10) Patent No.:                US 7,127.210 B2
          Aoyagi                                                                     (45) Date of Patent:                      Oct. 24, 2006
   (54) WIRELESS COMMUNICATION APPARATUS                                        (56)                       References Cited
   (75) Inventor: Kazunori Aoyagi, Fussa (JP)                                                      U.S. PATENT DOCUMENTS
                                                                                  2002/0164953 A1* 11/2002 Curtis ......................... 455,41
   (73) Assignee: Kabushiki Kaisha Toshiba, Tokyo (JP)                            2003/0054794 A1* 3/2003 Zhang ........................ 455,403
   (*) Notice:        Subject to any disclaimer, the term of this                              FOREIGN PATENT DOCUMENTS
                      patent is extended or adjusted under 35                   JP              2000-209646          T 2000
                      U.S.C. 154(b) by 576 days.                                JP              2001-189974          T 2001
                                                                                JP              2000-018082          1, 2002
   (21) Appl. No.: 10/096,678
                                                                                * cited by examiner
   (22) Filed:        Mar. 14, 2002
                                                                                Primary Examiner Matthew D. Anderson
   (65)                  Prior Publication Data                                 Assistant Examiner Sanh Phu
          US 2003/O114107 A1          Jun. 19, 2003
                                                                                (74) Attorney, Agent, or Firm—Finnegan, Henderson,
                                                                                Farabow, Garrett & Dunner. L.L.P.
   (30)          Foreign Application Priority Data                              (57)                            ABSTRACT
     Sep. 20, 2001 (JP) ............................. 2001-28.7376
                                                                                This invention relates to a wireless communication appara
   (51) Int. Cl.                                                                tus including a discovery unit which discovers the comple
          H04B 7/00             (2006.01)                                       tion of connection with another wireless communication
                                                                                apparatus, a mode setup unit which sets up a mode which
   (52) U.S. Cl. ..................... 455/412:455/403:455/417:                 defines processing for a signal for performing communica
                                        370/259; 370/260; 370/261               tion with the wireless communication apparatus from a
                                                                                wireless communication apparatus except for another wire
   (58) Field of Classification Search ................ 455/403,                less communication apparatus, and a shift unit which shifts
               455/450, 410, 41.2, 41.3, 416,417; 370/259,                      to the mode set up by the mode setup unit when the
                 370/260, 261, 262, 263,264, 265, 266, 267,                     discovery unit discovers the completion of connection.
                                           370/268, 269,270
        See application file for complete search history.                                          21 Claims, 5 Drawing Sheets

                                               (Wireless
                                                Communication
                                                                     Wireless
                                                                     Counication
                                                apparatus A          apparatus Bl
                                         SA1
                                          frant inquiry).
                                         SA2
                                                                                       SB1

                                            Receive incury         Transmit inquiry
                                            response               response

                                               Transmit page    -- Receive page
                                                Receive page
                                                response        - Page response
                                               input authenti
                                            cation code
                                                                    input authenti
                                                                   cation code
                                               Authentication   --> Authentication

                                          Notify successful
                                          connection
                                                                  Notify successful
                                                                  connection
                                          establishment           establishment
                                           Shift to non            Shift to non
                                           connectable mode        connectable mode
                                                                                              Wireless
                                                                     Transmit/                Communication
                                                                     receive data             apparatus C
                                                                                                          SC1
                                                                                        - Transmit inquiry
                                                                                                          SC2
                                               Transmit/             Not respond to          Inquiry time-out
                                               receive data           inquiry




                                                                    Clear mode setup
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                                                  W
                  Wireless
                   COmmunication




                                       Wireless
                                       COmmunication




                      F.G. 1
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                        11
          13                     12                      14


          we setup unit control unit EPre"
          18                     15                      16


                        EP wireless unit
                                 processing unit


                                       F. G. 2


                Unique address         Mode selected upon connection
                                       establishment
               Unique address A           Non-connectable mode 1

               Unique address B           Non-discoverable mode

               Unique address C           Non-Connectable mode 2

               Unique address D           Non-discoverable mode

               Unique address E           Non-Connectable mode 1



                                       F. G. 3
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               (Wireless                   Wireless
               Communication               Communication
               apparatus AJ                apparatus Bl
        SA
          Transmit inquiry --> Receive inquiry                   SB1
        SA2
             Receive inquiry            Transmit inquiry
             response                   response                 SB2
        SA3
               Transmit page     -- 3      Receive page          SB3
        S A4
               Receive page       - - - Page response            SB4
               response
        SA5
             input authenti
           cation Code
                                         input authenti
                                         cation Code             SB5
        SA6
            Authentication K--           Authentication          SB6
        SAT
         Notify successful              Notify successful
          Connection                    Connection               SB7
          establishment                 establishment
        SA8
          Shift to non                  Shift to non
          connectable mode              connectable mode         SB8
        SA9                                                             Wireless
                                           Transmit/          SB9       COmmunication
                                                                        apparatus C)
                                           receive data
                                                          SB10                      SC1
                                           Receive inquiry
                                                          SB11
                                                                 - Transmit inquiry
                                                                                    SC2
               Transmit/                   Not respond to
                                           inquiry
                                                                       Inquiry time-Out
               receive data




                                                          SB12

                                          Clear mode setup               F G. 4
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            (Wireless
             COMmunication
                                     (Wireless
                                      Communication
            apparatus Al              apparatus B
      SA
        Transmit inquiry --> Receive inquiry -SB
      SA2
           Receive inquiry          Transmit inquiry
           response                 response                  SB2
      SA3
            Transmit page      --                             SB3
      SA4
            Receive page
            respOn Se
      SA5
           input authenti            input authenti
         cation code
      SA6
          Authentication K--         Authentication           SB6
      SA7
       Notify successful            Notify successful
        connection                  connection                SBI
        establishment               establishment
      SA8-1
         Shift to non               Shift to non
         connectable mode           connectable mode          SB8-1
      SA9                                                            Wireless
                                      Transmit/           SB9        Communication
                                      receive data                   apparatus C
                                                      SB10-1                   SC 1-1
                                           Receive pageSB11-1- Transmit page
                                                                               SC2-1
            Transmit/                 Transmit page                 Receive page
            receive data              denial response               denial response
                                                                               SC3-1
                                                                Notify connection
                                                                establishment
                                                                failure

                                                      SB12
                                      Clear mode Setup                F.G. 5
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              Wireless                      Wireless
              communication                 Communication
              apparatus A                   apparatus B
        SA
         transit inuity).
        SA2
                                           Receive inquiry           SB1

             Receive inquiry L. Transmit inquiry                     SB2
             response                     response
        SA3
              Transmit page --                                       SB3
        SA4
               Receive page       - - -


         A5
              input authenti-              Input authenti-           SB5
             cation code                  cation code

              Authentication K--> Authentication                     SB6

         Notify successful                Notify successful
         connection                       connection                 SBT
         establishment                    establishment

          Shift to non-                   Shift to non-              SB8-2
          connectable mode                connectable mode
                                                                           (Wireless
                                            Transmit/              SB9     CONMunication
                                            receive data                   apparatus Cl
                                                            SB10-2                     SC-2
                                              Receive page                 Transmit page
                                                            SB11-2                     SC2-2
               Transmit/                     Not respond to
               receive data                  pdge
                                                                                       SC3-2
                                                                         Notify connection
                                                                         establishment
                                                                         failure

                                                             SB12

                                            Clear mode setup                 F.G. 6
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                                                       US 7,127,210 B2
                                 1.                                                                  2
      WRELESS COMMUNICATION APPARATUS                                       Bluetooth assumes that a wireless communication appa
                                                                         ratus establishes connections with a plurality of wireless
             CROSS-REFERENCE TO RELATED                                  communication apparatuses and communicates with them.
                    APPLICATIONS                                         Even if a wireless communication apparatus establishes
                                                                         connection with another wireless communication apparatus
      This application is based upon and claims the benefit of           and does not want to be connected to still another wireless
   priority from the prior Japanese Patent Application No.               communication apparatus, the wireless communication
   2001-287376, filed Sep. 20, 2001, the entire contents of              apparatus performs response processing to an inquiry or
   which are incorporated herein by reference.                           page sent from still another wireless communication appa
                                                                    10   ratus. This may interfere with communication with the
            BACKGROUND OF THE INVENTION                                  currently connected wireless communication apparatus.
                                                                            When authentication is set to be performed in connection,
     1. Field of the Invention                                           the wireless communication apparatus is prompted to input
      The present invention relates to a wireless communication          an authentication code every time it receives a page from
   apparatus and, more particularly, to a wireless communica        15   another wireless communication apparatus. This forces the
   tion apparatus which, after establishing connection with              user to perform an unwanted operation.
   another wireless communication apparatus, automatically
   changes setups for discovery or connection with respect to                   BRIEF SUMMARY OF THE INVENTION
   still another wireless communication apparatus except for
   the connected wireless communication apparatus.                         An object of the present invention is to provide a com
      2. Description of the Related Art                                  munication apparatus which, after establishing connection
      The Bluetooth technique capable of achieving short                 with a wireless communication apparatus, controls connec
   distance wireless communication between a plurality of                tion establishment with another wireless communication
   wireless communication apparatuses has recently been                  apparatus.
   developed along with the development of the wireless             25
                                                                            To achieve the above object, according to a first aspect of
   communication technology. An example of techniques                    the invention, there is provided a communication apparatus
   adopting the Bluetooth technique is Jpn. Pat. Applin. KOKAI           comprising means for discovering completion of connection
   Publication No. 2001-189974.
      Regarding the process up to establishing connection                with another wireless communication apparatus, mode setup
   between wireless communication apparatuses in Bluetooth          30
                                                                         means for setting up a mode which defines processing for a
   which is one of wireless communication schemes, the prior             signal for performing communication with the wireless
   art reads,                                                            communication apparatus from a wireless communication
                                                                         apparatus except for the another wireless communication
      “To communicate with another device, a given device                apparatus, and means for shifting to the mode set up by the
   makes an inquiry to check whether a device equipped with              mode setup means when the discovery means discovers the
   Bluetooth exists in a range where its radio waves can reach.     35
                                                                         completion of connection.
   The device checks an inquiry from another device by inquiry              According to a second aspect of the invention, there is
   Scan, and responds to the inquiry by an inquiry response
   function. The device can know the 48-bit address of the               provided a communication method in a communication
   partner through an inquiry response which transmits an FHS            apparatus, comprising discovering completion of connection
   (Frequency Hopping Synchronization) packet. Connection           40   with another wireless communication apparatus and inhib
   is set between these devices by the address. The paging               iting connection with a wireless communication apparatus
   device which wants to set connection starts a page process            except for the another wireless communication apparatus.
   by using a specific address. At this time, the paged device              According to the present invention, after a wireless com
   periodically performs page scan. Since the normal page                munication apparatus establishes communication with
   period is longer than the page scan period, the paged device     45   another wireless communication apparatus, it can inhibit
   can set connection with the paging device Upon recognizing            communication with still another wireless communication
   through page scan that it has been paged, the paged device            apparatus except for the currently connected wireless com
   immediately starts a process of setting connection. In a              munication apparatus. This can prevent interference with
   normal state, connection is set.”                                     communication with the connected wireless communication
     As described above, when wireless communication appa           50   apparatus.
   ratuses are to communicate with each other, the first wireless           Additional objects and advantages of the invention will be
   communication apparatus which wants to perform wireless               set forth in the description which follows, and in part will be
   communication sends an inquiry signal to peripheral wire              obvious from the description, or may be learned by practice
   less communication apparatuses. The second wireless com               of the invention. The objects and advantages of the invention
   munication apparatus which has received the inquiry signal       55   may be realized and obtained by means of the instrumen
   sends back a response to the first wireless communication             talities and combinations particularly pointed out hereinaf
   apparatus. The first wireless communication apparatus                 ter.
   receives the response to the inquiry, and discovers the
   wireless communication apparatus which exists near itself.                   BRIEF DESCRIPTION OF THE SEVERAL
   To request connection, the first wireless communication          60                VIEWS OF THE DRAWING
   apparatus sends a page signal to the second wireless com
   munication which has sent back the response. Then, the                  The accompanying drawings, which are incorporated in
   second wireless communication apparatus receives the page             and constitute a part of the specification, illustrate embodi
   signal, and sends back a page response to the first wireless          ments of the invention, and together with the general
   communication apparatus. Connection between the wireless         65   description given above and the detailed description of the
   communication apparatuses is established through this pro             embodiments given below, serve to explain the principles of
   cess, and wireless communication is enabled.                          the invention.
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                                                        US 7,127,210 B2
                                3                                                                       4
     FIG. 1 is a view showing an example of the use environ                  The wireless unit 16 uses the antenna 17 to receive radio
   ment of a wireless communication apparatus according to an              waves generated from another wireless communication
   embodiment of the present invention:                                    apparatus, and sends them to the wireless data processing
     FIG. 2 is a functional block diagram showing a notebook               unit 15.
   type personal computer 1 as a wireless communication                       When the mode setup unit 13 receives control data
   apparatus;                                                              representing the completion of connection with another
      FIG. 3 is a table showing a mode setup table representing            wireless communication apparatus, the mode setup unit 13
   the relationship between a unique address and a mode                    automatically changes setups for an inquiry or paging from
   selected upon connection establishment;                                 still another wireless communication apparatus.
      FIG. 4 is a flow chart for explaining the operation of the      10      The setups of the mode are done for a mode setup table
   notebook type personal computer according to the first                  18 representing the relationship between a unique address
   embodiment of the present invention:                                    and a mode selected upon connection establishment, as
                                                                           shown in FIG. 3.
      FIG. 5 is a flow chart for explaining the operation of a                In FIG. 3, when connection with a device corresponding
   wireless communication apparatus according to the second           15   to unique address A is established, this means that the mode
   embodiment of the present invention; and                                changes to non-connectable mode 1. When connection with
      FIG. 6 is a flow chart for explaining the operation of a             a device corresponding to unique address B is established,
   wireless communication apparatus according to the third                 this means that the mode changes to a non-discoverable
   embodiment of the present invention.                                    mode.
                                                                             The non-connectable mode and non-discoverable mode
                DETAILED DESCRIPTION OF THE                                are defined by the Bluetooth standard. The “non-connectable
                         INVENTION                                         mode” in which the wireless communication apparatus does
                                                                           not respond to a page signal from another wireless commu
                         First Embodiment                                  nication apparatus means that the wireless communication
                                                                      25   apparatus does not change to a page scan state. The non
      A wireless communication apparatus according to an                   discoverable mode in which the wireless communication
   embodiment of the present invention will be described                   apparatus does not respond to an inquiry signal from another
   below with reference to the several views of the accompa                wireless communication apparatus means that the wireless
   nying drawing.                                                          communication apparatus does not change to an inquiry
      FIG. 1 is a view showing an example of the use environ          30   signal response state.
   ment of the wireless communication apparatus according to                  The Bluetooth standard defines two types of non-connect
   the embodiment of the present invention. In FIG. 1, a                   able modes because the wireless communication apparatus
   notebook type personal computer 1, PDA (Personal Digital                either does not respond to a page or sends back a page denial
   Assistant) 2, and VTR camera 3 have Bluetooth modules,                  upon reception of a page signal (to be described later).
   and are in a wireless communicable environment.                    35      When received data demodulated by the wireless data
      FIG. 2 is a functional block diagram showing the note                processing unit 15 concerns an inquiry or paging from
   book type personal computer 1 as a wireless communication               another wireless communication apparatus, the control unit
   apparatus. Although FIG. 2 shows the notebook type per                  12 sends a response to the inquiry or paging from the
   sonal computer 1, the PDA 2 and VTR camera 3 as other                   wireless communication apparatus to the wireless data pro
   wireless communication apparatuses also have the same              40   cessing unit 14 on the basis of a mode set up by the mode
   functions.                                                              setup unit 13.
      As shown in FIG. 2, the notebook type personal computer                 The operation of the notebook type personal computer
   1 comprises a user interface 11, control unit 12, mode setup            according to the first embodiment of the present invention
   unit 13, data processing unit 14, wireless data processing              will be explained with reference to the flow chart of FIG. 4.
   unit 15, wireless unit 16, and antenna 17.                         45   In FIG. 4, the notebook type personal computer 1 is
     The user interface 11 receives an inquiry or paging from              described as a wireless communication apparatus A; the
   the user, and sends the command to the control unit 12.                 PDA 2, as a wireless communication apparatus B; and the
     The control unit 12 sends the command from the user
                                                                           VTR camera 3, as a wireless communication apparatus C.
                                                                              The user of the wireless communication apparatus A
   interface 11 as control data to the wireless data processing       50   which is to start wireless communication instructs the con
   unit 15. The control unit 12 checks whether the received data           trol unit 12 through the user interface 11 to check wireless
   which is demodulated and output from the wireless data                  communication apparatuses present around the wireless
   processing unit 15 is control data or general data, and                 communication apparatus A. The control unit 12 generates
   executes processing corresponding to the received data. If              inquiry data upon reception of the request through the user
   the received data is general data, the control unit 12 sends it    55   interface 11. The inquiry data is sent to the wireless data
   to the data processing unit 14 which performs data process              processing unit 15 where it is modulated. The modulated
   ing.                                                                    inquiry data is sent to the wireless unit 16 and transmitted
     If the received data is control data, the control unit 12             from the antenna 17 (SA1).
   sends back corresponding control data to the wireless data                 The wireless communication apparatus B receives the
   processing unit 15, and sends the control information to the       60   inquiry transmitted from the wireless communication appa
   user interface 11 and mode setup unit 13.                               ratus A, and outputs the received inquiry from the wireless
     The wireless data processing unit 15 modulates the con                unit 16 to the wireless data processing unit 15. The wireless
   trol data and sends it to the wireless unit 16. The control data        data processing unit 15 demodulates the received inquiry
   is transmitted to another wireless communication apparatus              and sends it to the control unit 12 (SB1).
   by generating radio waves from the antenna 17. The wireless        65      The control unit 12 of the wireless communication appa
   data processing unit 15 demodulates received data and sends             ratus B determines that the inquiry has been received. Then,
   it to the control unit 12.                                              the control unit 12 generates inquiry response data including
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                                 5                                                                      6
   the unique address of the wireless communication apparatus             apparatuses notify the users of the wireless communication
   B and sends it to the wireless data processing unit 15. The            apparatuses of connection establishment (SA7 and SB7).
   wireless data processing unit 15 modulates the inquiry                    If the control unit 12 determines in step SAT in the
   response data and sends the modulated inquiry response data            wireless communication apparatus A or in step SB7 in the
   to the wireless unit 16. The inquiry response data is trans            wireless communication apparatus B that connection has
   mitted from the antenna 17 (SB2).                                      been established, the control unit 12 notifies the mode setup
      The wireless communication apparatus A receives by the              unit 13 of connection establishment. In the wireless com
   antenna 17 the inquiry response transmitted from the wire              munication apparatus A, the mode setup unit 13 sends to the
   less communication apparatus B. The received inquiry                   control unit 12 an instruction for shifting to the non
   response is sent from the wireless unit 16 to the wireless data   10   discoverable mode, in accordance with a mode setup set in
   processing unit 15. The wireless data processing unit 15               the mode setup table 18 in advance. Similarly in the wireless
   modulates the received inquiry response and sends it to the            communication apparatus B, the mode setup unit 13 sends to
   control unit 12. The control unit 12 determines that the               the control unit 12 an instruction for shifting to the non
   inquiry response has been received (SA2), and sends unique             discoverable mode. Note that the mode setup tables 18 of the
   address information of the wireless communication appara          15   wireless communication apparatuses A and B are so set as to
   tus B included in the received inquiry response to the user            shift the mode to the non-discoverable mode when connec
   interface 11. The user interface 11 displays the unique                tion is established between the wireless communication
   address information of the wireless communication appara               apparatuses A and B. After connection is established
   tus B.                                                                 between the wireless communication apparatuses A and B,
     The user of the wireless communication apparatus A                   the mode automatically shifts to the non-discoverable mode
   which wants connection with the wireless communication                 (SA8 and SB8). After connection establishment, data is
   apparatus B designates the unique address of the wireless              exchanged between the wireless communication apparatuses
   communication apparatus B as a destination through the user            A and B (SA9 and SB9).
   interface 11, and sends a paging signal to the control unit 12.           If the third wireless communication apparatus C wants
                                                                     25   connection with the wireless communication apparatus B,
   The control unit 12 generates page data to the wireless
   communication apparatus B and sends it to the wireless data            the wireless communication apparatus C transmits an
   processing unit 15. The page data modulated by the wireless            inquiry in step SC1 similarly to step SA1 of the wireless
   data processing unit 15 is sent to the wireless unit 16 and            communication apparatus A.
   transmitted from the antenna 17 (SA3).                            30
                                                                             In step SB10, the wireless communication apparatus B
      The wireless communication apparatus B receives by the              receives the inquiry from the wireless communication appa
   antenna 17 the page transmitted from the wireless commu                ratus C by the same procedure as that in step SB1. The
   nication apparatus A. The received page is demodulated by              wireless communication apparatus B has received the
   the wireless data processing unit 15 and sent to the control           inquiry from the wireless communication apparatus C, but
   unit 12. The control unit 12 determines that the page has         35
                                                                          the control unit 12 does not generate any response data to the
   been received (SB3). The control unit 12 generates page                inquiry because the wireless communication apparatus B has
   response data and sends it to the wireless data processing             shifted to the non-discoverable mode. In step SB11, the
   unit 15. The page response data modulated by the wireless              wireless communication apparatus B does not transmit any
   data processing unit 15 is sent to the wireless unit 16 and            inquiry response.
   transmitted from the antenna 17 (SB4).                            40      Since the wireless communication apparatus C cannot
      The wireless communication apparatus A receives by the              receive any inquiry response from the wireless communi
   antenna 17 the page response transmitted from the wireless             cation apparatus B, it cannot discover the wireless commu
   communication apparatus B. The received page response is               nication apparatus B. In step SC2, an inquiry time-out
   demodulated by the wireless data processing unit 15 and                occurs. The wireless communication apparatus C cannot
   sent to the control unit 12. The control unit 12 determines       45
                                                                          acquire the unique address of the wireless communication
   that the page response has been received (SA4). If authen              apparatus B, and cannot request connection. The wireless
   tication is necessary, the control unit 12 causes the user             communication apparatus C does not interfere with data
   interface 11 to display an authentication code input request.          transmission/reception between the wireless communication
   The user of the wireless communication apparatus A inputs              apparatuses A and B in steps SA9 and SB9.
   the authentication code (SA5). The wireless communication         50      After data transmission/reception between the wireless
   apparatus A exchanges the authentication data with the                 communication apparatuses A and B in steps SA9 and SB9
   wireless communication apparatus B and performs authen                 ends, the mode setup, i.e., non-discoverable mode is cleared
   tication (SA6).                                                        in the wireless communication apparatus B (SB12). The
      After the wireless communication apparatus B transmits              wireless communication apparatus B shifts to a normal
   the page response, it causes the user interface 11 to display     55
                                                                          mode.
   an authentication code input request if authentication with              The wireless communication apparatus according to the
   the wireless communication apparatus A is necessary. The               first embodiment shifts to the non-discoverable mode after
   user of the wireless communication apparatus B inputs the              connection establishment. This can prevent interference
   authentication code (SB5). The wireless communication                  with communication with a connected wireless communi
   apparatus B exchanges the authentication data with the            60   cation apparatus.
   wireless communication apparatus A and performs authen
   tication (SB6).                                                                            Second Embodiment
      If authentication in steps SA6 and SB6 succeeds, the
   wireless communication apparatuses A and B determine that                The operation of a wireless communication apparatus
   connection is established, and send connection establish          65   according to the second embodiment of the present inven
   ment information to their user interfaces 11. The user                 tion will be described with reference to the flow chart of
   interfaces 11 of the respective wireless communication                 FIG.S.
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                                                       US 7,127,210 B2
                                7                                                                     8
      The process up to establishing connection between wire             nication apparatus. This can prevent interference with com
   less communication apparatuses A and B, i.e., the process             munication with a connected wireless communication appa
   from step SA1 to step SAT and from step SB1 to step SB7               ratuS.
   is the same as that shown in FIG. 4.
      If a control unit 12 determines in step SAT in the wireless                             Third Embodiment
   communication apparatus A or in step SB7 in the wireless
   communication apparatus B that connection has been estab                The operation of a wireless communication apparatus
   lished, the control unit 12 notifies a mode setup unit 13 of          according to the third embodiment of the present invention
   connection establishment. In the wireless communication          10   will be described with reference to the flow chart of FIG. 6.
   apparatus A, the mode setup unit 13 sends, to the control unit           The process up to establishing connection between wire
   12 in accordance with a preset mode setup, an instruction for         less communication apparatuses A and B, i.e., the process
   shifting to the non-connectable mode in which the wireless            from step SA1 to step SAT and from step SB1 to step SB8
   communication apparatus. A sends a denial response to the             is the same as that shown in FIG. 4.
   received page. Also in the wireless communication appara         15
                                                                            If a control unit 12 determines in step SAT in the wireless
   tus B, the mode setup unit 13 sends to the control unit 12 an         communication apparatus A or in step SB7 in the wireless
   instruction for shifting to the non-connectable mode in               communication apparatus B that connection has been estab
   which the wireless communication apparatus B sends a                  lished, the control unit 12 notifies a mode setup unit 13 of
   denial response to the received page. Note that mode setup            connection establishment.
   tables 18 of the wireless communication apparatuses A and               In the wireless communication apparatus A, the mode
   Bare so set as to shift the mode to the non-connectable mode
   when connection is established between the wireless com               setup unit 13 sends, to the control unit 12 in accordance with
   munication apparatuses A and B. After connection is estab             a preset mode setup, an instruction for shifting to the
                                                                         non-connectable mode in which the wireless communication
   lished between the wireless communication apparatuses A               apparatus A does not respond to a received page. Also in the
   and B, the mode automatically shifts to the non-connectable      25
                                                                         wireless communication apparatus B, the mode setup unit 13
   mode in which the wireless communication apparatus sends              sends to the control unit 12 an instruction for shifting to the
   a denial response to a received page (SA8-1 and SB8-1).               non-connectable mode in which the wireless communication
      Assume that a third wireless communication apparatus C             apparatus B does not respond to a received page. Note that
   wants connection with the wireless communication appara               mode setup tables 18 of the wireless communication appa
                                                                    30
   tus B. Further, assume that the wireless communication                ratuses A and B are so set as to shift the mode to the
   apparatus C acquires the unique address of the wireless               non-connectable mode when connection is established
   communication apparatus B in advance by sending an                    between the wireless communication apparatuses A and B.
   inquiry and receiving an inquiry response before the wire             After connection is established between the wireless com
   less communication apparatus B shifts to the non-discover             munication apparatuses A and B, the mode automatically
   able mode.                                                       35
                                                                         shifts to the non-connectable mode in which the wireless
      In step SC1-1, the wireless communication apparatus C              communication apparatus does not respond to a received
   designates the unique address of the wireless communica               page (SA8-2 and SB8-2).
   tion apparatus B and transmits a page. In step SB10-1, the              Assume that a third wireless communication apparatus C
   wireless communication apparatus B receives the page from        40   wants connection with the wireless communication appara
   the wireless communication apparatus C. However, the                  tus B. Further, assume that the wireless communication
   wireless communication apparatus B has already shifted to             apparatus C acquires the unique address of the wireless
   the non-connectable mode. Thus, the control unit 12 gener             communication apparatus B in advance by sending an
   ates a page denial response data (SB10-1) and transmits the           inquiry and receiving an inquiry response before the wire
   page denial response (SB11-1).                                   45   less communication apparatus B shifts to the non-discover
      The wireless communication apparatus C receives the                able mode.
   page denial response from the wireless communication                     In step SC1-2, the wireless communication apparatus C
   apparatus B (SC2-1). Since connection establishment fails,            designates the unique address of the wireless communica
   the control unit 12 notifies a user interface 11 of the               tion apparatus B and transmits a page. In step SB10-2, the
   connection establishment failure, and causes the user inter      50   wireless communication apparatus B receives the page from
   face 11 to display the connection establishment failure               the wireless communication apparatus C. However, the
   (SC3-1). The wireless communication apparatus C cannot                wireless communication apparatus B has already shifted to
   establish connection with the wireless communication appa             the non-connectable mode. Thus, the control unit 12 does
   ratus B. The wireless communication apparatus C does not              not generate any response data to the page, and does not
   interfere with data transmission/reception between the wire      55   transmit any response to the page (SB11-1).
   less communication apparatuses A and B in steps SA9 and                  The wireless communication apparatus C does not receive
   SB9.
                                                                         any page response from the wireless communication appa
      After data transmission/reception between the wireless             ratus B. A time-out occurs (SC2-2), and the wireless com
   communication apparatuses A and B in steps SA9 and SB9                munication apparatus C fails to establish connection. Since
   ends, the mode setup, i.e., non-discoverable mode is cleared     60   the wireless communication apparatus C fails to establish
   in the wireless communication apparatus B (SB12). The                 connection with the wireless communication apparatus B,
   wireless communication apparatus B shifts to a normal                 the control unit 12 notifies a user interface 11 of the
   mode.                                                                 connection establishment failure, and causes the user inter
     The wireless communication apparatus according to the               face 11 to display the connection establishment failure
   second embodiment shifts to the non-connectable mode after       65   (SC3-2). The wireless communication apparatus C cannot
   connection establishment, and transmits a page denial signal          establish connection with the wireless communication appa
   in response to a page signal from another wireless commu              ratus B. The wireless communication apparatus C does not
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                                                       US 7,127,210 B2
                                                                                                        10
   interfere with data transmission/reception between the wire             What is claimed is:
   less communication apparatuses A and B in steps SA9 and                 1. A wireless communication apparatus comprising:
   SB9.                                                                    a unit configured to set up a first mode where the wireless
     The wireless communication apparatus according to the                    communication apparatus is connectable with at least a
   third embodiment shifts to the non-connectable mode after                  first wireless communication device and a second wire
   connection establishment, and does not respond to a page                   less communication device and accepts a connection
   signal from another wireless communication apparatus. This                 request from the first wireless communication device;
   can prevent interference with communication with a con                  a unit configured to establish a connection with the first
   nected wireless communication apparatus.                                   wireless communication device;
      The above embodiments have separately described shift         10
                                                                           a unit configured to discover a completion of the connec
   to the non-connectable mode and shift to the non-discover
   able mode. However, the wireless communication apparatus                   tion with the first wireless communication device;
   may simultaneously shift to the non-connectable mode and                a unit configured to set up a second mode where, in a state
   non-discoverable mode after connection is established.                     where the connection with the first wireless communi
     In the above embodiments, the third wireless communi           15        cation device is established, the wireless communica
   cation apparatus C sends a paging signal to the wireless                   tion apparatus is inhibited from establishing a connec
                                                                              tion with the second wireless communication device
   communication apparatus B which receives a page from the                   with respect to a connection request from the second
   wireless communication apparatus A and responds to the
   page to establish the first connection with the wireless                   wireless communication device; and
   communication apparatus A. The present invention is also                a unit configured to shift from the first mode to the second
   effective when the wireless communication apparatus C                      mode when said discovering unit discovers the comple
   sends a paging signal to the wireless communication appa                   tion of the connection.
   ratus A because the wireless communication apparatus A                  2. An apparatus according to claim 1, wherein the second
   also automatically shifts to the non-discoverable mode or             mode includes a non-discoverable mode in which the wire
   non-connectable mode after the first connection is estab         25   less communication apparatus does not respond to an
   lished.                                                               inquiry signal.
     As described above, the wireless communication appara                  3. An apparatus according to claim 1, wherein the second
   tus of the embodiments establishes connection with another            mode includes a non-connectable mode in which no con
   wireless communication apparatus, and then automatically              nection is performed for paging.
   changes setups for an inquiry or paging with respect to still    30     4. An apparatus according to claim 2, wherein the second
   another wireless communication apparatus. The wireless                mode includes a non-discoverable mode based on a Blue
   communication apparatus does not send back any response               tooth standard.
   or sends back an inquiry denial response, thereby denying               5. An apparatus according to claim 3, wherein the second
   connection establishment with still another wireless com              mode includes a non-connectable mode based on a Blue
   munication apparatus except for the currently connected          35   tooth standard.
   wireless communication apparatus. This can prevent inter                6. An apparatus according to claim 4, wherein the non
   ference with communication between currently connected                discoverable mode does not respond to an inquiry.
   wireless communication apparatuses.
      The present invention is not limited to the above-de                 7. An apparatus according to claim 5, wherein the non
   scribed embodiments, and can be variously modified with          40   connectable mode sends a connection denial response to a
   out departing from the spirit and scope of the invention in           paging signal.
   practical use. The respective embodiments can be combined               8. An apparatus according to claim 5, wherein the non
   as properly as possible. In this case, the effects of the             connectable mode does not respond to a paging signal.
   combination can be obtained. The embodiments include                    9. An apparatus according to claim 1, wherein the second
   inventions on various stages, and various inventions can be      45   mode includes a non-discoverable mode and non-connect
   extracted by an appropriate combination of building com               able mode based on a Bluetooth standard.
   ponents disclosed. For example, when an invention is                    10. An apparatus according to claim 1, wherein the second
   extracted by omitting several building components from all            mode inhibits connection with another wireless communi
   the building components described in the embodiments, the             cation apparatus.
   omission is properly compensated for by a well-known             50
                                                                            11. An apparatus according to claim 1, wherein the second
   technique in practicing the extracted invention.                      mode is canceled after end of communication with the first
      AS has been described in detail, the present invention can         wireless communication device.
   provide a wireless communication apparatus which, after                  12. A communication method in a wireless communica
   establishing connection with another wireless communica               tion apparatus, comprising:
   tion apparatus, denies connection establishment with still       55
                                                                            setting up a first mode where the wireless communication
   another wireless communication apparatus except for the                     apparatus is connectable with at least a first wireless
   currently connected wireless communication apparatus, and                  communication device and a second wireless commu
   does not interfere with communication between the cur
   rently connected wireless communication apparatuses.                       nication device and accepts a connection request from
      Additional advantages and modifications will readily          60        the first wireless communication device;
   occur to those skilled in the art. Therefore, the invention in          establishing a connection with the first wireless commu
   its broader aspects is not limited to the specific details and             nication device;
   representative embodiments shown and described herein.                  discovering a completion of the connection with the
   Accordingly, various modifications may be made without                     wireless communication apparatus;
   departing from the spirit or scope of the general inventive      65     setting up a second mode where, in a state where the
   concept as defined by the appended claims and their equiva                 connection with the first wireless communication
   lents.                                                                     device is established, the wireless communication
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                                                    US 7,127,210 B2
                              11                                                                 12
       apparatus is inhibited from establishing a connection          20. A communication apparatus comprising:
       with the second wireless communication device with             a unit configured to establish a connection with a first
       respect to a connection request from the second wire             wireless communication apparatus in a first mode; and
       less communication device; and                                 a unit configured to control a connection from a second
     shifting from the first mode to the second mode after the          wireless communication apparatus when the connec
        completion of the connection.                                   tion with the first wireless communication apparatus is
     13. A method according to claim 12, wherein the second             established, wherein the control unit sets up a second
   mode includes a non-discoverable mode in which the wire              mode in which, in a state where the connection with the
   less communication apparatus does not respond to an                  first wireless communication device is established, the
   inquiry signal.                                               10     communication apparatus is inhibited from establishing
      14. A method according to claim 12, wherein the second            a connection with the second wireless communication
   mode includes a non-connectable mode in which no con                 apparatus with respect to a connection request from the
   nection is performed for paging.                                     second wireless communication device.
      15. A method according to claim 13, wherein the second      21. A communication method in a communication appa
   mode includes a non-discoverable mode based on a Blue 15 ratus, comprising:
   tooth standard.                                                establishing a connection with a first wireless communi
      16. A method according to claim 14, wherein the second         cation apparatus in a first mode; and
   mode includes a non-connectable mode based on a Blue           controlling a connection from a second wireless commu
   tooth standard.                                                   nication apparatus when the connection with the first
      17. A method according to claim 15, wherein the wireless      wireless communication apparatus is established,
   communication apparatus does not respond to an inquiry           wherein controlling includes setting up a second mode
   signal from another wireless communication apparatus after        in which, in a state where the connection with the first
   shifting to the second mode.                                     wireless communication device is established, the com
      18. A method according to claim 16, wherein the wireless       munication apparatus is inhibited from establishing a
   communication apparatus sends a connection denial 25              connection with the second wireless communication
   response to a paging signal after shifting to the second mode.    apparatus with respect to a connection request from the
      19. A method according to claim 16, wherein the wireless       second wireless communication device.
   communication apparatus does not respond to a paging
   signal after shifting to the second mode.
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                            EXHIBIT 4
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                                                                                                                                     US007 184707B2


   (12) United States Patent                                                                                     (10) Patent No.:                  US 7,184,707 B2
          Tada et al.                                                                                            (45) Date of Patent:                       Feb. 27, 2007

   (54) COMMUNICATION DEVICE AND A                                                                                 6,633,757 B1 * 10/2003 Hermann et al. ........ 455,414.1
           METHOD FOR CONTROLLING THE                                                                              6,721,787 B1    4/2004 Hiscock ...................... 709/217
           COMMUNICATION DEVICE                                                                                    6,807,413 B1 * 10/2004 Honda .............. ... 455,414.1
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   75                                                                                                              7,010,323 B2 *     3/2006 Suwa ............... ... 455,552.1
   (75) Inventors: Shire;8.Luo                                                                                     7,024, 183 B2 * 4/2006 Hymel ....................... 455,417
                   Saitama-ken (JP)                                                                                                  (Continued)
   (73) Assignee: Kabushiki Kaisha Toshiba, Tokyo (JP)                                                                   FOREIGN PATENT DOCUMENTS
   (*) Notice:                  Subject to any disclaimer, the term of this                                 JP               1O-322773            12/1998
                                patent is extended or adjusted under 35
                                U.S.C. 154(b) by 663 days.                                                                              (Continued)
   (21) Appl. No.: 10/084,502                                                                                                 OTHER PUBLICATIONS
                                                                                                            Copy of International Search Report dated Sep. 25, 2001.
   (22) Filed:                  Feb. 28, 2002
                                                                                                            Primary Examiner—Fan Tsang
   (65)                               Prior Publication Data                                                Assistant Examiner—Lisa Hashem
                                                                                                            (74) Attorney, Agent, or Firm—Finnegan, Henderson,
           US 20O2/O147OO3 A1                                Oct. 10, 2002                                  Farabow, Garrett & Dunner, L.L.P.
                       Related U.S. Application Data                                                        (57)                       ABSTRACT
   (63) Continuation of application No. PCT/JP01/05570,
        filed on Jun. 28, 2001.                                                                             A communication device and a method for controlling a
                                                                                                            communication device that can load or unload service
   (30)                     Foreign Application Priority Data                                               information at appropriate timings by flexibly designating
     Jul. 6, 2000                  (JP)                                                  2000-204623        discriminating conditions of connection or disconnection of
          • Yus 1- w w              xavu- f        ··· ····· ············ ··· ·· ··· ·                      a link. A service manager reads out necessary service

   (51) Int. Cl.                                                                                            information, such as service program or driver Software,
        H04B 7/00                                   (2006.01)                                               from the information memory area based on discriminating
        H04O 7/20                                   (2006.01)                                               conditions designated in communication controlling infor
        H04.3/16                                    (2006.01)                                               mation of the communication status. The service manager
   (52) U.S. Cl                                        45S/413:455/455:455/510                              loads service information to a temporary information
              Oa -   -- -    ---- ----- ------ --- ---                  says   455,513.370,466              memory area in a host device. The service manager also

   (58) Field of Classification Search                                                      4 55/412        unloads unnecessary service information from the tempo
                                                                    455/41.3, 450; 358/1.5                  rary information memory area in the host device. A connec
        See application file for complete search history.                                                   tion manager then performs communication protocol for
                                                                                                            communicating between the service information loaded in
   (56)               References Cited                                                                      the temporary information memory area of the host and the
                            U.S. PATENT DOCUMENTS
                                                                                                            service information memory of the device side.
          5,287,545 A                   2, 1994 Kallin ........................ 455,510                                      5 Claims, 11 Drawing Sheets

                                                            CONDITION
                                                                 Ec : TERMINALCV
                                                                                                NCURYSSUE                       NUMBER-OF-MES
                                                         CONNECTIONEECTING                      NUMBER OF TIMES
                                                         CONotionSSU                 tes        INTERWAL                         s
                                                                                                DETECTION NUMBER
                                                                                                                                 s
                                                                                                MANTENANCETME

                                                                                 INQUIRY DETECTION MODE ... O FIXED OVARIABLE
                                                                                              CONNECTION RECUESTISSUE           NUMBER-OF-TIMES
                                                         DISCONNECTION DETECTING | NUMBER-Of-TIMES                       o
                                                     CONDITIONS SETUP ITEMS                   INTERWAL                           s

                                                                                              DEECTION NUMBER                    s
                                                                                              MANTENANCETME

                                                              CONNECTION REQUEST DETECTION MODE. (O) FIXED OVARIABLE
                                                                                                           REGISTER        CANCEL
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                                                                                                         Page 2

                    U.S. PATENT DOCUMENTS                                                                               FOREIGN PATENT DOCUMENTS
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    2002/0051184 A1*          5/2002 Fritz et al. ................. 358,115                                   JP           11-355279        12/1999
    2002/0094778 A1*          7/2002 Cannon et al. ............... 455,41                                     JP         2000115,189 A       4/2000
    2002/011 1138 A1          8/2002 Park ............................ 455,41                                 WO        WO 97/40457         10, 1997
    2003/0078002 A1* 4/2003 Sanjeev et al. ............... 455,41                                             * cited by examiner
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                                    FIG. 1


                               u-21                                  PC             1
                          \/
       1           PC
                                         Y                   \/




                                    FIG. 2

                                        42
                      34                     u-Z-1
                          \/
                  N/-Zul V                                        MOBILE-PHONE
                                                                  BASE STATION




                                                                   PUBLIC LINK
                                                                    NETWORK
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                                                                  1



                                                            HDD         18

                                                            LED         19

               15                                           USB         20

                                    17                      LCD         21

                                                       KEYBOARD-N-22
                                    MPU
                                                           PCMCIA       23

                               SERIAL /F         16




              MEMORY           SERAL IF                     9
         11   UNIT
                             BASEBAND UNIT            RF UNIT         NTENNA
                             CLOCK CONTROL
        13     AD/DA         UNIT                                        8

              MICRO-          24          16       Sirion
                                                   UNT
        14    PHONEf
              SPEAKER
              UNIT                                         12
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                                                                                FIG. 5

                                                                                                                                                     40
                                          ----------------...---------------------.....................-----------------....................-----------........................ Twn
                                                          48                  47                       45                           46

                                              MEMORY                                                                 KEY OPERATION



                                                                                                                                                                  42

                                                                          MOBILE TELEPHONE                                                           MOBILE PHONE i
                                                                          BASEBAND UNIT                              MOBILE PHONE ANTENNA                         :
                                                                                                                     RF UNIT                         UNIT

                                                                                  SERIAL INF




     raaaaaaa-on-ossesssssssssssessesswooooooowon-novo savvvosors


         MICRO                                                                                                        36           35                       34
         EoNE,                            ADIDA
     :
         SPEAKER                                                             SASEAND UNIT                                  D
                                                                                                                                                 RADIO
                                                  50                                                                     RADIO                   ANTENNA
                                                                            CLOCK CONTROL                                RF UNIT
                                                                            UNIT                                                                 UNIT
                            SOURCE
           52
     im.                                             r                   CRYSTAL                   MEMORY
                                             49                          |OSCILLATION UNIT
                                                                     :                                          38
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                                   FIG. 6




                    SERVICE PROGRAM
               MOBILE
                               RADIO
               TELEPHONE
               PROTOCOL        PROTOCOL
                                                          :     -     HCl
                                                                      HCI
                              STACK                       :     :

                            CLOCK                         :     :
             BASEBAND UNIT CONTROL                                  BASEBAND
                             INFORMATION
                                       C                                F

                                           58
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                                        FIG.7

                            SERVICE PROGRAM --77
                            DRIVER SOFTWARE N-78
                            CONNECTION
                            INFORMATIONCONTROL-79
                            CLOCK INFORMATION-84



               SERVICE MANAGER


                              SETUP PROGRAM FOR
                              CONNECTION CONTROL
                              NFORMATON
                                                           TEMPORARY
                                                           MEMORY
                                BLUETOOTH DRIVER           AREA
                                       BUS DRVER
                                       HC DRIVER
                                       USB DRIVER




                           BLUETOOTH LINK CONTROLLERh-81




                                       BLUETOOTH           82
                                           RF
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                                 FIG.8

       BOUNDARY 1

       BOUNDARY 2
                                                            A
       BOUNDARY 3




                     u-21
                                                           (A B 2
                 V



                         N  2
                                                       f            C
                             D                     /        O
                                               M

                                       -1
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                                   FG.9


              DEVICE DSCOVERY
                                          S1 OO


                  HAS COMPLETED          YES
              REGISTRATION OF DEVICE
                    ADDRESS 2


                      HAS
                REQUESTED SETUP
                  CONDITIONS 2
                    YES
              SETUP AND REGISTER OF            ENTRY A NEW DEVICE ADDRESS
              DETECTING CONDITION              AS ONE OF SETUP CONDITIONS



            DEVICE DISCOVERY PROCESS
            SASED ON CONNECTION                S105
            DETECTING CONDITIONS
                                       S106
       NO          DETECTION
               NUMBER OF TIMES OF
                    NOURYCN
                    YES
              INFORMATION PICKUP
              ANDTRANSMT                      S1 O7


                       END
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                                FG.10
                                   START



                         MONITOR CONNECTION
                                                              S11 O

                                                            S111
                                HASA LINK
                             pSCONNECTED
                                        YES
                       SPECIFY DEVICE ADDRESS -- S112


                      MONOR CONNECTION STATE
                      BASED ON DISCONNECTIONN-S113
                      SEARCHING CONDITIONS
                                                       S114
                 NO
                               DETECTED
                           NUMBER OF TIMES OF
                          CONNECTION RECUES
                                       <M

                                        YES
                       CONFIRM DSCONNECTION
                       OF A LINK                               S115
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                                        FIG. 12




         CONDITION
         SETUP OBJECT . TERMINAL C v

                                   NOURY ISSUE                  NUMBER-OF-TIMES
      CONNECTION DETECTING         NUMBER OF TIMES
      CONDITIONS SETUP ITEMS       INTERVAL                      S
                                   DETECTION NUMBER
                                   MAINTENANCE TIME              S

                     INQUIRY DETECTION MODE ... O FIXED OVARIABLE
                                CONNECTION RECQUEST ISSUE       NUMBER-OF-TIMES
     DISCONNECTION DETECTING    NUMBER-OF-TIMES
     CONDITIONS SETUP ITEMS     INTERVAL                        ins

                                DETECTION NUMBER
                                MAINTENANCE TIME                ms

         CONNECTION REQUEST DETECTION MODE ... O) FIXED O VARIABLE

                                             REGISTER       CANCEL
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                                                      US 7,184,707 B2
                                 1.                                                                  2
           COMMUNICATION DEVICE AND A                                   a user may prevent the host PC from communicating service
           METHOD FOR CONTROLLING THE                                   information to the peripheral device.
              COMMUNICATION DEVICE                                         Japanese patent application publication No. 11-355279,
                                                                        discloses technology that controls data communication in a
               CROSS REFERENCE TO RELATED                               radio communication system based on a corresponding link
                      APPLICATIONS                                      status of the radio communication system. The link status is
                                                                        determined by monitoring data communication between two
     This application is a continuation of international appli          devices of the radio communication system. Based on the
   cation number PCT/JP01/05570, filed Jun. 28, 2001, and               number of frames corresponding to decoded managing data,
   claims priority to Japanese Patent Application No. 2000         10   the disclosed technology determines whether the communi
   204623, filed Jul. 6, 2000, the contents of which are incor          cation environment is an all data transmittable area, an
   porated herein by reference.                                         asynchronous transmittable area, or a transmission unable
      This application claims the benefit of priority of Interna        area. Identifying the type of communication environment
   tional Application No. PCT/JP01/05370, filed on Jun. 28,             enables the host PC to determine whether the radio com
   2001.                                                           15   munication system has a link possible status, a link impos
                                                                        sible status, or a link possible status for only asynchronous
           TECHNICAL FIELD OF THE INVENTION                             data that are performed during a retransmission process.
                                                                          A host device in a conventional radio communication
     The present invention relates to a communication device            system experiences reduced performance in its communica
   and a method for controlling the communication device, and           tion processes because of the repeated loading and unload
   more particularly to a radio communication device and a              ing of service information, which corresponds to a radio link
   method for control thereof.                                          state of the radio communication system. The technology
                                                                        disclosed in Japanese patent application publication No.
               DESCRIPTION OF RELATED ART                               11-355279 may increase the reliability of data communica
                                                                   25   tion. However, this technology cannot resolve the problem
      In the case where peripheral devices or extension cards           of reduced communication performance attributed to the
   are connected to a personal computer (PC), the PC is loaded          unintentional loading or unloading of service information.
   with suitable driver software for the respective devices so             To overcome the above and other disadvantages of the
   that it may recognize hardware information for the addi              prior art, methods and systems consistent with the present
                                                                   30   invention control a communication device to load or unload
   tional devices. Moreover, the PC may further allocate vari           service information at appropriate timings by flexibly des
   ous resources such as an I/O port, by using plug and play
   technology. In plug and play technology, the driver software         ignating discriminating conditions on a link connection or a
                                                                        link disconnection in order to secure a stable radio commu
   corresponding to the additional devices and other related            nication system.
   service programs are loaded or unloaded. The PC determines      35
   whether to load or unload the device software and source
                                                                                   SUMMARY OF THE INVENTION
   programs by detecting the device connection to the PC
   through a direct bus connection or a cable wired connection.           An embodiment consistent with the present invention
      Recently, radio communication techniques have been put            relates to a radio communication device on a network for
   to practical use in coupling information devices. Radio         40   communicating with a target communication terminal on the
   communication techniques such as “Bluetooth' or Home RF              network. The radio communication device comprises a
   are being used in coupling, for example, a PC and a Personal         memory for storing service information so that perform
   Digital Assistance (PDA); or a PC and a mobile telephone.            predetermined functions can be performed over the network
     Bluetooth is a radio communication interface standard              with the target communication terminal; a judging module
   that uses an Industrial Scientific Medical (ISM) band of 2.4    45   for judging whether predetermined connection conditions
   GHZ, as a carrier frequency and provides a band Zone of 1            with the target communication terminal are satisfied by
   Mbps within a 10 m service area.                                     repeating a target communication terminal discovery pro
     Similar to Bluetooth, Home RF is also a radio commu                cess before establishing radio communications with another
   nication standard for a home application. Home RF uses the           target communication terminal; and a communication con
   same ISM band of 2.4 GHz as a carrier frequency and             50   trol module for executing the predetermined functions with
   communicates through a maximum data transmission speed               the target communication terminal by reading service infor
   of 1.6 Mbps in a service area covering a distance from 50 m          mation associated with the target communication terminal
   to 100 m.                                                            from the service information memory when the predeter
     In the prior art radio communication systems discussed             mined connection conditions are satisfied.
   above, a connection or disconnection between a master           55     Another embodiment consistent with the present inven
   device and a slave device may frequently occur when the              tion also relates to a radio communication device on a
   radio state becomes unstable due to the Surrounding envi             network for communicating with a target communication
   ronment. During each connection or disconnection, a host             terminal on the network. The radio communication device
   PC may experience an increase in loads because of the                comprises a service information memory for storing service
   repetitious loading and unloading, for example, of service      60   information that corresponds to the target communication
   information Such as driver software or service programs.             terminal so that predetermined functions can be performed
   The increased load on the host PC results in a number of             with the target communication terminal over the network; a
   problems that hinder performance. Unintended communica               judging module for judging whether predetermined discon
   tions generated by a user of the host PC due to the unex             nection discriminating conditions are satisfied by repeating
   pected loading of service information, for example, causes      65   a connection process with the target communication termi
   excessive loads on the communication operations of the host          nal before disconnecting radio communication with the
   PC. Further, unintended unloading of service information by          target communication terminal; and a communication con
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                                                      US 7,184,707 B2
                                3                                                                      4
   trol module for invalidating the predetermined functions                Yet a further embodiment consistent with the present
   associated with the service information that corresponds to          invention relates to a communication device comprising a
   the target communication terminal and storing the service            radio communication module for exchanging data with a
   information in the service information memory mechanism              target communication terminal through radio; a service
   when the predetermined disconnection discriminating con              memory for storing service information so that predeter
   ditions are satisfied.                                               mined functions can be performed with the target commu
     A further embodiment consistent with the present inven             nication terminal; a temporary memory for temporarily
   tion relates to a radio communication device in a network for        storing service information used in an established target
   communicating with a target communication terminal in the            communication terminal for communication; a designating
   network. The radio communication device comprises a             10   module for designating communication controlling informa
   service information memory for storing service information           tion in order to define conditions for discriminating between
   so that predetermined functions can be performed with the            a newly established radio communication connection with
   target communication terminal; and a communication con               the target communication terminal or a disconnection of an
   trol module for communicating with the target communica              existing radio communication connection with the target
   tion terminal by using the service information read out from    15   communication terminal; a communication controlling
   the service information memory based on communication                information memory for storing the communication control
   controlling information that defines discriminating condi            ling information designated by the designating module; a
   tions for establishing a new connection with the target              memory for storing the communication controlling informa
   communication terminal or disconnecting an existing con              tion designated by the designating module; a discriminating
   nection with the target communication terminal.                      module for determining whether a status of the radio com
      An additional embodiment consistent with the present              munication connection with a target communication termi
   invention relates to a communication device comprising a             nal is a connection status or a disconnection status based on
   radio communication module for exchanging data with a                the communication controlling information in the commu
   target communication terminal over a network; a service              nication controlling information memory, and transferring
   information memory for storing service information so that      25   the service information from the service memory to the
   predetermined functions can be performed with the target             temporary memory when the status of the radio communi
   communication terminal; a communication control informa              cation connection with the target communication terminal is
   tion designating module for designating communication                the connection status, and transferring the service informa
   conditions for a newly established radio communication               tion from the temporary memory to the service memory
   connection with the target communication terminal or for        30   when the status of the radio communication connection with
   discriminating a disconnection of an existing radio commu            the target communication terminal is the disconnection
   nication connection with the target communication terminal;          status; and a radio communication control module for per
   a memory for storing the designated communication con                forming the predetermined functions with the target com
   trolling information by the communication control informa            munication terminal when the service information is stored
   tion designating module; and a communication control mod        35   in the temporary memory.
   ule for determining whether the radio communication                     Yet an additional embodiment consistent with the present
   connection with the target communication terminal is in a            invention relates to a method for controlling a communica
   connection status or a disconnection status based on the             tion device that exchanges data with a target communication
   communication controlling information stored in the                  terminal over a radio network. The communication device
   memory, and performing communication through the radio          40   has a memory for storing various types of data. The method
   communication module by using service information read               when establishing a new radio communication connection
   from the service information memory in accordance with the           between the communication device and a target communi
   determination result.                                                cation terminal, comprises judging whether predetermined
     Yet another embodiment consistent with the present                 connection discriminating conditions are satisfied by repeat
   invention relates to a radio communication device in a          45   ing a target communication terminal discovery process
   network that exchanges service information with a target             before performing the predetermined functions; and per
   communication terminal in the network for performing                 forming the predetermined functions through the radio com
   predetermined functions. The radio communication device              munication connection by extracting required service infor
   comprises a service memory for storing the service infor             mation from memory to perform the predetermined
   mation; a temporary memory for temporarily storing the          50   functions between the communication device and the target
   service information used to establish communications with            communication terminal, the required service information is
   the target communication terminal; a first module for trans          stored in the memory by executing the predetermined func
   ferring the service information from the service memory to           tions with the target communication when the predetermined
   the temporary memory when a radio communicating con                  connection conditions are satisfied.
   nection for the target communication terminal has been          55      Still another embodiment consistent with the present
   established, and for transferring the service information            invention relates to a method for controlling a communica
   from the temporary memory to the service memory when the             tion device that exchanges data with a target communication
   radio communication connection with target communication             terminal over a network. The communication device has a
   terminal has been disconnected based on communication                memory for storing various types of data. The method when
   controlling information used for discriminating between a       60   disconnecting radio communication connection established
   newly established radio communication connection with the            between the communication device and a target communi
   target communication terminal and a disconnection of an              cation terminal, comprises judging whether disconnection
   existing radio communication connection with the target              conditions are satisfied by repeating a target communication
   communication terminal; and a radio communication con                terminal connection process; and invalidating the predeter
   trol mechanism for performing the predetermined functions       65   mined functions corresponding to executed service informa
   with the target communication terminal when the service              tion that is stored in memory so that the predetermined
   information is stored in temporary memory.                           functions between the communication device and the target
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                                5                                                                        6
   communication terminal can be performed when the discon                  FIG. 8 is a block diagram illustrating a connection/
   nection discriminating conditions are satisfied.                       disconnection state of a radio link consistent with the present
      Still a further embodiment consistent with the present              invention.
   invention relates to a method for controlling a communica                 FIG. 9 is a flowchart showing a connection judging
   tion device that exchanges data with target communication              process of radio link consistent with the present invention.
   terminal over a network, the communication device having                  FIG. 10 is a flowchart showing a disconnection judging
   a memory mechanism for storing various types of data. The              process of a radio link consistent with the present invention.
   method comprises judging whether a radio communication                    FIG. 11 illustrates an example of a connection/disconnec
   connection between the communication device and a target               tion setup state of a radio link consistent with the present
   communication terminal is in a connection status or in a          10   invention.
   disconnection status, based on communication controlling                  FIG. 12 illustrates an example of user interface screen for
   information that defines conditions for discriminating                 designating connection/disconnection conditions for a radio
   between a new radio communication connection established               link consistent with the present invention.
   between the communication device and a new target com             15                DETAILED DESCRIPTION OF THE
   munication terminal, or a disconnection of radio communi                                   EMBODIMENTS
   cation connection established between the communication
   device and the target communication terminal, and perform                Reference will now be made in detail to exemplary
   ing radio communications with the target communication                 embodiments of the invention, which are illustrated in the
   terminal by using service information that executes the                accompanying drawings. Wherever possible, the same ref
   predetermined functions between the communication device               erence numbers will be used throughout the drawings to
   and the target communication terminal, the service informa             refer to the same or like parts.
   tion being stored in memory based on a discrimination                     FIG. 1 illustrates a basic structure of a radio-communi
   result.
                                                                          cation network 100 in accordance with an embodiment of
      Still an additional embodiment consistent with the present     25   the present invention invention. Generally, the radio com
   invention relates to a method for controlling a communica              munication system comprises information process equip
   tion device that exchanges data with a target communication            ment and a mobile apparatus. The information processing
   terminal over a network, the communication device having               equipment may be represented, for example, by a battery
   a memory for storing various types of data. The method                 driven notebook type personal computer (PC 1). The mobile
   comprises storing, in memory, designated communication            30   apparatus may be represented by a mobile telephone 2. PC
   control information that defines discriminating conditions             1 and mobile telephone 2 may communicate information by
   for discriminating between establishing a new radio com                establishing a local radio link. When a radio link is estab
   munication connection between the communication device
   and a target communication terminal, or a disconnecting a              lished between PC 1 and mobile telephone 2, a user may
   radio communication connection established between the
                                                                          perform predetermined service programs on radio commu
                                                                     35   nication network 100. Such as mailing data or exchanging
   communication device and the target communication termi                personal information.
   nal; judging whether the radio communication connection                   PC 1 may establish a radio link between a plurality of
   between the communication device and the target commu                  devices on radio communication network 100 at the same
   nication terminal is in a connection state or a disconnection          time. For example, PC 1 may exploit a multi-point access
   state based on the designated communication control infor         40   technique by connecting to mobile telephone 2 and at least
   mation; and performing radio communication with the target             one other PC device of network 100. In the multi-point
   communication terminal by using service information that               access technique, even if PC 1 is in a radio link state in
   executes the predetermined functions between the commu                 which a connection has already been established, PC 1 may
   nication device and the target communication terminal, the             enter one of a number of operational modes. Particularly, PC
   service information being stored in memory based on a             45   1 may enter a station discovery mode to search for a new
   discrimination result.
                                                                          target terminal, a waiting mode for the station discovery, or
         BRIEF DESCRIPTION OF THE DRAWINGS
                                                                          a waiting mode to demand an established connection to a
                                                                          discovered target terminal on the network. Thus, the multi
                                                                          access technique enables a new target terminal to dynami
      FIG. 1 is a block diagram illustrating a general structure     50   cally connect to network 100.
   of a radio-communications system consistent with the                      The station discovery mode enables PC 1 to search for a
   present invention.                                                     target terminal that is located in a communication range of
      FIG. 2 is a block diagram illustrating a general structure          PC 1, and collect information required for connection to the
   of a complete radio-communications system consistent with              target terminal over network 100. In the station discovery
   the present invention.                                            55   mode PC 1 broadcasts a message that indicates a station
      FIG. 3 is a block diagram illustrating a hardware structure         discovery. The waiting mode for a station discovery enables
   of a personal computer used as information processing                  PC 1 to detect a station discovery message transmitted from
   equipment consistent with the present invention.                       a target terminal for a station search. PC 1 transmits a
      FIG. 4 is a block diagram illustrating a software structure         message in response to the station discovery message of the
   of a personal computer consistent with the present invention.     60   target node. The waiting mode for demanding establishment
                                                                          of a connection enables PC 1 to detect a demand for
      FIG. 5 is a block diagram illustrating a hardware structure         connection establishment message transmitted from a target
   of a mobile telephone consistent with the present invention.           terminal. PC 1 performs a process in response to the demand
      FIG. 6 is a block diagram illustrating a software structure         for connection establishment message of the target terminal.
   of a mobile telephone consistent with the present invention.      65      PC 1 executes one of the operational modes mentioned
      FIG. 7 is a block diagram illustrating a structure of a host        above to establish a new radio line to a target terminal on
   and a host controller consistent with the present invention.           network 100. The station discovery mode, waiting for the
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                               7                                                                      8
   station discovery mode, and waiting for a demand of con               GHZ radio wave on network 200. Engine unit 15 provides an
   nection establishment mode allow PC 1 to transfer messages            interface to users and other peripheral devices of network
   over a control channel of network 100. However, when                  2OO.
   transmitting or receiving data, PC 1 uses a radio resource              Antenna unit 8 provides an interface to radio communi
   between the control channel and a communication channel.              cation network 200 and exchanges information with mobile
   If PC 1 executes a control process while also communicating           telephone 2 over a 2.45 GHZ radio wave. For illustrative
   with a target device, PC 1 temporarily suspends the com               purposes, antenna unit 8 is assumed to receive a signal over
   munication with the target device. PC 1 dynamically con               radio communication network 200.
   trols execution timings and intervals of control procedures             When antenna unit 8 receives a 2.45 GHZ radio wave, RF
   based on conditions designated by a user. Particularly, PC 1     10   unit 9 is connected to receive the radio wave on its input
   executes station discovery mode, waiting for the station              from antenna unit 8. RF unit 9 is also connected to receive
   discovery mode, and waiting for a demand of connection                an input from crystal oscillation unit 12. RF unit 9 mixes the
   establishment mode for establishing a new radio link on               2.45 GHZ radio wave input from antenna unit 8 and a base
   network 100. PC 1 further executes the station connection             frequency signal input from crystal oscillation unit 12 and
   demand mode to disconnect a radio link with a target device      15   produces an intermediate frequency signal. RF unit 9
   on the network.                                                       decodes the intermediate frequency signal and generates a
     FIG. 2 shows a general structure of a complete radio                digital signal. RF unit 9 outputs the digital signal to an input
   communication network 200 in accordance with an embodi                of baseband unit 10. Alternatively, when antenna unit 8
   ment consistent with the present invention. Radio commu               transmits a 2.45 GHZ radio wave, RF unit 9 is connected to
   nications network 200 includes PC 1, mobile telephone 2, a            receive an input from baseband unit 10 and an input from
   mobile phone base station 3, a public link network 4, and a           crystal oscillation unit 12. RF unit 9 modulates the signal
   Server 5.                                                             received from baseband unit 10 with the base band signal
      PC 1 includes an antenna unit 8 for communicating                  received from crystal oscillation unit 12 to generate a 2.45
   information with mobile telephone 2 over network 200. PC              GHz radio wave. RF unit 9 provides the 2.45 GHZ radio
   1 further includes an LCD (not shown) for displaying data        25   wave on its output to antenna 8.
   and a keyboard for inputting data (not shown).                          When antenna unit 8 receives a 2.45 GHZ radio wave,
     Mobile telephone 2 includes a mobile phone antenna unit             baseband unit 10 is connected to receive an input from RF
   42 for exchanging information with the mobile-phone base              unit 9. Baseband unit 10 includes a clock control unit 24 and
   Station 3 over an 800 MHZ radio wave of network 200.                  a serial interface 16. Using clock control unit 24, baseband
   Mobile telephone 2 further includes a radio antenna unit 34      30   unit 10 changes the data sequences of the digital signals
   for exchanging information with PC 1 over a 2.45 GHZ radio            received on its input. Baseband unit 10 provides the modi
   wave. Mobile telephone 2 also includes a LCD (Liquid                  fied digital signals to MPU 17 on serial interface 16.
   Crystal Display) for displaying data and a key operation unit         Alternatively, when antenna unit 8 transmits a 2.45 GHz
   for inputting data.                                                   radio wave, baseband unit 10 is connected to receive an
      Mobile phone base station 3 represents a predetermined        35   input signal from MPU 17 over serial interface 16. Using
   radio area and facilitates communications from a mobile               clock control unit 24, baseband unit 10 converts the input
   telephone 2 located within the predetermined radio area.              signal to a form that can be processed by RF unit 9.
   Public link network 4 connects mobile phone base station 3            Baseband unit 10 provides the converted signal on its output
   to Server 5.                                                          to RF unit 9.
      Mobile telephone 2 performs transmission and reception        40      Memory unit 11 is connected to receive an input signal
   of sound or data between mobile phone base station 3.                 from baseband unit 10. Memory unit 11 stores the received
   Mobile phone base station 3 constitutes a predetermined               input signal. Alternatively, memory unit 11 may also provide
   radio area, and realizes communication with a portable                the stored information on its output to baseband unit 10.
   telephone 2 within the radio area over the 800 MHZ radio                 Microphone/speaker unit 14 receives or outputs audio
   wave. Mobile phone base station 3 connects to server 5           45   information. When receiving audio information, micro
   through a public link network 4.                                      phone/speaker unit 14 is connected to provide the received
      PC 1 and the mobile telephone 2 are coupled by a radio             audio signal on its output to AD/DA conversion unit 13.
   wave of a specific frequency band different from the radio            When outputting audio information, microphone/speaker
   wave used for communication in the mobile-phone system.               unit 14 is connected to receive an audio signal on its input
   Practically, the Bluetooth system of 2.45 GHz band is used       50   from AD/DA conversion unit 13. Microphone/speaker unit
   for coupling between the PC 1 and the mobile telephone 2.             14 then outputs the received audio signal.
   The Bluetooth system is a short-distance radio-communica                 MPU17 includes among other things a central processing
   tions standard for realizing radio communications around 10           unit (CPU), a memory, and a peripheral control circuit.
   m by using an electric wave of 2.45 GHz band.                         When antenna 8 receives a 2.45 GHZ radio wave, MPU 17
      FIG. 3 is a block diagram illustrating a hardware structure   55   is connected to receive an input from baseband unit 10
   of PC 1 in accordance with an embodiment consistent with              through serial interface 16 and provide an output to at least
   the present invention. PC 1 includes a radio module 7 having          one of HDD 18, LED 19, USB 20, LCD 21, or PCMCIA 23.
   an antenna unit 8, a Radio Frequency (RF) unit 9, a base              Alternatively, when antenna 8 transmits a 2.45 GHZ radio
   band unit 10, a memory unit 11, a crystal oscillation unit 12,        wave, MPU17 is connected to receive an input from one of
   an AD/DA conversion unit 13, and a microphone/speaker            60   HDD 18, USB 20, LCD 21, keyboard 22, or PCMCIA 23.
   unit 14. PC 1 also includes an engine unit 15 having a                MPU17 then provides a signal to baseband unit 10 through
   Mathematical processing unit (MPU) 17, a hard disc drive              serial interface 16. It should be apparent that MPU 17 may
   (HDD) 18, a light emitting diode (LED) 19, a universal                provide an output to at least one of HDD 18, LED 19, USB
   serial bus (USB) 20, a liquid crystal display (LCD) 21, a             20, LCD 21, or PCMCIA 23 regardless of a communication
   keyboard 22, and a personal computer memory card inter           65   state of antenna 8.
   national association (PCMCIA) interface 23. Radio module                 When antenna 8 receives a 2.45 GHZ radio wave over
   7 communicates data with mobile telephone 2 over the 2.45             network 200, HDD 18 is connected to receive a signal from
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   MPU 17. HDD 18 then stores the received signal. Alterna                  Radio protocol stack 30 is configured to control commu
   tively, when antenna 8 transmits a 2.45 GHZ radio wave over           nication over the 2.45 GHz frequency band by storing
   network 200, HDD 18 may provide a signal on its output to             information received through HCI 31. Radio protocol stack
   MPU 17.                                                               30 controls the flow of information between the service
      LED 19 is connected to receive an input from MPU 17.               program 29 and driver software 28 mounted on engine unit
   LED 19 emits a visible colored light based on the input               15 and LMP 25 mounted on radio module 7. Clock control
   received from MPU 17. Particularly, LED 19 is used to                 information 32 is a Sub-component of radio protocol stack
   indicate warnings regarding the operation of PC 1.                    30 and is configured to control the timing of all processes
      USB 20 is connected to receive an input from MPU 17.               input or output from the radio protocol stack 30.
   USB 20 connects peripheral devices (not shown) supporting        10      HCI 31 is configured to receive an input from radio
   the USB standard to PC 1. When directed by MPU17, USB                 protocol stack 30. Alternatively, HCI 31 is also configured to
   20 provides signals on its output to the connected peripheral         provide an input received from the Software components of
   device. Alternatively, USB 20 is connected to receive an              radio module 7 to radio protocol stack 30. HCI 31 provides
   input from a connected peripheral device. USB 20 may                  a serial interface between the software components of radio
   provide signals on its input as an output to MPU 17.             15   module 7.
      LCD 21 is connected to receive an input signal from MPU               FIG. 5 is a block diagram illustrating a hardware structure
   17. LCD 21 provides the input signal as an output so that             of mobile telephone 2 in accordance with an embodiment
   information can be displayed to a user.                               consistent with the present invention.
      Keyboard 23 provides an interface between a user and PC              Mobile telephone 2 includes a radio module unit 33
   1. A user may input information onto keyboard 323 by                  having a radio antenna unit 34, an radio RF unit 35, a radio
   depressing at least one of a plurality of keys (not shown).           base band unit 36, which includes a clock control unit 37 and
   Keyboard 23 provides the signal generated by the depressed            a serial interface 41, a memory unit 38, and a crystal
   keys on its output to MPU 17.                                         oscillation unit 39. Mobile telephone 2 further includes a
      PCMCIA 23 is connected to receive an input signal from             mobile phone engine part 40 having an antenna unit 42, an
   MPU 17. PCMCIA 23 provides an interface for mounting a           25   RE unit 43, a baseband unit 44 that includes a serial interface
   PC card. PCMCIA 23 provides the input signal on its output            520, an LCD 45, a key operation unit 46, an LED 47, and a
   to the mounted PC card. Alternatively, PCMCIA 23 is                   memory unit 48. Mobile telephone unit 2 also includes a
   connected to receive an input signal from a mounted PC                common unit 49 having an AD/DA conversion unit 50, a
   card. PCMCIA 23 provides the input signal on its output to            microphone/speaker unit 51, and a power source 52. Radio
   MPU 17.                                                          30   module unit 33 communicates with PC 1 over radio com
      FIG. 4 is a block diagram illustrating a software structure        munication network 200 using a 2.45 GHz band radio wave.
   of PC 1 in accordance with the present invention. Because             Mobile phone engine part 40 is connected to radio module
   hardware components of PC 1 have been previously dis                  unit 33 through a serial interface and serves as an interface
   cussed, only the software components will be described                to a user or other peripheral devices (not shown). Power unit
   below. PC 1 includes radio module 7 having RF unit 9.
                                                                    35   49 provides an audio interface and a power source for
   baseband unit 10, a Link Management Protocol (LMP) unit               mobile telephone 2.
                                                                           Radio antenna unit 34 is connected to radio communica
   25, and a Host Control Interface (HCI) 26. PC 1 also                  tion network 200 through a radio link (not shown). Radio
   includes engine unit 15 having an operating system (OS) 27.           antenna unit 34 transmits and receives a 2.45 GHZ radio
   driver software 28, a service program 29, a radio protocol       40   wave between PC 1 over the radio link. Radio antenna unit
   stack 30, an HCI 31, and clock control information 32.                34 provides the received radio wave on its output to radio RF
     LMP 25 is configured to monitor an output of baseband               unit 35.
   unit 10. LMP 25 controls a radio link between PC 1 and
   other radio communication equipment of network 200, by                  Radio RF unit 35 is connected to receive an input from
                                                                         radio antenna unit 34. Radio RF unit 35 is also connected to
   analyzing information communicated over the 2.45 GHZ             45   receive baseband signal input from crystal oscillation unit
   radio wave. Through the analysis, LMP 25 determines                   39. Radio RF unit 35 modulates the received radio wave
   whether a radio link between PC 1 and, for example, mobile            from radio antenna unit 34 with the baseband signal received
   telephone 2 exists. LMP25 is further configured to provide            from crystal oscillation unit 39, to convert the radio wave
   results of this analysis to HCI 26.                                   into an intermediate frequency signal. Following the con
      HCI 26 is configured to receive an input from LMP 25.         50   version, radio RF unit 35 demodulates the intermediate
   Alternatively, HCI 26 is also configured to provide an input          signal to generate a digital signal. Radio RF unit 35 provides
   received from the software components of engine unit 15 to            the digital signal on its output to radio baseband unit 36.
   LMP 25. HCI 26 provides a serial interface between the                Alternatively, when mobile telephone 2 desires to transmit a
   software components of engine unit 15 and LMP25.                      radio wave over radio communication network 200, radio
      OS 27 is configured to provide an environment in which        55   RF unit 35 receives a digital signal from radio baseband unit
   various Software processes of engine unit 15 can be                   36. It should be understood that radio RF unit performs the
   executed.                                                             reverse operations as described above, and provides a 2.45
      Driver software 28 is configured to control a number of            GHZ radio wave on its output to radio antenna unit 34.
   peripheral hardware elements of engine unit 15. Such as                  Radio baseband unit 36 is connected to receive a digital
   HDD 18, LED 19, USB 20, LCD 21, keyboard 22, and                 60   signal output from radio RF unit 35. Radio baseband unit 36
   PCMCIA 23. Driver software 28 is further configured to                is also connected to receive a signal output from memory
   control word-processing software, spreadsheet Software,               unit 38. Furthermore, radio baseband unit 36 is connected to
   electronic mail software, and system software used for                receive an input from power unit 49. Additionally, radio
   recognizing remote-control operations.                                baseband unit 36 is connected to receive an input from
      Service program 29 is configured to monitor or control        65   engine unit 40. Radio baseband unit 36 includes a clock
   specific functions or hardware components associated with             control unit 37 and a serial interface 41. When sending data
   engine unit 15.                                                       through serial interface 41, radio baseband unit 36 converts
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                                 11                                                                   12
   the digital signal received from radio RF unit 35 into a data        speaker unit 51. AD/DA conversion unit 50 is also connected
   sequence so that a CPU (not shown) of mobile telephone               to receive a digital signal from radio module unit 33 and
   engine unit 40 may process the data. Clock control unit 37           mobile telephone engine unit 40. AD/DA conversion unit 50
   determines the timing for sending and receiving a data               converts the received analog signal to a digital signal and
   sequence over serial interface 41. On the other hand, radio          provides the digital signal on its output to radio module unit
   baseband unit 36 provides the received digital data on its           33 and mobile telephone engine unit 40. Alternatively,
   output to mobile telephone engine unit 40 and power unit 49.         AD/DA conversion unit 50 converts the received digital
   Alternatively, when mobile telephone unit 2 desires to               signal to analog and provides the analog signal on its output
   transmit a radio wave over radio communication network               to microphone/speaker unit 51.
   200, radio baseband unit 36 receives a data sequence from       10      Microphone/speaker unit 51 receives or outputs audio
   at least one of the power unit 49 or the mobile telephone            information. When receiving analog audio information,
   engine unit 40. Radio baseband unit 36 performs the reverse          microphone/speaker unit 51 is connected to provide the
   of the operations described above, and provides a digital            received analog signal on its output to AD/DA conversion
   signal on its output to radio RF unit 35.                            unit 50. When outputting audio information, microphone/
      The components of mobile telephone engine unit 40 will       15   speaker unit 51 is connected to receive an analog audio
   now be discussed. Mobile phone antenna unit 42 commu                 signal on its input from AD/DA conversion unit 50. Micro
   nicates with mobile-phone base station 3. Mobile phone               phone/speaker unit 51 then outputs the received audio
   antenna transmits and receives information over an 800               signal.
   MHz radio wave. Mobile phone antenna unit 42 provides the               Power source 52 is mounted to provide a source of power
   received 800 MHZ radio wave on its output to mobile phone            for allowing mobile telephone 2 to perform the functions as
   RF unit 43.                                                          discussed above.
      Mobile phone RF unit 43 is connected to receive the 800             FIG. 6 shows a block diagram illustrating a software
   MHz radio wave output from mobile phone antenna unit 42.             configuration of mobile telephone 2 in accordance with an
   Mobile phone antenna unit 43 demodulates the received                embodiment of the present invention. Mobile telephone 2
   radio wave to generate a digital signal. Mobile phone RF        25   includes radio module 33 having software elements LMP53
   unit 43 provides the digital signal on its output to mobile          and HCI 54, and mobile phone engine part 40 having
   telephone baseband unit 44. Alternatively, when mobile               software elements mobile telephone protocol stack 55, ser
   telephone unit 2 desires to transmit information to mobile           vice program 56, radio protocol stack 57, and clock control
   phone base station 3, mobile phone RF unit 43 receives a             information 59.
   digital signal output from mobile telephone baseband unit       30     LMP 53 is configured to monitor an output of baseband
   44. It should be understood that mobile phone RF unit 43             unit 37. LMP 53 controls a radio link between mobile
   performs, in reverse order, the operations described above.          telephone 2 and mobile phone base station 3 of radio
   Mobile phone RF unit 43 provides an 800 MHz radio wave               communication network 200, by analyzing information
   on its output to mobile phone antenna unit 42.                       communicated over an 800 MHZ radio wave. Through the
      Mobile telephone baseband unit 44 is connected to            35   analysis, LMP 53 determines whether a radio link exists
   receive an input signal from radio module unit 33 and power          between mobile phone 2 and, for example, mobile phone
   unit 49. Mobile telephone baseband unit 44 is also connected         base station 3. LMP 53 is further configured to provide
   to receive an input from key operation unit 46, LED 47, and          results of this analysis to HCI 54.
   memory unit 48. Mobile telephone baseband unit 44 con                   HCI 54 is configured to receive an input from LMP53.
   trols the flow of information within mobile telephone engine    40   Alternatively, HCI 54 is also configured to provide an input
   unit 40. When mobile telephone unit 2 desires to send the            received from the Software components of mobile engine
   information received by mobile telephone baseband unit 44            unit 40 to LMP 53. HCI 54 provides a serial interface
   to mobile phone base station 3, mobile telephone baseband            between the software components of engine unit 40 and
   unit 44 will provide the received signal on its output to            LMP 53.
   mobile phone RF unit 43. Alternatively, when the received       45     Mobile telephone protocol stack 55 is configured to
   information is targeted to a user, mobile telephone baseband         control communication over the 800 MHz frequency band
   unit 44 may provide the data to at least one of LED 47, LCD          by storing information received through HCI 54. Mobile
   45, radio module unit 33 through serial interface 520, and           telephone protocol stack 55 controls the flow of information
   power unit 49.                                                       between the service program 56 mounted on engine unit 40
      LCD 45 is connected to receive an input from mobile          50   and LMP 53 mounted on radio module 33. Clock control
   telephone baseband unit 44. LCD 45 provides the received             information 59 is configured to control the timing of all
   input signal on its output so that information can be dis            processes input or output from the radio protocol stack 59.
   played to a user.                                                       Service program 56 is configured to monitor or control
      Key operation unit 46 provides an interface for a user.           specific functions or hardware components associated with
   Key operation unit 46 converts the users input into a signal    55   engine unit 40.
   to provide on its output to mobile telephone baseband unit              Radio protocol stack 57 is configured to, control commu
   44.                                                                  nication over the 2.45 GHz frequency band by storing
      LED 47 is connected to receive an input from mobile               information received through HCI 54. Radio protocol stack
   telephone baseband unit 44, LCD 45, key operation unit 46.           57 controls the flow of information between the service
   and memory unit 48. LED 319 is used to indicate warnings        60   program 56 mounted on engine unit 40 and LMP 53
   regarding the operation of mobile telephone unit 2.                  mounted on radio module 33. Clock control information 59
      Memory unit 48 is connected to receive an input from              is configured to control the timing of all processes input or
   mobile telephone baseband unit 44. Memory unit 48 stores             output from the radio protocol stack 59.
   the received input until the mobile telephone baseband unit             HCI 58 is configured to receive an input from mobile
   44 requests the information.                                    65   telephone protocol stack 55 and radio protocol stack 57.
      Turning now to power unit 49, AD/DA conversion unit 50            Alternatively, HCI 58 is also configured to provide an input
   is connected to receive an analog signal from microphone/            received from the software components of radio module 33
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                                 13                                                          14
   to mobile telephone protocol stack 55 or radio protocol stack service program 77 and driver software 78. Service manager
   55. HCI 58 provides a serial interface between the software 72 loads the service information read from service program
   components of radio module 33 and either of mobile tele 77 and driver software 78 to temporary memory 85 of host
   phone protocol stack 55 and radio protocol stack 57.           device 70. Service manager 72 may unload the service
      The features of an embodiment consistent with the present 5 information from temporary memory area 85 as needed.
   invention that enables loading and unloading of service          Connection manager 73 connects the temporary memory
   information processes are explained in detail below. In the area 85 and the service information stored in a target device
   discussion that follows it is assumed that Bluetooth is used   (not shown) so that service information can be communi
   as a radio-communications standard using a 2.45 GHZ cated. Communication manager 73 monitors the connection
   frequency band.                                              10 state of a radio link based on communication control infor
      In the Bluetooth system, data transmission is achieved by mation 79.
   a Time-Division Duplex (TDD) packet transmission of 625            FIG. 11 shows a chart illustrating the contents connection
   microseconds per slot. Bluetooth uses a frequency hopping control information 79. Connection control information 79
   technique that changes a frequency for each transmitted includes a device address, a friendly name that is arbitrarily
   packet. By using the same frequency hopping sequence, it 15 defined by a user to identify a device, connection judging
   becomes possible for one master to communicate with a conditions, and disconnection judging conditions. Connec
   maximum of seven slaves at the same time. A radio com           tion judging conditions define conditions for determining
   munication network configured in Such a manner is known whether a host device establishes a radio link with a target
   as a Piconet. Bluetooth further provides an asynchronous device. The connection conditions include a number of times
   data channel (ACL: Asynchronous Connection Less) and a 20 (N) the same device issues Inquiry, an issue interval (Ti) of
   synchronous voice channel (SCO: Synchronous Connection Inquiry, and a number-of-times maintenance time (Tn Nx
   Oriented) for data communications. The SCO can use up to Ti) expires before a response is detected, which is based on
   three channels at once, each channel having a 64 Kbps the Inquiry issue number-of-times (N) and the Inquiry issue
   channel throughput.                                             interval (Ti). Specifically, service manager 72 loads service
      In Bluetooth, when a source terminal requests to commu- 25 information when a response is detected before the prede
   nicate with a target terminal, but does not know an address termined number of times device detection is performed
   of the target terminal, the source terminal performs an (i.e., after the number-of-times the maintenance time (Tn)
   Inquiry for collecting information necessary to establish a ms has expired). If the loading time is shorter than the
   connection. The Inquiry is also referred to as a station detected number-of-times the maintenance time (Tn)
   discovery. While performing the Inquiry, the source terminal 30 expires, then the loading process is determined to be unnec
   may collect all device addresses and clock control informa essary and is omitted. Host PC 1 determines that there is a
   tion on all terminals that respond to the Inquiry. Because of low possibility for communication of the service informa
   the responses, the Source terminal may establish a connec tion by establishing a radio link.
   tion by executing a Page process (demand for connection            The disconnection judging conditions are conditions for
   establishment) based on the information collected from the 35 determining whether host PC 1 disconnects a radio link with
   responding terminals. Further, a remote terminal that is a target device. The disconnection judging conditions
   discovered by the source terminal performs an Inquiry Scan include a number-of-times (M) a connection request for
   (waiting for station discovery) to answer the Inquiry mes recovering the connection is issued after host PC 1 detects
   sage. Furthermore a remote terminal that is in a waiting state a disconnection of a radio link, an issue interval (T) of the
   for a demand for connection establishment mode performs a 40 connection request, and a number-of-times the maintenance
   Page Scan (waiting for a demand for connection establish time (Tm=MXT) expires before a response is detected,
   ment), to respond to the Page of the source terminal.           which is based on the number-of-times (M) a connection
      FIG. 7 illustrates a plurality of functional elements of PC request is made and the connection request issue interval
   1 that enable the Bluetooth system to be mounted in accor (T). Thus, even if host PC 1 disconnects a radio link once,
   dance with an embodiment of the present invention. For 45 it is possible for host PC 1 to re-establish a connection with
   illustrative purposes, we assume that PC 1 is a host device. the radio link when a response to a connection request is
   PC 1 includes an information memory domain 76 having a received within a predetermined number of times before the
   service program 77, driver software 78, connection control maintenance time expires. PC 1 may, therefore, restrain the
   information 79 and clock control information 84. PC 1 also       number of times service information is loaded because of an
   includes a host 70 having a service manager 72, a connection 50 unnecessary radio link disconnection.
   manager 73, a Bluetooth driver 74, a setup program 75, an           FIG. 8 explains a connection/disconnection state of a
   OS 83, and temporary memory 85. PC 1 further includes a radio link between PC 1 and a mobile telephone 2 on
   host controller 71 having a Bluetooth link manager 80 and network 200 using Bluetooth technology. In FIG. 8, a
   a Bluetooth link controller 81, and a Bluetooth RF circuit 82.    boundary 2 designates a range limit of radio waves trans
      The host 70 and information memory domain 76 perma- 55 mitted from the PC 1. A boundary 1 designates an area
   nently reside at host PC 1. Host 70 and host controller 71        outside of the range limit of radio waves transmitted by PC
   communicate in accordance with the protocol set forth by 1. A boundary 3 designates an area inside of the range limit
   HCI 26 and 31. Bluetooth link manager 80 and Bluetooth of radio waves transmitted by PC 1.
   link controller 81 control operations of the Bluetooth RF           In a first example, it is assumed that mobile telephone 2
   circuit 82. The Bluetooth device (non shown) is connected 60 is initially located in an area outside of boundary 1.
   to PC 1 through USB 2.0.                                            When the mobile telephone 2 is located in a location
      Connection control information 79 defines detection con        outside of the boundary 2, a radio link between PC 1 and
   ditions for a link connection state.                              mobile telephone 2 is not established because mobile tele
      Clock control information 84 is used to determine when         phone 2 is unable to answer a device detection (Induiry)
   various operations should be executed.                         65 broadcast by PC 1 over radio communication network 200.
      Service manager 72 accesses information memory Assuming, mobile telephone 2 moves along locus A when
   domain 76 to read stored service information, for example, mobile telephone 2 crosses boundary 2, mobile telephone 2
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                                                        US 7,184,707 B2
                              15                                                                       16
   responds to the device detection (Induiry). After receiving            link is disconnected. PC 1 monitors radio network 200 for
   the response from mobile telephone 2, PC 1 begins a                    response from mobile telephone 2 to determine whether N
   connection judging process of the radio link. If the PC 1              responses are detected within a predetermined maintenance
   detects that the responses corresponding to each Inquiry               time (Tm) ms. If, however, mobile telephone 2 moves in a
   occurs N number of times within a detection maintenance                direction towards PC 1 to a location within boundary 2,
   time (Ti) ms, then PC 1 loads service information, and                 mobile telephone 2 responds to the connection request of PC
   further communicates with mobile telephone 2.                          1. Because PC 1 detects a response within the predetermined
      An analysis of the radio link will now be made assuming             maintenance time, PC 1 maintains the radio link.
   that mobile telephone 2 moves along a locus B. As shown in                FIGS. 9 and 10 show a flow diagram illustrating the
   FIG. 8, when traveling along locus B mobile telephone 2           10   connection judging process and disconnection judging pro
   initially moves toward PC 1, but reverses direction so that it         cess, respectively, in a manner consistent with the present
   moves in a direction away from PC 1. As previously stated,             invention.
   mobile telephone 2 cannot establish a radio link when it is               During the connection judging process shown in the flow
   located outside of boundary 2, because PC 1 cannot receive             chart of FIG. 9, service manager 72 of PC 1 sends an HCI
   a response to the device detection (Induiry). However, PC 1       15   command to host controller 71. Service manager 72 further
   receives a response to the device detection (Inquiry) from             performs an Inquiry so that a device may be discovered on
   mobile telephone 2 and establishes a radio link, when mobile           network 200. Service manager 72 acquires a device address,
   telephone 2 moves in a direction towards PC 1 and crosses              clock control information, and service demand information
   boundary 2. As a result, PC 1 begins a judging process to              from a target device on network 200 (S100). PC 1 then
   determine the connection state of the radio link. However, as          determines whether the detected target device address is
   shown in locus B, while PC 1 judges the radio link, mobile             registered into connection control information 79 of infor
   telephone 2 Suddenly changes directions and moves away                 mation memory domain 76 (S101). If, PC 1 determines that
   from PC 1, until it is located outside of boundary 2. Because          the detected target device address is not registered in con
   mobile telephone 2 cannot respond to the device detection of           nection control information 79, then the connection judging
   PC 1, when a predetermined number of responses to the             25   process moves to S102. On the other hand, if PC 1 deter
   device detection have not occurred within a specified time,            mines that the detected device address is registered in
   PC 1 determines that connection conditions do not exist.               connection control information 79, then the connection
   Therefore, PC 1 does not perform a loading process of                  judging process moves to S105.
   service information.                                                     At S102, because the connection control information
      In contrast, under the conventional process, when a            30   corresponding to the detected target device address is not
   mobile telephone 2 moves into a location within boundary 2,            registered, PC 1 asks a user whether connection conditions
   PC 1 begins loading service information. Moreover, when                and disconnection conditions are required to be setup and
   mobile telephone 2 moves to a location outside of boundary             registered. If a user answers “yes.” PC 1 performs an
   2, PC 1 immediately unloads service information. As a                  appropriate setup/registration processes (S103). If a user
   result, PC 1 performs unnecessary loading and unloading of        35   answers “no, then PC 1 does not perform the setup process
   service information. PC 1 also performs excessive commu                (S104) and default connection/disconnection conditions of
   nications with mobile telephone 2. From the above discus               network 200 are associated with the detected target device
   sion it is apparent that the conventional process decreases            and copied into connection control information 79. This
   communication performance.                                             process is performed so that the newly detected target device
      In a second example, it is assumed that mobile telephone       40   address is associated with at least standard connection
   2 is initially located inside of boundary 3.                           conditions.
      Initially, PC 1 establishes a radio link with mobile tele              The process step performed at S103, is explained in
   phone 2 because mobile telephone 2 is in a location within             further detail in FIG. 12. FIG. 12 illustrates an example of
   boundary 2. Assuming, now that mobile telephone 2 moves                a condition set-up screen as displayed on LCD 21 of PC 1.
   along a locus C, in a direction away from PC 1, when mobile       45   Keyboard 22 enables a user to input the necessary data. A
   telephone 2 crosses boundary 2, PC 1 detects a disconnec               user may optionally input a friendly name of the device as
   tion of the radio link. As a result, PC 1 transmits a connec           an entry in the condition setup object. A user may indicate
   tion request to the mobile telephone 2, indicating that the            connection detecting condition set-up items including a
   radio link is disconnected. PC 1 monitors radio communi                number of times (N) an Inquiry should issue, an issue
   cation network 200, to determine whether N responses are          50   interval (Ti), and a detection number for the maintenance
   detected within a maintenance time (Tm) ms. However,                   time (Tn). A user may also indicate disconnection detecting
   because mobile telephone 2 is located outside of boundary              conditions setup items including a number-of-times a con
   2, PC 1 does not receive N response within the maintenance             nection request should issue request (M), an issue interval
   time. Thus PC 1 disconnects the radio link. At the same time           (T), and a detection number for a maintenance time (Tm).
   PC 1 disconnects the radio link, service manager 72 of PC         55      Furthermore, the condition set-up screen enables a user to
   1 unloads the service information. Before disconnection of             indicate an inquiry detection mode, which allows the con
   the radio link, PC 1 and mobile telephone 2 communicated               nection request inquiry detection interval to be fixed or
   the service information over radio network 200.                        variable. In Bluetooth, a user may also dynamically vary an
      An analysis of the state of the radio link between PC 1 and         issue interval of the inquiry or connection request. When a
   mobile telephone 2 will now be made assuming that mobile          60   user sets a variable inquiry detection mode, thereby giving
   telephone 2 travels in a direction shown by locus D. Initially,        priority to the detection number of the maintenance time of
   because mobile telephone 2 is located within boundary 2, PC            detection number-of-times, a host device may connect or
   1 establishes a radio link with mobile telephone 2. When the           disconnect a radio link even when the number of issued
   mobile telephone 2 moves in a direction away from PC 1 to              inquiries fails to meet the predetermined level. Moreover, a
   a location outside of boundary 2, PC 1 detects a disconnec        65   user may give priority to the inquiry detection mode or the
   tion of the radio link. As a result, PC 1 transmits a connec           connection request detection mode by selecting a fixed state.
   tion request to mobile telephone 2, indicating that the radio          When a user completes the condition setup, a “Registration'
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                                                       US 7,184,707 B2
                                 17                                                                      18
   button may be selected so that an address may be assigned                 As explained above, embodiments consistent with the
   to the previously detected target device. Furthermore, select          present invention enable a user to flexibly setup the con
   ing the “Registration' button saves the condition setup                nection or disconnection judgment conditions of the radio
   information in connection control information 79. If a user            link state. As a result, it is possible to increase communi
   selects a "Cancellation' button, then processing is termi              cations processing performance without increasing the pro
   nated without saving the contents of the condition set up              cessing load of the host device or the communication load
   screen. It is further possible to change the setup items of any        due to a target device.
   devices by selecting a triangle mark in the right column of              In the above embodiment, the connection condition and
                                                                          disconnection condition of the radio link state was deter
   the condition setup object field. This enables a user to select   10   mined based on the number of times of Inquiry and the
   a detection device from a list of friendly names registered to         number of times a connection request are issued within a
   each respective device in connection control information 79.           predetermined time. However, it is also possible to deter
      Returning now to FIG. 9, at S105 the connection judging             mine a radio link state based on an intensity of a radio wave.
   conditions based on the detected device address are read               For example, in an embodiment of the present invention, a
   from connection control information 79, and the device            15   user may setup a power level of the radio wave. In other
   discovery process continues based on the read conditions               words, by gradually changing the power level of the radio
   (S105). At step S106, the host device detects whether the              wave, a user may define the detection range of PC 1 by the
   number of times of inquiry is less than N. When the number             boundaries 1, 2, and 3, as shown in FIG.8. Here, the radio
   of times of Inquiry detection is not less than N, the process          wave detection range of the standard power level 2 is limited
   returns to S105. Alternatively, when the number of times of            to boundary 2.
   Inquiry detection is less than N, processing progresses to                When mobile telephone 2 approaches PC 1 in a direction
   S107. At S107, the host loads information from service                 defined by locus A, if PC 1 performs device detection at each
   program 77 or driver software 78 in information memory                 stage from a boundary 1 (power level 1) to a boundary 3
   area 76 that corresponds to the service information                    (power level 3), PC 1 loads the service information by
   demanded from the detected device to temporary memory             25   determining whether mobile telephone 2 desires to establish
   area 85. As a result, the host device may communicate with             a radio link connection to PC 1. On the other hand, when PC
   the detected device side. By performing the above process,             1 does not detect a device between boundary 1 (power level
   PC1 prevents the unexpected loading of service information             1) and boundary 2 (power level 2), as shown by the direction
   when a mobile telephone 2 enters a communication area of               traveled along locus B, PC 1 does not load the service
   PC 1. Furthermore, PC 1 avoids an increase in communi             30   information by determining that mobile telephone 2 has only
   cation loads with mobile telephone 2.                                  temporarily came near to PC 1.
     FIG. 10 shows a flow chart illustration of the disconnec                In another example, when mobile telephone 2 travels in a
   tion judging process. Connection manager 73 of PC 1                    direction away from PC 1 as shown by locus C, PC 1
   monitors the connection state of a radio link with a mobile            determines that the mobile telephone 2 has intentionally
   telephone 2, based on a notice from Bluetooth driver 74           35   separated from PC 1. As a result, PC 1 disconnects the radio
   (S.110). Connection manager 73 determines whether the                  link. Moreover, service manager 72 unloads the service
   radio link has disconnected (S111). When the radio link has            information from temporary memory area 85. When mobile
   disconnected, connection manager returns to S110 in order              telephone unit 2 travels in a direction away from PC 1 to a
   to continue monitoring the connection state of the radio link.         location outside of boundary 2 (locus D), PC 1 determines
   If radio link disconnection is detected, however, connection      40   that the mobile telephone 2 temporarily separated from PC
   manager 73 progresses to S112. At S112, service manger 72              1. As a result, PC 1 does not disconnect the radio link.
   identifies a device address for the disconnected link (S112),             Although an embodiment has been disclosed that includes
   and connection manager 73 monitors a radio link connection             the loading/unloading control of service information as it
   state by reading out the disconnection judging conditions in           relates to PC 1, it should be apparent that this process might
   connection control information 79 associated with the             45   also be applied to mobile telephone 2. Moreover, it should
   device address (S113). When the number of detected con                 be understood that this process is not limited to devices such
   nection requests is less than M. connection manager 73                 as PC 1 and mobile telephone 2. But the loading/unloading
   returns to S113 in order to continue monitoring the connec             control of service information consistent with the present
   tion state of the radio link. When the number becomes M                invention may be applied to various other electrical devices
   times, the process progresses to a step S114. When the            50   having a radio resource that is exclusively used between a
   number of detected connection requests is not less than M.             communication channel and where a connection is con
   connection manager 73 confirms disconnection of the radio              trolled by inserting a communication channel into a control
   link, because no response was received from a target device.           channel for the devices.
   Service manager 72 unloads service information from tem                   As explained above, embodiments consistent with the
   porary memory area 85(S115). By performing this control,          55   present invention can prevent unnecessary loading and
   PC 1 avoids unnecessary loading or unloading of operations             unloading of service information processes because it is
   of the service information, because connection manager 73              possible to flexibly set up the connection judgment condi
   maintains a radio link connection if mobile telephone 2                tions and disconnection judgment conditions of the host
   sends a response within a predetermined time period. As                device as they relate to the radio link. As a result, commu
   shown in FIG. 8, even if, after the radio link is established,    60   nication-processing performance is improved without
   mobile telephone 2 temporarily moves outside of a commu                increasing the processing load of the host device or the
   nication range of the PC 1, connection manager 73 will                 communication load of host device with regards to a target
   maintain a radio link connection if mobile telephone 2 sends           device.
   a response within a predetermined time period. Thus, PC 1                 Other embodiments of the invention will be apparent to
   also avoids an increase of processor loads and can further        65   those skilled in the art from consideration of the specifica
   avoid an increase of radio-communications load with a                  tion and practice of the invention disclosed herein. It is
   mobile telephone 2.                                                    intended that the specification and examples be considered
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                              19                                                                  20
   as exemplary only, with a true scope and spirit of the                   memory when the status of the radio communication
   invention being indicated by the following claims.                       connection with the target communication terminal is
     What is claimed is:                                                   the connection status, and to transfer the service infor
     1. A communication device, comprising:                                 mation from the temporary memory to the service
     a radio communication module configured to exchange                    memory when the status of the radio communication
        data with a target communication terminal over a                    connection with the target communication terminal is
       network;                                                            the disconnection status; and
     a service information memory configured to store service            a radio communication control module configured to
        information so that predetermined functions can be                 perform the predetermined functions with the target
        performed with the target communication terminal;         10        communication terminal when the service information
     a communication control information designating module                 is stored in the temporary memory.
        configured to designate, by a user of the communica              3. The communication device according to claim 1 or
        tion device, communication conditions for a newly              claim 2, wherein:
       established radio communication connection with the               the communication controlling information includes con
        target communication terminal or for discriminating a     15        nection discriminating conditions based on the number
        disconnection of an existing radio communication con                of times a detecting command for detecting the target
        nection with the target communication terminal;                     communication terminal issues during a predetermined
     a memory configured to store the communication condi                   period and disconnection discriminating conditions
        tions designated by the communication control infor                 based on the number of times a confirming command
        mation designating module; and                                      for confirming the connection to the target communi
     a communication control module configured to determine                 cation terminal issues during the predetermined period.
       whether the radio communication connection with the               4. The communication device according to claim 1 or
       target communication terminal is in a connection status         claim 2, wherein:
       or a disconnection status based on the communication              the communication controlling information includes con
       controlling information stored in the memory, and          25       nection and disconnection discriminating conditions
       performing communication through the radio commu                    that define a variation status of the radio communica
       nication module by using service information read from               tion connection for indicating a communication con
       the service information memory in accordance with the                nection or a disconnection to the target communication
       determination result.                                                terminal, the variation status is designated based on a
     2. A communication device, comprising:                       30        power level of radio waves measured within a prede
     a radio communication module configured to exchange                    termined period.
        data with a target communication terminal through                5. A method for controlling a communication device that
       radio;                                                          exchanges data with a target communication terminal over a
     a service memory configured to store service information          network, the communication device having a memory for
        so that predetermined functions can be performed with     35   storing various types of data, the method comprising:
        the target communication terminal;                               designating, by a user of the communication device,
     a temporary memory configured to temporarily store                     communication control information that defines dis
        service information used in an established target com              criminating conditions for discriminating between
       munication terminal for communication;                              establishing a new radio communication connection
     a designating module configured to designate, through a      40       between the communication device and a target com
        registration interface, communication controlling infor            munication terminal and disconnecting a radio com
        mation defining conditions for discriminating between               munication connection established between the com
        a newly established radio communication connection                  munication device and the target communication
       with the target communication terminal or a discon                  terminal;
        nection of an existing radio communication connection     45     storing, in the memory, the designated communication
       with the target communication terminal;                              control information;
     a communication controlling information memory con                  judging whether the radio communication connection
        figured to store the communication controlling infor               between the communication device and the target com
        mation designated by the designating module:                        munication terminal is in a connection state or a
     a memory configured to store the communication con           50        disconnection state based on the designated communi
       trolling information designated by the designating                   cation control information; and
       module;                                                           performing radio communication with the target commu
     a discriminating module configured to determine whether               nication terminal by using service information that
       a status of the radio communication connection with a               executes predetermined functions between the commu
       target communication terminal is a connection status or    55       nication device and the target communication terminal,
       a disconnection status based on the communication                   the service information being stored in memory based
       controlling information in the communication control                 on a discrimination result.
       ling information memory, to transfer the service infor
       mation from the service memory to the temporary
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                              EXHIBIT 5
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Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,831,444 by Kia




                                 Kia Hybrid/Electric Vehicles
                               (using Kia UVO Smartphone App)




                                                                                                  1
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Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,831,444 by Kia




1. A device comprising:


a battery which supplies power to a communication section which communicates with an
    information processing apparatus;


means for receiving, from the information processing, apparatus, a setting information
    representing at least one of a notifying method for information about remaining energy of said
    battery, or level of remaining energy of said battery at which a warning is to be displayed on
    the information processing apparatus; and


means for storing the received setting information; and


means for detecting a remaining energy of said battery; and


means for transmitting, to the information processing apparatus, information about the remaining
    energy of said battery on the basis of the received setting information.
                                                                                                     2
                 Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 89 of 128 Page ID #:89
 Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,831,444 by Kia

       Claim 1
                        https://appadvice.com/app/uvo-eco/906128813   http://webmanual.kia.com/STD_GEN5_WIDE/AVNT/AUS/English/evelectricvehicle.html



A device
comprising:


a battery which
supplies power
to a
communication
section which
communicates
with an
information
processing
apparatus;


                                                                                                                                                       3
              Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 90 of 128 Page ID #:90
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,831,444 by Kia

      Claim 1
                        https://www.alibaba.com/product-detail/Autoradio-2-   https://appadvice.com/app/uvo-eco/906128813
means for               din-android-8-1_60851585691.html “for Kia Soul”
receiving, from the
information
processing
apparatus, …




                                                                                                                       4
                   Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 91 of 128 Page ID #:91
 Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,831,444 by Kia

        Claim 1

a setting                    https://www.kianiroforum.com/threads/uvo-edit-charge-limits.7813/
information
representing at
least one of a
notifying method for
information about
remaining energy of
said battery,


or level of remaining
energy of said battery at
which a warning is to be
displayed on the
information processing
apparatus; and




                                                                                                      5
               Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 92 of 128 Page ID #:92
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,831,444 by Kia

     Claim 1
                      https://www.alibaba.com/product-detail/Autoradio-2-din-android-8-1_60851585691.html “for Kia Soul”
means for
storing the
received setting
information; and



                                                                                                       {e.g. flash memory}




                      Source: https://www.kia.com/us/en/ev-faqsrivers-maximize-efficiency-300377924.html




                                                                                                                             6
               Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 93 of 128 Page ID #:93
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,831,444 by Kia

    Claim 1

means for            Source: https://www.cargurus.com/Cars/2019-Kia-Niro-EV-Overview-c28933
detecting a
remaining
energy of said
battery; and




                                                                                                  7
              Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 94 of 128 Page ID #:94
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,831,444 by Kia

       Claim 1
                        Source: http://webmanual.kia.com/PREM_GEN5/AVNT/RJ/USA/English/system004.html
means for
transmitting, to the
information
processing
apparatus,




                                                                                      {UVO provides 4G connectivity
                                                                                      For Kia cars}




                                                                                                                      8
             Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 95 of 128 Page ID #:95
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,831,444 by Kia

      Claim 1

information about       https://www.kianiroforum.com/threads/uvo-edit-charge-limits.7813/
the remaining
energy of said
battery on the basis
of the received
setting information.




                                                                                                  9
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                              EXHIBIT 6
             Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 97 of 128 Page ID #:97
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by Kia



                                       Kia Bluetooth System




                                                                                                  1
               Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 98 of 128 Page ID #:98
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by Kia




1. An authentication processing apparatus of a radio communication which authenticates a
    device, the apparatus comprising:


means for acquiring an external factor which is associated with a security level;
means for selecting a security level from a plurality of security levels in accordance with the
    external factor;
means for receiving a request for an authentication and authentication information from the
    device;
means for checking whether the received information from the device is valid or not depending
    on the selected security level; and
means for sending a response of the check result which authenticates or rejects the device
    thereto.




                                                                                                  2
              Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 99 of 128 Page ID #:99
 Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by Kia

    Claim 1

1. An                                                                  Source:
                                                                       https://www.youtube.com/watch?v=UcYrwSs3jgw
authentication                                                         2014 KIA Sorento iPhone Bluetooth pairing
processing
apparatus of a
radio
communication
which
authenticates a
device, the
apparatus
comprising:



                                                                                  Source: Kia “CAR MULTIMEDIA
                     https://www.alibaba.com/product-detail/Autoradio-2-din-      SYSTEM USER'S MANUAL – Soul
                     android-8-1_60851585691.html                                 Eco/Electric” page 198


                                                                                                                     3
             Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 100 of 128 Page ID #:100
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by Kia

   Claim 1
                https://www.alibaba.com/product-detail/Autoradio-2-din-android-8-1_60851585691.html
                Kia Picanto Morning 2014 2015 2016
means for
acquiring an
external
factor which
is associated
with a
security
level;




                                                                                                      4
             Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 101 of 128 Page ID #:101
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by Kia

   Claim 1
                Source: https://www.bluetooth.com/blog/bluetooth-pairing-part-1-pairing-feature-exchange/


means for
acquiring an
external
factor which
is associated
with a
security
level;




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              Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 102 of 128 Page ID #:102
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by Kia


      Claim 1

means for               Source: https://www.bluetooth.com/blog/bluetooth-pairing-part-1-pairing-feature-exchange/
selecting a
security level from
a plurality of
security levels in
accordance with
the external factor;




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              Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 103 of 128 Page ID #:103
 Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by Kia

      Claim 1

means for                                                https://www.youtube.com/watch?v=L8K4uQGo4eg
                                                         How to Pair your phone to you KIA via Bluetooth
receiving a
request for an
authentication
and
authentication
information from
the device;




                                       https://www.mattcastruccikia.com/blog/how-to-connect-smartphone-kias-bluetooth-system/

                                                                                                                           7
               Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 104 of 128 Page ID #:104
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by Kia

      Claim 1
                       Source: https://www.bluetooth.com/blog/bluetooth-pairing-part-1-pairing-feature-exchange/
means for
checking
whether the
received
information from
the device is
valid or not
depending on
the selected
security level;
and




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              Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 105 of 128 Page ID #:105
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 6,928,166 by Kia

    Claim 1

means for            Source: https://www.bluetooth.com/blog/bluetooth-pairing-part-1-pairing-feature-exchange/
sending a
response of the
check result
which
authenticates or
rejects the
device thereto.




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                               EXHIBIT 7
            Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 107 of 128 Page ID #:107
Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by Kia



                                      Kia Bluetooth System




                                                                                                   1
             Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 108 of 128 Page ID #:108
Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by Kia




20. A communication apparatus comprising:
a unit configured to establish a connection with a first wireless communication apparatus in a first mode;
    and
a unit configured to control a connection from a second wireless communication apparatus when the
    connection with the first wireless communication apparatus is established, wherein the control unit
    sets up a second mode in which, in a state where the connection with the first wireless
    communication device is established, the communication apparatus is inhibited from establishing a
    connection with the second wireless communication apparatus with respect to a connection request
    from the second wireless communication device.




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            Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 109 of 128 Page ID #:109
Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by Kia

      Claim 20
                         Source: https://www.youtube.com/watch?v=UcYrwSs3jgw 2014 KIA Sorento iPhone Bluetooth pairing


20. A communication
device, comprising:




                                                                       https://www.alibaba.com/product-
                                                                       detail/Autoradio-2-din-android-8-
                                                                       1_60851585691.html




                                                                                                                    3
             Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 110 of 128 Page ID #:110
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by Kia

    Claim 20

                    https://www.alibaba.com/product-detail/Autoradio-2-din-android-8-1_60851585691.html
a unit configured
to establish a
connection with
a first wireless
communication
apparatus in a
first mode; and




                                                                                                          4
             Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 111 of 128 Page ID #:111
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by Kia

    Claim 20
                    Source: https://www.youtube.com/watch?v=UcYrwSs3jgw 2014 KIA Sorento iPhone Bluetooth pairing


a unit configured
to establish a
connection with
a first wireless
communication
apparatus in a
first mode; and




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             Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 112 of 128 Page ID #:112
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by Kia

    Claim 20
                    http://www.kceed.com/changing_priority-431.html


a unit configured
to establish a
connection with
a first wireless
communication
apparatus in a
first mode; and                                                                   {Note: first phone
                                                                                  listed is first priority
                                                                                  and in “first mode”}




                                                                                                             6
                 Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 113 of 128 Page ID #:113
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by Kia

     Claim 20
                           https://www.alibaba.com/product-detail/Autoradio-2-din-android-8-1_60851585691.html “for Kia Picanto
a unit configured          Morning 2014 2015 2016”

to control a
connection from
a second
wireless
communication
apparatus when
the connection
with the first
wireless
communication
apparatus is
established




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                 Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 114 of 128 Page ID #:114
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by Kia

     Claim 20
                         http://webmanual.kia.com/DA_GEN2_V/AV/KOR/English/007_Calling_btconnect.html#id_h2_44
a unit configured          “Connecting a Paired Device”
to control a
connection from
a second
wireless
communication
apparatus when
the connection
with the first
wireless
communication
apparatus is
established




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              Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 115 of 128 Page ID #:115
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by Kia

     Claim 20
                      http://www.kceed.com/changing_priority-431.html
wherein the
control unit sets
up a second
mode in which, in
a state where the
connection with
the first wireless
                                                                                   {Note: second phone
communication
                                                                                   listed is second priority
device is                                                                          and in “second mode”}

established




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               Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 116 of 128 Page ID #:116
 Preliminary Claim Chart Showing Infringement of Claim 20 of the U.S. Patent No. 7,127,210 by Kia

     Claim 20

the communication        Source: Kia “CAR MULTIMEDIA SYSTEM USER'S MANUAL – Soul Eco/Electric” page 188
apparatus is
inhibited from
establishing a
connection with the
second wireless
communication
                         http://webmanual.kia.com/DA_GEN2_V/AV/KOR/English/007_Calling_btconnect.html#id_h2_44
apparatus with              “Connecting a Paired Device”

respect to a
connection request
from the second
wireless
communication
device.


                                                                                                                 10
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                               EXHIBIT 8
            Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 118 of 128 Page ID #:118
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by Kia


                                      Kia Bluetooth System




                                                                                                  1
                Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 119 of 128 Page ID #:119
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by Kia




1.   A communication device, comprising:
a radio communication module configured to exchange data with a target communication terminal over a
     network;
a service information memory configured to store service information so that predetermined functions
     can be performed with the target communication terminal;
a communication control information designating module configured to designate, by a user of the
     communication device, communication conditions for a newly established radio communication
     connection with the target communication terminal or for discriminating a disconnection of an
     existing radio communication connection with the target communication terminal;
a memory configured to store the communication conditions designated by the communication control
     information designating module; and
a communication control module configured to determine whether the radio communication connection
     with the target communication terminal is in a connection status or a disconnection status based on
     the communication controlling information stored in the memory, and performing communication
     through the radio communication module by using service information read from the service
     information memory in accordance with the determination result.
                                                                                                           2
             Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 120 of 128 Page ID #:120
 Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by Kia

        Claim 1
                          Source: https://www.youtube.com/watch?v=UcYrwSs3jgw


1. A communication
device, comprising:




                                                                     https://www.alibaba.com/product-
                                                                     detail/Autoradio-2-din-android-8-
                                                                     1_60851585691.html




                                                                                                         3
              Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 121 of 128 Page ID #:121
 Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by Kia

          Claim 1
                           https://www.alibaba.com/product-detail/Autoradio-2-din-android-8-1_60851585691.html
                           Kia Picanto Morning 2014 2015 2016
a radio
communication
module




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             Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 122 of 128 Page ID #:122
 Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by Kia

        Claim 1
                          Source: https://www.youtube.com/watch?v=UcYrwSs3jgw


configured to
exchange data with a
target communication
terminal over a
network;




                                                                                                   5
              Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 123 of 128 Page ID #:123
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by Kia

         Claim 1
                        http://webmanual.kia.com/STD_GEN5_WIDE/AVNT/EU/English/bluetoothwirelesstechnology.html


a service
information
memory
configured to store
service information
so that
predetermined
functions can be
performed with the
target
communication
terminal;



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              Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 124 of 128 Page ID #:124
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by Kia


          Claim 1
                            Source: Kia “CAR MULTIMEDIA SYSTEM USER'S MANUAL – Soul Eco/Electric” page 188
a communication
control information
designating module
configured to
designate, by a user
of the communication
device,
communication
conditions for a newly
established radio
communication
connection with the
target communication
terminal

                                                                                                             7
             Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 125 of 128 Page ID #:125
 Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by Kia

     Claim 1
                     Source: https://www.youtube.com/watch?v=1VmZS0nHQfQ
or for                       How to remove your phone from your Kia's Uvo system
discriminating a
disconnection of
an existing radio
communication
connection with
the target
communication
terminal;




                                                                                                   8
              Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 126 of 128 Page ID #:126
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by Kia

      Claim 1
                      Source: https://www.ramcountryautoworld.com/used/Kia/2019-Kia-Optima-
a memory              d4d7f75d0a0e0ae7498f7e896bd2ba26.htm
configured to
store the
communication
conditions
designated by
the
communication
control
information
designating
                                                                                 http://partner.lge.com/eu/portal/downloa
module; and                                                                      d/download/mobileExternalFileDownloa
                                                                                 d.lge%3FfileId%3DWcWtjagNo2iJBziUs
                                                                                 9jQ%26content%3Dmanual Page 18




                                                                                                                       9
             Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 127 of 128 Page ID #:127
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by Kia

        Claim 1

a communication            http://partner.lge.com/eu/portal/download/download/mobileExternalFileDownload.lge%3FfileId%3
                           DWcWtjagNo2iJBziUs9jQ%26content%3Dmanual Page 18
control module
configured to
determine whether the
radio communication
connection with the
target communication
terminal is in a
connection status or a
disconnection status       Source: Kia “CAR MULTIMEDIA SYSTEM USER'S MANUAL – Soul Eco/Electric” page 188

based on the
communication
controlling information
stored in the memory


                                                                                                                   10
            Case 8:20-cv-00676-DOC-ADS Document 1 Filed 04/07/20 Page 128 of 128 Page ID #:128
Preliminary Claim Chart Showing Infringement of Claim 1 of the U.S. Patent No. 7,184,707 by Kia

      Claim 1
                      Source: Kia “CAR MULTIMEDIA SYSTEM USER'S MANUAL – Soul Eco/Electric” page 62
and performing
communication
through the radio
communication
module by using
service information
read from the
service information
memory in
accordance with
the determination
result.




                                                                                                      11
